Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Sarah
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        E.
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Shaffer
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-5073
     Individual Taxpayer
     Identification number
     (ITIN)




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Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
Debtor 1   Sarah E. Shaffer                                                                          Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and     I have not used any business name or EINs.
     Employer Identification
     Numbers (EIN) you have DBA Sarah's Science XX-XXX0014                                        I have not used any business name or EINs.
     used in the last 8 years DBA This Land is Your Land Summer Day
                                 Camp XX-XXX0014
     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 21525 Knoll Way
                                 Castro Valley, CA 94546
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Alameda
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
Debtor 1    Sarah E. Shaffer                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
Debtor 1    Sarah E. Shaffer                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?

                                      Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as                   See Attachment
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S.C. §
    1182(1)?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
Debtor 1    Sarah E. Shaffer                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
Debtor 1    Sarah E. Shaffer                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                                                                          50,001-100,000
    owe?                                                                             5001-10,000
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Sarah E. Shaffer
                                 Sarah E. Shaffer                                                  Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     January 19, 2021                                  Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
Debtor 1   Sarah E. Shaffer                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Kathy Quon Bryant, Esq.                                        Date         January 19, 2021
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Kathy Quon Bryant, Esq.
                                Printed name

                                Meyers Law Group, P.C.
                                Firm name

                                44 Montgomery St.
                                Ste. 1010
                                San Francisco, CA 94104
                                Number, Street, City, State & ZIP Code

                                Contact phone     (415) 362-7500                             Email address         kquonbryant@meyerslawgroup.com
                                213156 CA
                                Bar number & State




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Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                                                Certificate Number: 12459-CAN-CC-035144982


                                                               12459-CAN-CC-035144982




                     CERTIFICATE OF COUNSELING

 I CERTIFY that on December 3, 2020, at 1:20 o'clock PM PST, Sarah Shaffer
 received from Abacus Credit Counseling, an agency approved pursuant to 11
 U.S.C. 111 to provide credit counseling in the Northern District of California, an
 individual [or group] briefing that complied with the provisions of 11 U.S.C.
 109(h) and 111.
 A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
 copy of the debt repayment plan is attached to this certificate.
 This counseling session was conducted by internet.




 Date:   December 3, 2020                       By:      /s/Fatima Munekata


                                                Name: Fatima Munekata


                                                Title:   Credit Counselor




 * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
 Code are required to file with the United States Bankruptcy Court a completed certificate of
 counseling from the nonprofit budget and credit counseling agency that provided the individual
 the counseling services and a copy of the debt repayment plan, if any, developed through the
 credit counseling agency. See 11 U.S.C. 109(h) and 521(b).


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Debtor 1         Sarah E. Shaffer                                                                     Case number (if known)


Fill in this information to identify your case:

Debtor 1                  Sarah E. Shaffer
                          First Name              Middle Name                Last Name

Debtor 2
(Spouse if, filing)       First Name              Middle Name                Last Name


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                     Check if this is an
                                                                                                                               amended filing


                                                  FORM 101. VOLUNTARY PETITION ATTACHMENT

                                                                Additional Sole Proprietorship(s)



Sarah's Science
Name of business, if any


Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
         Health Care Business (as defined in 11 U.S.C. § 101(27A))
         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
         Stockbroker (as defined in 11 U.S.C. § 101(53A))
         Commodity Broker (as defined in 11 U.S.C. § 101(6))

         None of the above


This Land is Your Land Summer Day Camp
Name of business, if any


Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
         Health Care Business (as defined in 11 U.S.C. § 101(27A))
         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
         Stockbroker (as defined in 11 U.S.C. § 101(53A))
         Commodity Broker (as defined in 11 U.S.C. § 101(6))

         None of the above




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Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 8
 Fill in this information to identify your case:

 Debtor 1                   Sarah E. Shaffer
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,827,421.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             413,407.70

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          2,240,828.70

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,316,647.49

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $             641,207.97

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             587,904.16


                                                                                                                                     Your total liabilities $             2,545,759.62


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,269.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              14,248.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
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                                                                                     407
 Debtor 1      Sarah E. Shaffer                                                           Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Sarah E. Shaffer
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF CALIFORNIA

 Case number                                                                                                                                                      Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        21525 Knoll Way                                                                Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the        Current value of the
        Castro Valley                     CA        94546-0000                         Land                                       entire property?            portion you own?
        City                              State              ZIP Code                  Investment property                            $1,037,385.00                $1,037,385.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Alameda                                                                        Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Debtor's residence; Title held by The Sarah Shaffer Trust dated April 5,
                                                                                2018; current value based on Zillow valuation.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                    page 1
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                                                                                           407
 Debtor 1        Sarah E. Shaffer                                                                                        Case number (if known)

       If you own or have more than one, list here:
 1.2                                                                    What is the property? Check all that apply
       1543 Grove Way                                                          Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the        Current value of the
       Castro Valley                     CA        94546-0000                  Land                                            entire property?            portion you own?
       City                              State              ZIP Code           Investment property                                    $790,036.00                 $790,036.00
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Fee simple
       Alameda                                                                 Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Single family home used as business office.; title held by The Sarah
                                                                        Shaffer Trust dated April 5, 2018; value obtained from Zillow.


       If you own or have more than one, list here:
 1.3                                                                    What is the property? Check all that apply
       18899 Scenic Dr.                                                        Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                      the amount of any secured claims on Schedule D:
                                                                               Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                               Condominium or cooperative

                                                                               Manufactured or mobile home
                                                                                                                               Current value of the        Current value of the
       Redwood Valley                    CA        95470-0000                  Land                                            entire property?            portion you own?
       City                              State              ZIP Code           Investment property                                        Unknown                     Unknown
                                                                               Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                               Other                                           (such as fee simple, tenancy by the entireties, or
                                                                        Who has an interest in the property? Check one         a life estate), if known.
                                                                               Debtor 1 only                                   Tenancy in Common
       Mendocino                                                               Debtor 2 only
       County                                                                  Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                               At least one of the debtors and another              (see instructions)
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:
                                                                        Approximately 19 acres of land; Title held by The Sarah Shaffer Trust
                                                                        dated April 5, 2018 as tenant in common (50% interest); Additional tenants
                                                                        in common: Ellen G. Faulkner (16.67% interest); Adrienne L. Faulkner
                                                                        (16.67% interest); and John Faulkner (16.67% interest).


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                  $1,827,421.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                       Schedule A/B: Property                                                                            page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
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 Debtor 1        Sarah E. Shaffer                                                                                   Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Ram                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Promaster Cargo Van                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2017                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 21525 Knoll Way,
         Castro Valley CA 94546                                      Check if this is community property                              $19,550.00                 $19,550.00
                                                                     (see instructions)



  3.2    Make:       Subaru                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Outback                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2010                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 21525 Knoll Way,
         Castro Valley CA 94546                                      Check if this is community property                                $6,964.00                  $6,964.00
                                                                     (see instructions)



  3.3    Make:       Pioneer                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2004                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Trailer
         Location: 18899 Scenic Dr.,                                 Check if this is community property                                Unknown                    Unknown
         Redwood Valley, CA 95470                                    (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $26,514.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                    Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    See Attachment 6                                                                                                                $3,112.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
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         Yes. Describe.....

                                            See Attachment 7                                                                                                        $1,235.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
         No
         Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
         No
         Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         No
         Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
         Yes. Describe.....

                                            See Attachment 11                                                                                                       $1,500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
         Yes. Describe.....

                                            See attachment 12                                                                                                         $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
         Yes. Describe.....

                                            Dog                                                                                                                     Unknown


14. Any other personal and household items you did not already list, including any health aids you did not list
         No
         Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $5,947.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
       Yes................................................................................................................
Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
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                                                                                                          Cash                                  $300.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                            Bank of the West - Business Account - Acct
                                      17.1.    Checking                     No. 0544                                                          $6,332.48


                                                                            Bank of the West - Personal Account - Acct
                                      17.2.    Checking                     No. 0374                                                          $3,882.03


                                                                            Fremont Bank - Business Account - Acct No.
                                      17.3.    Checking                     1915                                                            $12,928.82


                                                                            Fremont Bank - Business Account - Acct No.
                                      17.4.                                 3136                                                              $5,000.00


                                                                            Fremont Bank - Personal Account - Acct No.
                                      17.5.    Checking                     4984                                                              $4,984.00

                                               Checking Acct. for
                                               Exempt Social
                                               Security and
                                               Unemployment
                                      17.6.    Benefits                     Provident Credit Union                                            $6,892.71



                                      17.7.    Savings Account              Patelco - Personal Account (Acct 00)                                    $1.00


                                               Money Market
                                      17.8.    Select                       Patelco - Personal Account (Acct. 15)                               $110.74


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                      % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

Official Form 106A/B                                                    Schedule A/B: Property                                                      page 5
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                                      Money Market IRA                      Patelco Credit Union - Member No. 5576                              $4,670.87


                                      401k Profit Sharing Plan              Transamerica Retirement Solutions
                                      & Trust - Acct No. 1359                                                                               $294,841.00


                                      IRA                                   BancWest Investment Services                                          $191.86


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                      Esimated Taxes for 2020               Internal Revenue Service                                          $15,000.00


                                      Estimated State Taxes for California Franchise Tax Board                                                  $1,200.00
                                      2020


                                      Rental deposit - Unit 5M              DeSilva Properties                                                  $1,500.00


                                      Rental deposit                        Rental deposit - Unit 4K: DeSilva Properties                        $1,500.00


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
        Yes. Give specific information about them...

                                              The Sarah Shaffer Trust dated April 5, 2018                                                       Unknown


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
        Yes. Give specific information about them...

                                              Children's science curriculum (notes, lesson plans); project
                                              instructions for science kits                                                                     Unknown


                                              Domain names. See Attachment 26.                                                                  Unknown


                                              Website content                                                                                   Unknown


27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No

Official Form 106A/B                                                    Schedule A/B: Property                                                        page 6
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 Debtor 1        Sarah E. Shaffer                                                                                                Case number (if known)

        Yes. Give specific information about them...

                                                  Various software licenses. See Attachment 27                                                                               $2,366.69


 Money or property owed to you?                                                                                                                                 Current value of the
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                               Surrender or refund
                                                                                                                                                                 value:

                                             Markel Insurance Company
                                             10275 West Higgins Rd., Ste. 750
                                             Rosemont, IL 60018
                                             Workers Compensation Insurance
                                             Policy Refund                                                                                                                   Unknown


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................          $361,702.20



Official Form 106A/B                                                           Schedule A/B: Property                                                                              page 7
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 Debtor 1       Sarah E. Shaffer                                                                        Case number (if known)

 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.

      Yes. Go to line 38.


                                                                                                                                  Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
        Yes. Describe.....


                                    Various amounts owed by customers dated back to 2010. See
                                    Attachment 38.                                                                                           $19,244.50


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      No
        Yes. Describe.....


                                    Office furniture - Desks, lamps, file cabinets, etc.                                                       Unknown


                                    Office fixtures - Lights, shelves, etc.                                                                    Unknown


                                    Office equipment - Computers, software, walkie talkies. See
                                    Attachment 39.                                                                                             Unknown


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
        Yes. Describe.....


                                    Other machinery - Drill press, shop vacuum, shelves, saws, paper
                                    cutter.                                                                                                    Unknown


41. Inventory
      No
        Yes. Describe.....


                                    Completed science kits                                                                                     Unknown


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
      No.

      Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


               No
Official Form 106A/B                                                    Schedule A/B: Property                                                       page 8
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 Debtor 1         Sarah E. Shaffer                                                                                                      Case number (if known)

                   Yes. Describe.....



                                                Customer List                                                                                                                    Unknown


44. Any business-related property you did not already list
        No
        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................               $19,244.50

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $1,827,421.00
 56. Part 2: Total vehicles, line 5                                                                          $26,514.00
 57. Part 3: Total personal and household items, line 15                                                      $5,947.00
 58. Part 4: Total financial assets, line 36                                                                $361,702.20
 59. Part 5: Total business-related property, line 45                                                        $19,244.50
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $413,407.70               Copy personal property total            $413,407.70

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $2,240,828.70




Official Form 106A/B                                                               Schedule A/B: Property                                                                              page 9
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                      Attachment 6 (Sch. B, Part 3, Line 6)




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                               Attachment 7, 11, 12
                          (Sch. B, Part 3, Lines 7, 11, 12)




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                      Attachment 26 (Sch. B., Part 4, Line 26)




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                      Attachment 26 (Sch. B., Part 4, Line 26)




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                     Attachment 27 (Sch. B, Part 4, Line 27)




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                     Attachment 38 (Sch. B, Part 5, Line 38)




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                     Attachment 39 (Sch. B, Part 5, Line 39)




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                                        407
 Fill in this information to identify your case:

 Debtor 1                Sarah E. Shaffer
                         First Name                         Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      21525 Knoll Way Castro Valley, CA                              $1,037,385.00                            $600,000.00      C.C.P. § 704.730
      94546 Alameda County
      Debtor's residence; Title held by The                                                100% of fair market value, up to
      Sarah Shaffer Trust dated April 5,                                                   any applicable statutory limit
      2018; current value based on Zillow
      valuation.
      Line from Schedule A/B: 1.1

      2010 Subaru Outback                                               $6,964.00                                $3,325.00     C.C.P. § 704.010
      Location: 21525 Knoll Way, Castro
      Valley CA 94546                                                                      100% of fair market value, up to
      Line from Schedule A/B: 3.2                                                          any applicable statutory limit

      See Attachment 6                                                  $3,112.00                                $3,112.00     C.C.P. § 704.020
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      See Attachment 7                                                  $1,235.00                                $1,235.00     C.C.P. § 704.060
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                Case: 21-40070                  Doc# 1               Filed: 01/20/21 Entered: 01/20/21 14:46:39                         Page 35 of
                                                                                   407
 Debtor 1    Sarah E. Shaffer                                                                            Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     See Attachment 11                                                  $1,500.00                                $1,500.00        C.C.P. § 704.020
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     See attachment 12                                                   $100.00                                   $100.00        C.C.P. § 704.040
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Bank of the West -                                       $3,882.03                                                 C.C.P. § 704.225
     Personal Account - Acct No. 0374
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Fremont Bank - Personal                                  $4,984.00                                                 C.C.P. § 704.220
     Account - Acct No. 4984
     Line from Schedule A/B: 17.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking Acct. for Exempt Social                                   $6,892.71                                                 C.C.P. § 704.080 Social
     Security and Unemployment                                                                                                    security and unemployment
     Benefits: Provident Credit Union                                                      100% of fair market value, up to       benefits 100% exempt
     Line from Schedule A/B: 17.6                                                          any applicable statutory limit


     Money Market IRA: Patelco Credit                                   $4,670.87                                                 C.C.P. §§ 704.115(a)(3), (b), (e)
     Union - Member No. 5576
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     401k Profit Sharing Plan & Trust -                               $294,841.00                                                 C.C.P. § 704.115(a)(1) & (2),
     Acct No. 1359: Transamerica                                                                                                  (b)
     Retirement Solutions                                                                  100% of fair market value, up to
     Line from Schedule A/B: 21.2                                                          any applicable statutory limit


     IRA: BancWest Investment Services                                   $191.86                                                  C.C.P. §§ 704.115(a)(3), (b), (e)
     Line from Schedule A/B: 21.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              Case: 21-40070                    Doc# 1               Filed: 01/20/21 Entered: 01/20/21 14:46:39                            Page 36 of
                                                                                   407
 Fill in this information to identify your case:

 Debtor 1                   Sarah E. Shaffer
                            First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         American Express Bank,
 2.1                                                                                                             Unknown                        $0.00          Unknown
         FSB                                       Describe the property that secures the claim:
         Creditor's Name                           UCC Financing Statement describes
                                                   collateral as "All assets of the
                                                   Debtor, whether now owned or
                                                   hereafter acquired or arising[.]"
                                                   As of the date you file, the claim is: Check all that
         4315 South 2700 West                      apply.
         Salt Lake City, UT 84184                      Contingent
         Number, Street, City, State & Zip Code        Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                        car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
       Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          9/2/16                     Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                Case: 21-40070                    Doc# 1             Filed: 01/20/21 Entered: 01/20/21 14:46:39                                 Page 37 of
                                                                                   407
 Debtor 1 Sarah E. Shaffer                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name


         American Express
 2.2                                                                                                                   Unknown               $0.00       Unknown
         National Bank                              Describe the property that secures the claim:
         Creditor's Name                            UCC Financing Statements
                                                    describes collateral as "All assets
                                                    of the Debtor, whether now owned
                                                    or hereafter acquired or arising[.]"
                                                    As of the date you file, the claim is: Check all that
         4315 South 2700 West                       apply.
         Salt Lake City, UT 84184                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.3     Cenlar                                     Describe the property that secures the claim:                   $110,097.98        $790,036.00             $0.00
         Creditor's Name                            1543 Grove Way Castro Valley, CA
                                                    94546 Alameda County
                                                    Single family home used as
                                                    business office.; title held by The
                                                    Sarah Shaffer Trust dated April 5,
                                                    2018; value obtained from Zillow.
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 77404                             apply.
         Ewing, NJ 08628                                 Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
       community debt

 Date debt was incurred          July 2006                   Last 4 digits of account number         5608




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
               Case: 21-40070                     Doc# 1             Filed: 01/20/21 Entered: 01/20/21 14:46:39                             Page 38 of
                                                                                   407
 Debtor 1 Sarah E. Shaffer                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name


 2.4     Chase                                      Describe the property that secures the claim:                   $218,783.44        $1,037,385.00             $0.00
         Creditor's Name                            21525 Knoll Way Castro Valley, CA
                                                    94546 Alameda County
                                                    Debtor's residence; Title held by
                                                    The Sarah Shaffer Trust dated April
                                                    5, 2018; current value based on
         700 Kansas Lane                            Zillow valuation.
                                                    As of the date you file, the claim is: Check all that
         LA4-6633                                   apply.
         Monroe, LA 71201                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
       community debt

 Date debt was incurred          2001                        Last 4 digits of account number         1012

         Henry C. Levy, Tax
 2.5                                                Describe the property that secures the claim:                      $9,640.98        $790,036.00              $0.00
         Collector Alameda Cty
         Creditor's Name                            1543 Grove Way Castro Valley, CA
                                                    94546 Alameda County
                                                    Single family home used as
                                                    business office.; title held by The
                                                    Sarah Shaffer Trust dated April 5,
                                                    2018; value obtained from Zillow.
                                                    As of the date you file, the claim is: Check all that
         1221 Oak St., Rm. 131                      apply.
         Oakland, CA 94612                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Real Property Taxes
       community debt

 Date debt was incurred                                      Last 4 digits of account number         3700




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 3 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case: 21-40070                     Doc# 1             Filed: 01/20/21 Entered: 01/20/21 14:46:39                               Page 39 of
                                                                                   407
 Debtor 1 Sarah E. Shaffer                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name


         Henry C. Levy, Tax
 2.6                                                                                                                   $7,892.32       $1,037,385.00             $0.00
         Collector Alameda Cty                      Describe the property that secures the claim:
         Creditor's Name                            21525 Knoll Way Castro Valley, CA
                                                    94546 Alameda County
                                                    Debtor's residence; Title held by
                                                    The Sarah Shaffer Trust dated April
                                                    5, 2018; current value based on
                                                    Zillow valuation.
                                                    As of the date you file, the claim is: Check all that
         1221 Oak St., Rm. 131                      apply.
         Oakland, CA 94612                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Real Property Taxes
       community debt

 Date debt was incurred                                      Last 4 digits of account number         4300

 2.7     Patelco Credit Union                       Describe the property that secures the claim:                      $9,877.00         $19,550.00              $0.00
         Creditor's Name                            2017 Ram Promaster Cargo Van
                                                    Location: 21525 Knoll Way, Castro
                                                    Valley CA 94546
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 2227                              apply.
         Merced, CA 95344-0227                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          June 2018                   Last 4 digits of account number         7601




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 4 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case: 21-40070                     Doc# 1             Filed: 01/20/21 Entered: 01/20/21 14:46:39                               Page 40 of
                                                                                   407
 Debtor 1 Sarah E. Shaffer                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name


 2.8     PayPal                                     Describe the property that secures the claim:                    $64,832.00               $0.00      $64,832.00
         Creditor's Name

         Attn: Executive
         Escalation
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 45950                             apply.
         Omaha, NE 68145-0950                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Working Capital Loan
       community debt

 Date debt was incurred                                      Last 4 digits of account number


 2.9     PNC Bank                                   Describe the property that secures the claim:                   $343,655.00        $1,037,385.00             $0.00
         Creditor's Name                            21525 Knoll Way Castro Valley, CA
                                                    94546 Alameda County
                                                    Debtor's residence; Title held by
                                                    The Sarah Shaffer Trust dated April
                                                    5, 2018; current value based on
         B6-YM07-01-7                               Zillow valuation.
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 1820                              apply.
         Dayton, OH 45401-1820                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
       community debt

 Date debt was incurred          2001                        Last 4 digits of account number         0503




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 5 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
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                                                                                   407
 Debtor 1 Sarah E. Shaffer                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name


 2.1     Select Portfoling
 0       Servicing, Inc.                            Describe the property that secures the claim:                   $401,320.79        $790,036.00             $0.00
         Creditor's Name                            1543 Grove Way Castro Valley, CA
                                                    94546 Alameda County
                                                    Single family home used as
                                                    business office.; title held by The
                                                    Sarah Shaffer Trust dated April 5,
         P.O. Box 65250                             2018; value obtained from Zillow.
                                                    As of the date you file, the claim is: Check all that
         Salt Lake City, UT                         apply.
         84165-0250                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
       community debt

 Date debt was incurred          July 2006                   Last 4 digits of account number         0375

 2.1
 1       Shari L. Schapmire,                        Describe the property that secures the claim:                        $547.98         Unknown         Unknown
         Creditor's Name                            18899 Scenic Dr. Redwood Valley,
                                                    CA 95470 Mendocino County
                                                    Approximately 19 acres of land;
                                                    Title held by The Sarah Shaffer
                                                    Trust dated April 5, 2018 as tenant
         Treasurer-Tax Collector,                   in common (50% interest);
         Mendocino Count                            Additional tenants in common: Ellen
         501 Low Gap Rd., Rm.                       G. Faulkner (16.6
                                                    As of the date you file, the claim is: Check all that
         #1060                                      apply.
         Ukiah, CA 95482                                 Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Real Property Taxes
       community debt

 Date debt was incurred                                      Last 4 digits of account number         0625




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 6 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
               Case: 21-40070                     Doc# 1             Filed: 01/20/21 Entered: 01/20/21 14:46:39                             Page 42 of
                                                                                   407
 Debtor 1 Sarah E. Shaffer                                                                                    Case number (if known)
               First Name                  Middle Name                      Last Name


 2.1     U.S. Small Business
 2       Administration                             Describe the property that secures the claim:                   $150,000.00                   Unknown             Unknown
         Creditor's Name                            UCC Financing Statement describes
                                                    collateral as "All tangible and
         10737 Gateway West,                        intangible personal property . . ."
                                                    As of the date you file, the claim is: Check all that
         #300                                       apply.
         El Paso, TX 79935                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
       Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                          car loan)
       Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
       At least one of the debtors and another           Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   EIDL Loan
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,316,647.49
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $1,316,647.49

 Part 2:      List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

 [ ]
            Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.7
            Patelco Credit Union
            5050 Hopyard Rd., No. 16                                                                  Last 4 digits of account number
            Pleasanton, CA 94588




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 7 of 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
               Case: 21-40070                     Doc# 1             Filed: 01/20/21 Entered: 01/20/21 14:46:39                                         Page 43 of
                                                                                   407
 Fill in this information to identify your case:

 Debtor 1                     Sarah E. Shaffer
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                            Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          Abbey Barrera                                          Last 4 digits of account number                            $960.00              $960.00                 $0.00
              Priority Creditor's Name
              353 Warwick Ave.                                       When was the debt incurred?
              Oakland, CA 94610
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

              No                                                        Other. Specify   Deposits by individuals
              Yes                                                                        Deposits and/or Payments for Children's
                                                                                         Educational Programs




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Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                              37622                                           Best Case Bankruptcy
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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2      Abby Iggbom & Jonas Iggbom                                 Last 4 digits of account number                           $692.92   $692.92              $0.00
          Priority Creditor's Name
          1400 Barrows Rd.                                           When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Abby Whiteside & Chad Kipfer                               Last 4 digits of account number                           $420.00   $420.00              $0.00
          Priority Creditor's Name
          2432 Spaulding Ave.                                        When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Adarsh Pandit & Sophia Virani                              Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          1061 Trestle Glen Rd.                                      When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

          Adele Salierno & Brendan
 2.5      Beazley                                                    Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          1524 Mason St.                                             When was the debt incurred?
          San Francisco, CA 94133
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Adina Keller & Fred Keller III                             Last 4 digits of account number                           $120.00      $120.00              $0.00
          Priority Creditor's Name
          1374 Cape Cod Way                                          When was the debt incurred?
          Concord, CA 94521
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

          Adityanand Guntuboyina &
 2.7      Anusha Joga                                                Last 4 digits of account number                           $860.00      $860.00              $0.00
          Priority Creditor's Name
          2028 Ascot Dr.                                             When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8      Adrian Boulton & Erika Weisbrich                           Last 4 digits of account number                         $1,200.00   $1,200.00              $0.00
          Priority Creditor's Name
          725 Collier Dr.                                            When was the debt incurred?
          San Leandro, CA 94577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

          Adriane Armstrong & Mike
 2.9      Armstrong                                                  Last 4 digits of account number                           $212.92    $212.92               $0.00
          Priority Creditor's Name
          822 Mandana Blvd.                                          When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Agnieszka Kufluk & Kenneth
 0        Kufluk                                                     Last 4 digits of account number                           $129.00    $129.00               $0.00
          Priority Creditor's Name
          261 Shady Glen Road                                        When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 1        Aisha Barbeau & Matt Wynne                                 Last 4 digits of account number                           $625.00      $625.00              $0.00
          Priority Creditor's Name
          1035 Central Ave.                                          When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Akiko Valdefiera & Erick
 2        Valdefiera                                                 Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          5584 Crow Canyon Rd.                                       When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 3        Albert Hahn & Haitan Hahn                                  Last 4 digits of account number                           $129.00      $129.00              $0.00
          Priority Creditor's Name
          212 Austin Ln                                              When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1      Alessandra Brook & Callum
 4        Brook                                                      Last 4 digits of account number                           $240.00   $240.00              $0.00
          Priority Creditor's Name
          316 Jerome Ave.                                            When was the debt incurred?
          Piedmont, CA 94610-1024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 5        Alex Chase & Annette Guy                                   Last 4 digits of account number                           $212.57   $212.57              $0.00
          Priority Creditor's Name
          650 Paloma Ave.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 6        Alex Freemon & Laura Parada                                Last 4 digits of account number                           $240.00   $240.00              $0.00
          Priority Creditor's Name
          534 Boulevard Way                                          When was the debt incurred?
          Oakland, CA 94610-1523
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 7        Alex Katz & Barbara Stuart                                 Last 4 digits of account number                           $250.00   $250.00              $0.00
          Priority Creditor's Name
          1704 Oregon St.                                            When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 8        Alex Kerfoot & Christina Hoheisel                          Last 4 digits of account number                           $217.60   $217.60              $0.00
          Priority Creditor's Name
          4332 Harbord Dr.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Alexandra Lawrence & Alfonzo
 9        Acampora                                                   Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          17 Riviera Ct.                                             When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 0        Alexey Zelin & Elena Zelin                                 Last 4 digits of account number                           $129.00   $129.00              $0.00
          Priority Creditor's Name
          1330 Alma Ave.                                             When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 1        Alexi Mavrellis & Lyla Albright                            Last 4 digits of account number                           $240.00   $240.00              $0.00
          Priority Creditor's Name
          1159 Winsor Ave.                                           When was the debt incurred?
          Piedmont, CA 94610-1048
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 2        Alexis Bornoff & David Bornoff                             Last 4 digits of account number                           $208.89   $208.89              $0.00
          Priority Creditor's Name
          829 51st St.                                               When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 3        Alexnadra Singer & Ali Niknejad                            Last 4 digits of account number                           $960.00       $960.00               $0.00
          Priority Creditor's Name
          1004 Cragmont Ave.                                         When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 4        Alice Alvarez & Antonio Alvarez                            Last 4 digits of account number                               $27.50     $27.50               $0.00
          Priority Creditor's Name
          540 El Pintado Rd.                                         When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 5        Alice Brochu & Keegan Brochu                               Last 4 digits of account number                         $1,450.00      $1,450.00              $0.00
          Priority Creditor's Name
          2957 Moreno Ave.                                           When was the debt incurred?
          Pleasanton, CA 94588
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2      Alice Lancefield Reid & Gabriel
 6        Reid                                                       Last 4 digits of account number                               $64.59    $64.59              $0.00
          Priority Creditor's Name
          978 60th St.                                               When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Alicia Chakrabarti & Arnab
 7        Chakrabarti                                                Last 4 digits of account number                           $212.92      $212.92              $0.00
          Priority Creditor's Name
          5032 Kearney Ave.                                          When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 8        Alicia Jensen & Andy Jensen                                Last 4 digits of account number                               $81.00    $81.00              $0.00
          Priority Creditor's Name
          6707 Corte Poquita                                         When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 9        Alisa Padon & Brandon Silverman                            Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          854 Longridge Rd.                                          When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Alison Sanders & Benjamin
 0        Sanders                                                    Last 4 digits of account number                         $1,440.00   $1,440.00              $0.00
          Priority Creditor's Name
          1008 Liberty St.                                           When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 1        Alissa Hauser & Steve Brown                                Last 4 digits of account number                           $145.00    $145.00               $0.00
          Priority Creditor's Name
          410 Colusa Ave.                                            When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 2        Alka Aeri & Alok Sharma                                    Last 4 digits of account number                           $168.75   $168.75              $0.00
          Priority Creditor's Name
          105 Pinnacle Ridge Ct.                                     When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 3        Allison Hampton & Alan Hampton                             Last 4 digits of account number                           $240.00   $240.00              $0.00
          Priority Creditor's Name
          178 Oak Rd.                                                When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 4        Allison Keith & David Bayless                              Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          6501 Ascot Dr.                                             When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3      Allyson Hitchcock & Derek
 5        Hitchcock                                                  Last 4 digits of account number                           $250.00      $250.00              $0.00
          Priority Creditor's Name
          3416 Madera Ave.                                           When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 6        Allyson Murphy                                             Last 4 digits of account number                           $400.00      $400.00              $0.00
          Priority Creditor's Name
          6440 Hillside Dr.                                          When was the debt incurred?
          El Sobrante, CA 94803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 7        Alyse De Maria & Lior Gattlieb                             Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          18555 Mountain Ln.                                         When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3
 8        Alyssa Witten & Seth Witten                                Last 4 digits of account number                           $920.00    $920.00               $0.00
          Priority Creditor's Name
          1806 Gaspar Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 9        Amanda Scott & Allen Scott                                 Last 4 digits of account number                           $495.00    $495.00               $0.00
          Priority Creditor's Name
          66 Alvarado Rd.                                            When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 0        Amber Chrystal & Jeff Engel                                Last 4 digits of account number                         $3,100.00   $3,025.00            $75.00
          Priority Creditor's Name
          5457 Broadway                                              When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4
 1        Amber Straus & Angie Wilson                                Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          925 East 28th St.                                          When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 2        Amber Sutter & Julian Sutter                               Last 4 digits of account number                           $940.00    $940.00               $0.00
          Priority Creditor's Name
          1739 San Benito St.                                        When was the debt incurred?
          Richmond, CA 94804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 3        Amelia Nardinelli & Ben Nardinelli                         Last 4 digits of account number                         $1,280.00   $1,280.00              $0.00
          Priority Creditor's Name
          2325 Roosevelt Ave.                                        When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4
 4        Amena Niaz & Fahim Niaz                                    Last 4 digits of account number                           $231.25   $231.25              $0.00
          Priority Creditor's Name
          127 Heritage Park Dr.                                      When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 5        Ami Bellomo                                                Last 4 digits of account number                           $217.60   $217.60              $0.00
          Priority Creditor's Name
          1 Frank H. Ogawa Plaza                                     When was the debt incurred?
          Oakland, CA 94612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 6        Amir Farhid & Marjan Shafieyan                             Last 4 digits of account number                           $168.75   $168.75              $0.00
          Priority Creditor's Name
          555 Silver Oak Ln.                                         When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4
 7        Amy Fire & Kaolin Fire                                     Last 4 digits of account number                         $2,350.00   $2,350.00              $0.00
          Priority Creditor's Name
          2953 California St                                         When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 8        Amy Lou Cluff & Robyn Rindge                               Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          6311 Girvin Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 9        Amy Lou Vincze & Laszlo Vincze                             Last 4 digits of account number                           $585.00    $585.00               $0.00
          Priority Creditor's Name
          10919 Monan St.                                            When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.5      Ana Florenca Porto & Bruno
 0        Paiva                                                      Last 4 digits of account number                           $505.00      $505.00              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 1        Ana Jackson                                                Last 4 digits of account number                               $75.00    $75.00              $0.00
          Priority Creditor's Name
          7789 Grennly Dr.                                           When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Ana Lopes Melchert & Jose
 2        Garcia Netto                                               Last 4 digits of account number                           $505.00      $505.00              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 3        Ana Mahiri & Kobie Mahiri                                  Last 4 digits of account number                           $120.00   $120.00              $0.00
          Priority Creditor's Name
          2819 Mlk Jr Way                                            When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Ananth Balasubramanian &
 4        Shobana Vankipu                                            Last 4 digits of account number                           $500.00   $500.00              $0.00
          Priority Creditor's Name
          7826 Kelly Canyon Pl.                                      When was the debt incurred?
          Dublin, CA 94568
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Andie Bourguet & Jennifer
 5        Nannini                                                    Last 4 digits of account number                           $575.00   $575.00              $0.00
          Priority Creditor's Name
          12901 Brookpark Rd.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 6        Andrea Hong & Chris Hong                                   Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          122 Dudley Ave                                             When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 7        Andrea Lee & Albert Doan                                   Last 4 digits of account number                           $430.00   $430.00              $0.00
          Priority Creditor's Name
          1515 Trestle Glen Rd.                                      When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 8        Andrea Low & Hau Nguyen                                    Last 4 digits of account number                           $500.00   $500.00              $0.00
          Priority Creditor's Name
          4014 Brown Ave.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 9        Andrea Osgood & Monica Wiley                               Last 4 digits of account number                           $129.17    $129.17               $0.00
          Priority Creditor's Name
          825 Everett Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 0        Andrea Siu                                                 Last 4 digits of account number                           $284.06    $284.06               $0.00
          Priority Creditor's Name
          41 Arabian Ct.                                             When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 1        Andreana Dereniak & Mark Pitts                             Last 4 digits of account number                         $1,720.00   $1,720.00              $0.00
          Priority Creditor's Name
          2500 Stockbridge Dr.                                       When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 2        Andrew McNamara                                            Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 3        Andrew Min & Melissa Wheeler                               Last 4 digits of account number                           $103.50   $103.50              $0.00
          Priority Creditor's Name
          445 Fernwood Dr.                                           When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 4        Andrew Nelsen & Judith Nelsen                              Last 4 digits of account number                           $505.00   $505.00              $0.00
          Priority Creditor's Name
          1763 Evers Ave.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Andy Mardesich & Rebecca
 5        Flournoy                                                   Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          2637 Woolsey St.                                           When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 6        Angel Garrett & Steven Garrett                             Last 4 digits of account number                         $1,352.57   $1,352.57              $0.00
          Priority Creditor's Name
          967 Grosvenor Pl.                                          When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 7        Angela Foreman                                             Last 4 digits of account number                           $120.00    $120.00               $0.00
          Priority Creditor's Name
          468 Violet St.                                             When was the debt incurred?
          San Leandro, CA 94578
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 8        Angela Liu & Benny Liu                                     Last 4 digits of account number                           $505.00      $505.00              $0.00
          Priority Creditor's Name
          1088 Clarendon Cres                                        When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 9        Angela Walton & Cody Walton                                Last 4 digits of account number                               $27.50    $27.50              $0.00
          Priority Creditor's Name
          112 Elworthy Ranch Dr.                                     When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 0        Angelica Galas & Daniel Galas                              Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          728 Mandana Blvd.                                          When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 1        Anisia Sullivan & Michael Sullivan                         Last 4 digits of account number                           $825.00   $825.00              $0.00
          Priority Creditor's Name
          223 Magnolia Ave.                                          When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 2        Anita Jain & Rohit Tain                                    Last 4 digits of account number                           $168.75   $168.75              $0.00
          Priority Creditor's Name
          4000 Casablanca Ter.                                       When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 3        Ann Payne & Bennett Payne                                  Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          1056 Ardmore Ave.                                          When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 4        Ann Perrin & Marc Perrin                                   Last 4 digits of account number                           $960.00     $960.00              $0.00
          Priority Creditor's Name
          274 St. James Dr.                                          When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 5        Anna and Geoff Koops                                       Last 4 digits of account number     0581                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          526 Utah St.                                               When was the debt incurred?
          San Francisco, CA 94110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.7
 6        Anna Cheung and David Shih                                 Last 4 digits of account number     1377                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          237 Colgate Ave.                                           When was the debt incurred?
          Kensington, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only




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 2.7
 7        Anna Gerasimenko                                           Last 4 digits of account number                           $400.00   $400.00              $0.00
          Priority Creditor's Name
          580 Canyon Oaks Dr. #B                                     When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 8        Anna Lazo & David Zuckerman                                Last 4 digits of account number                           $400.00   $400.00              $0.00
          Priority Creditor's Name
          855 Maison Way                                             When was the debt incurred?
          Richmond, CA 94803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 9        Anna Lem & Jason Culbetson                                 Last 4 digits of account number                           $212.92   $212.92              $0.00
          Priority Creditor's Name
          1080 Warfield Ave.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8      Anna Levine & Andrew
 0        Rosenblum                                                  Last 4 digits of account number                           $480.00       $480.00               $0.00
          Priority Creditor's Name
          409 48th St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 1        Anna Park & Frank Pizzileo                                 Last 4 digits of account number                               $81.00     $81.00               $0.00
          Priority Creditor's Name
          6703 Corte Segunda                                         When was the debt incurred?
          Martinez, CA 94549
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 2        Annalisa Schilla & Jake Koralek                            Last 4 digits of account number                         $2,280.00      $2,280.00              $0.00
          Priority Creditor's Name
          1108 Stannage Ave.                                         When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 3        Anne Arkush & James Vlahos                                 Last 4 digits of account number                           $595.00    $595.00               $0.00
          Priority Creditor's Name
          7410 Curry Ave.                                            When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 4        Anne Arriaga & Carlos Arriaga                              Last 4 digits of account number                         $1,350.00   $1,350.00              $0.00
          Priority Creditor's Name
          3112 Birdsall Ave.                                         When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Anne Espinoza & Andres
 5        Espinoza                                                   Last 4 digits of account number                         $1,100.00   $1,100.00              $0.00
          Priority Creditor's Name
          1349 Mountain Blvd.                                        When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8      Anne Hitchcock and Matthew
 6        Judd                                                       Last 4 digits of account number                         $2,040.00   $2,040.00              $0.00
          Priority Creditor's Name
          606 Canon Dr.                                              When was the debt incurred?
          Kensington, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Anne Ponugoti & Prabhakar
 7        Ponugoti                                                   Last 4 digits of account number                         $1,010.00   $1,010.00              $0.00
          Priority Creditor's Name
          4784 Beacon Hill Dr.                                       When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Annelise Guerisoli & Chris
 8        Guerisoli                                                  Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          3544 Monterey Blvd.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 9        Annie Bannes & Philip Bannes                               Last 4 digits of account number                           $600.00      $600.00              $0.00
          Priority Creditor's Name
          220 Sandringham Rd.                                        When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 0        Annie Parks & Jame Parks                                   Last 4 digits of account number                           $960.00      $960.00              $0.00
          Priority Creditor's Name
          2417 Sacramento St.                                        When was the debt incurred?
          Berkeley, CA 94102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 1        Annmarie Mota & Jorge Rubio                                Last 4 digits of account number                               $75.00    $75.00              $0.00
          Priority Creditor's Name
          4332 Tompkins Ave.                                         When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.9
 2        Anthea Ma & Gary Ma                                        Last 4 digits of account number                           $460.00   $460.00              $0.00
          Priority Creditor's Name
          3238 Sylvan Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 3        Anya Taylor & Jon Taylor                                   Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          752 61st St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 4        April Bible & Zach Davis                                   Last 4 digits of account number                           $208.89   $208.89              $0.00
          Priority Creditor's Name
          447 Lee St.                                                When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 5        April Gruber & Aric Shalev                                 Last 4 digits of account number                         $1,970.00   $1,970.00              $0.00
          Priority Creditor's Name
          74 Sea View Ave.                                           When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 6        Arielle Harris & Adam Fishman                              Last 4 digits of account number                           $525.00    $525.00               $0.00
          Priority Creditor's Name
          1 Prospect Rd.                                             When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 7        Arundhati Datta & Pradyot Kar                              Last 4 digits of account number                           $250.00    $250.00               $0.00
          Priority Creditor's Name
          599 Hillbrook Pl.                                          When was the debt incurred?
          Dublin, CA 94568
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.9
 8        Asha Jameson & Gilad Gershoni                              Last 4 digits of account number                           $480.00     $480.00              $0.00
          Priority Creditor's Name
          809 57th St.                                               When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 9        Ashley and Michael Smith                                   Last 4 digits of account number     8254                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          1129 Miller Ave.                                           When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.1
 00       Ashley Orton & Graeme Finley                               Last 4 digits of account number                           $960.00     $960.00              $0.00
          Priority Creditor's Name
          27 Jessen Ct.                                              When was the debt incurred?
          Kensington, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 01       Ashley Rogers & Mike Stevens                               Last 4 digits of account number                         $1,040.00     $1,040.00              $0.00
          Priority Creditor's Name
          1542 Sherman St.                                           When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Ashley Simpson and Kenny
 02       Mixon                                                      Last 4 digits of account number     2963                      $0.00      $0.00               $0.00
          Priority Creditor's Name
          3047 Madsen St.                                            When was the debt incurred?
          Hayward, CA 94541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.1
 03       Ashley Turner & Cliff Williams                             Last 4 digits of account number                         $1,200.00     $1,200.00              $0.00
          Priority Creditor's Name
          1514 Martin Luther King Jr. Way                            When was the debt incurred?
          Berkeley, CA 94709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1      Astrid Corvin Brittin & Joe
 04       McLaughlin                                                 Last 4 digits of account number                           $129.17      $129.17              $0.00
          Priority Creditor's Name
          1058 54th St.                                              When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Aubrey Amatelli & Robert
 05       Amatelli                                                   Last 4 digits of account number                               $55.00    $55.00              $0.00
          Priority Creditor's Name
          7 Avon Ct.                                                 When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 06       Audrey Khuner & Wes Carroll                                Last 4 digits of account number                           $505.00      $505.00              $0.00
          Priority Creditor's Name
          1936 Delaware St.                                          When was the debt incurred?
          Berkeley, CA 94709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                                   407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 07       Audrey Lum & Dan Leong                                     Last 4 digits of account number                         $1,100.00   $1,100.00              $0.00
          Priority Creditor's Name
          4421 Terrabella Way                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 08       Audrey Thomas & Ethan Thomas                               Last 4 digits of account number                         $2,400.00   $2,400.00              $0.00
          Priority Creditor's Name
          1147 Francisco St.                                         When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 09       Ava Phalen & Justin Phalen                                 Last 4 digits of account number                           $212.57    $212.57               $0.00
          Priority Creditor's Name
          760 Santa Ray Ave.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1      Ayyana Chakravartula & Edward
 10       Holt                                                       Last 4 digits of account number                           $240.00    $240.00               $0.00
          Priority Creditor's Name
          27 Fairview Ave.                                           When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 11       Barbara Hooks & Dan Hooks                                  Last 4 digits of account number                           $635.00    $635.00               $0.00
          Priority Creditor's Name
          3206 Guido St.                                             When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Barbara Whitfield & Darren
 12       Whitfield                                                  Last 4 digits of account number                         $1,010.00   $1,010.00              $0.00
          Priority Creditor's Name
          2151 Trafalgar Pl.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 13       Becky Higashi & Davin Higashi                              Last 4 digits of account number                           $194.44   $194.44              $0.00
          Priority Creditor's Name
          228 Royal Saint Ct.                                        When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 14       Becky Uline & Brian Anderson                               Last 4 digits of account number                           $129.17   $129.17              $0.00
          Priority Creditor's Name
          1359 Hampel St                                             When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Behnom Farboud & Shirley
 15       Farboud                                                    Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          29 Portsmouth Rd.                                          When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1      Benjamin Corotis & Adriana
 16       Daringa                                                    Last 4 digits of account number                           $430.00    $430.00               $0.00
          Priority Creditor's Name
          945 Kingston Ave.                                          When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 17       Bethany Hanson & Dan Hoffman                               Last 4 digits of account number                           $860.00    $860.00               $0.00
          Priority Creditor's Name
          575 Kenmore Ave                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 18       Betsy Block & Lawrence Block                               Last 4 digits of account number                         $1,379.17   $1,379.17              $0.00
          Priority Creditor's Name
          3900 Greenwood Ave.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1      Betsy O'Donnell & Michael
 19       O'Donnell                                                  Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          5600 Oak Grove Ave.                                        When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 20       Betsy Rate & Jay Berberick                                 Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          2168 Jefferson Ave.                                        When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Blake Rothschild & Kath
 21       Rothschild                                                 Last 4 digits of account number                           $212.57   $212.57              $0.00
          Priority Creditor's Name
          561 Fairbanks Ave.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 22       Bobbie Caffe & Ineca Caffe                                 Last 4 digits of account number                         $1,210.00   $1,210.00              $0.00
          Priority Creditor's Name
          4668 Reinhardt Dr.                                         When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Bogdan Popescu & Adela
 23       Popescu                                                    Last 4 digits of account number                           $103.50    $103.50               $0.00
          Priority Creditor's Name
          774 Crossbrook Dr                                          When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 24       Bonnie Cosgrove & Bruce Nilles                             Last 4 digits of account number                           $595.00    $595.00               $0.00
          Priority Creditor's Name
          6051 Monroe Ave.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1      Bonnie Wittenstein & Jeran
 25       Wittenstein                                                Last 4 digits of account number                           $187.60    $187.60               $0.00
          Priority Creditor's Name
          1001 Mountain Blvd.                                        When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Brandi Catanese & Joseph
 26       Catanese                                                   Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          1366 Sunnyhills Rd.                                        When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 27       Brandon Wall & Ada Wall                                    Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          4139 Greenwood Ave.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 28       Breanna Casella                                            Last 4 digits of account number                               $81.00    $81.00              $0.00
          Priority Creditor's Name
          3891 Vista Oaks Dr. #104                                   When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 29       Brett Shores & Sara Shores                                 Last 4 digits of account number                           $218.75      $218.75              $0.00
          Priority Creditor's Name
          357 Canterbart Ct.                                         When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Brian Gross & Greg
 30       Broderick-Villa                                            Last 4 digits of account number                           $150.00      $150.00              $0.00
          Priority Creditor's Name
          5901 Manchester Dr.                                        When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1      Brian Macdonald & Crystal
 31       Williams                                                   Last 4 digits of account number                           $595.00   $595.00              $0.00
          Priority Creditor's Name
          1311 Carrison St.                                          When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 32       Brian Van Valin & Sofia Van Valin                          Last 4 digits of account number                           $206.29   $206.29              $0.00
          Priority Creditor's Name
          197 Rudgear Dr.                                            When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 33       Britton Hart & Nick Hart                                   Last 4 digits of account number                           $129.00   $129.00              $0.00
          Priority Creditor's Name
          1500 North California Blvd. #325                           When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 34       Caitlin Coreros & Kevin Leroux                             Last 4 digits of account number                           $595.00     $595.00              $0.00
          Priority Creditor's Name
          48 Inverleith Terr.                                        When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 35       Caitrin Wright                                             Last 4 digits of account number                           $212.57     $212.57              $0.00
          Priority Creditor's Name
          1155 Holman Rd.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      California Dept. of Tax and Fee
 36       Admin.                                                     Last 4 digits of account number                               $0.00     $0.00              $0.00
          Priority Creditor's Name
          Acct. Information Group, MIC: 29                           When was the debt incurred?
          P.O. Box 942879
          Sacramento, CA 94279-0029
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           For Notice Purposes Only




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 37       Camille Stept & Steven Stept                               Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          3558 Jordan Rd.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 38       Carla Lee & Kenny Lee                                      Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          13 Littlewood Dr.                                          When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 39       Carla Tibbets & Kevin Tibbets                              Last 4 digits of account number                           $260.00    $260.00               $0.00
          Priority Creditor's Name
          4182 Somerset Ave.                                         When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 40       Carli Cutchin & Scott Handleman                            Last 4 digits of account number                         $3,730.00   $3,025.00           $705.00
          Priority Creditor's Name
          2428 Russell St.                                           When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 41       Carlotta Damian & Radu Damian                              Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          579 Kenmore Ave.                                           When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 42       Carol Goldstein & Zvika Goldstein                          Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          1048 Leo Way                                               When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 43       Caroline Myers & Nick Myers                                Last 4 digits of account number                           $960.00     $960.00              $0.00
          Priority Creditor's Name
          5265 Harbord Dr.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Carolyn Finnegan and Brian
 44       Strauss                                                    Last 4 digits of account number     1448                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          775 Calmar Ave.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.1
 45       Carolyn Morris & Ben Morris                                Last 4 digits of account number                           $129.00     $129.00              $0.00
          Priority Creditor's Name
          4026 Lakeshore Ave.                                        When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 46       Carrie Gray & Lori Droste                                  Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          2951 Pine Ave.                                             When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 47       Carrie Lu & Benny Zhou                                     Last 4 digits of account number                           $112.50   $112.50              $0.00
          Priority Creditor's Name
          300 Bonaire Ct.                                            When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Carrie Swearngin & Roddy
 48       Swearngin                                                  Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          4278 Detroit Ave.                                          When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 49       Cary Lbeu and Aaron Frankel                                Last 4 digits of account number                           $800.00       $800.00               $0.00
          Priority Creditor's Name
          1 Ruppel Pl.                                               When was the debt incurred?
          Lafayette, CA 94549
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Cassy Eriksson & Fredrik
 50       Eriksson                                                   Last 4 digits of account number                               $56.25     $56.25               $0.00
          Priority Creditor's Name
          10 Shady Oak Ct.                                           When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Catalina Estrada & Justin
 51       Guevara                                                    Last 4 digits of account number                         $2,300.00      $2,300.00              $0.00
          Priority Creditor's Name
          804 Madison St.                                            When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 52       Catherine and Alex Lopoukhine                              Last 4 digits of account number     9299                      $0.00      $0.00               $0.00
          Priority Creditor's Name
          6532 Ascot Dr.                                             When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.1      Catherine Browning & Jonathan
 53       Browning                                                   Last 4 digits of account number                           $570.00      $570.00               $0.00
          Priority Creditor's Name
          805 Wilde Ct.                                              When was the debt incurred?
          Pinole, CA 94564
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 54       Catherine Lee & Michael Paque                              Last 4 digits of account number                         $1,140.00     $1,140.00              $0.00
          Priority Creditor's Name
          1544 Juanita Way                                           When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 55       Catherine Meyers & Mike Meyers                             Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          80 Entrada Ave.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 56       Catherine Sjoberg & Eric Sjoberg                           Last 4 digits of account number                           $112.50    $112.50               $0.00
          Priority Creditor's Name
          1019 Belleterre Dr.                                        When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 57       Catherine Sychr & Peter Finney                             Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          6167 Aspinwall Rd.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1      Catherine Westphall & Jennifer
 58       Charette                                                   Last 4 digits of account number                           $129.00    $129.00               $0.00
          Priority Creditor's Name
          300 Montecillo Dr.                                         When was the debt incurred?
          Walnut Creek, CA 94595
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 59       Cathy Cha & Dara O'Rourke                                  Last 4 digits of account number                           $600.00    $600.00               $0.00
          Priority Creditor's Name
          1459 Washington Ave.                                       When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Catrina Vrankovich & Greg
 60       Vrankovich                                                 Last 4 digits of account number                         $3,067.00   $3,025.00            $42.00
          Priority Creditor's Name
          1792 Indian Way                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 61       Cecil Park & David Chung                                   Last 4 digits of account number                         $1,670.00   $1,670.00              $0.00
          Priority Creditor's Name
          2554 Corte Del Marques                                     When was the debt incurred?
          Walnut Creek, CA 94598
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 62       Chanpheng Klehr & Steve Klehr                              Last 4 digits of account number                           $168.75    $168.75               $0.00
          Priority Creditor's Name
          1119 Trowbridge Way                                        When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 63       Chantal Vasquez & Dave Braden                              Last 4 digits of account number                           $212.57    $212.57               $0.00
          Priority Creditor's Name
          935 Hillcroft Cir.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 64       Charlie Parker and Jessica Brown                           Last 4 digits of account number     9341                      $0.00      $0.00               $0.00
          Priority Creditor's Name
          1830 San Pedro Ave.                                        When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.1
 65       Chela Delgado & Molly McClure                              Last 4 digits of account number                         $1,187.50     $1,187.50              $0.00
          Priority Creditor's Name
          4506 Allendale Ave.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 66       Cherie O'Reilly & Shayne O'Reilly                          Last 4 digits of account number                         $1,250.00     $1,250.00              $0.00
          Priority Creditor's Name
          5742 Moraga Ave.                                           When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 67       Chi-Na Pak & Jesse Walters                                 Last 4 digits of account number                           $570.00      $570.00              $0.00
          Priority Creditor's Name
          2960 Holyrood Dr.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 68       Chloe Delafield & James Delafield                          Last 4 digits of account number                           $595.00      $595.00              $0.00
          Priority Creditor's Name
          1244 Norvell St.                                           When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Chooi Cheh "Annette" Ng &
 69       Kamala Ravinda                                             Last 4 digits of account number                               $56.25    $56.25              $0.00
          Priority Creditor's Name
          254 Abigail Cir.                                           When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 70       Chris Peyer & Nicole Parrish                               Last 4 digits of account number                           $212.92      $212.92              $0.00
          Priority Creditor's Name
          1387 Holman Rd.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 71       Chrissy Morss                                              Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          30 Mcconnell Lane                                          When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 72       Christian Niles & Carla Hirsch                             Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          4453 Howe St.                                              When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1      Christina Barcelon & Christopher
 73       Joaquin                                                    Last 4 digits of account number                           $600.00    $600.00               $0.00
          Priority Creditor's Name
          6566 Chelton Dr.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 74       Christina Pali & Chris Jones                               Last 4 digits of account number                           $187.60    $187.60               $0.00
          Priority Creditor's Name
          5939 Marden Ln.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Christina Paulson & Andrew
 75       Paulson                                                    Last 4 digits of account number                         $1,520.00   $1,520.00              $0.00
          Priority Creditor's Name
          4562 Elinora Ave.                                          When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1      Christine Reed & Vaughn
 76       Johnson                                                    Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          373 40th St. #5                                            When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 77       Christine Valdez & Kevin Gray                              Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          21100 Gary Dr. #120                                        When was the debt incurred?
          Hayward, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Christopher Fuller & Cara
 78       Counter-Fuller                                             Last 4 digits of account number                         $1,820.00   $1,820.00              $0.00
          Priority Creditor's Name
          6240 Elderberry Dr.                                        When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1      Cindy Cesca Yoshiyama &
 79       Andrea Cesca                                               Last 4 digits of account number                           $430.00    $430.00               $0.00
          Priority Creditor's Name
          1820 8th St.                                               When was the debt incurred?
          Berkeley, CA 94710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 80       Cindy Thomas & Taran Thomas                                Last 4 digits of account number                           $129.00    $129.00               $0.00
          Priority Creditor's Name
          1004 Homestead Ave.                                        When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 81       Cindy Wu & Jason Wu                                        Last 4 digits of account number                         $1,090.00   $1,090.00              $0.00
          Priority Creditor's Name
          872 Shevlin Dr.                                            When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 82       Claire Klein & Ben Klein                                   Last 4 digits of account number                           $187.60    $187.60               $0.00
          Priority Creditor's Name
          6816 Thornhill Dr.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 83       Clara Long & Bradford Adams                                Last 4 digits of account number                         $1,250.00   $1,250.00              $0.00
          Priority Creditor's Name
          537 63rd St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 84       Clara Vu & Patrice Fayet                                   Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          6236 Rockwell St.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 85       Clare Keane & Bryan Keane                                  Last 4 digits of account number                           $175.00      $175.00              $0.00
          Priority Creditor's Name
          3787 Lakeshore Ave.                                        When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 86       Clare Talwalker & Munis Faruqui                            Last 4 digits of account number                           $350.00      $350.00              $0.00
          Priority Creditor's Name
          1317 66th St.                                              When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 87       Colleen O'Neill & Sean O'Neill                             Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          839 Beechwood Dr.                                          When was the debt incurred?
          Daly City, CA 94015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 88       Connie Wong and Jeremy Dunn                                Last 4 digits of account number     1647                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          67 Mandalay Rd.                                            When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.1      Cordelia Nickelsen & Samuel
 89       Nickelsen                                                  Last 4 digits of account number                           $505.00     $505.00              $0.00
          Priority Creditor's Name
          1601 Arch St.                                              When was the debt incurred?
          Berkeley, CA 94709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Corinne Hunsaker & Danny
 90       Hunsaker                                                   Last 4 digits of account number                           $175.00     $175.00              $0.00
          Priority Creditor's Name
          602 Joya Ct.                                               When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1      Courtney Anderson & Sean
 91       Anderson                                                   Last 4 digits of account number                           $510.00    $510.00               $0.00
          Priority Creditor's Name
          539 Florence Ave.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Courtney Blacker & David
 92       Gample                                                     Last 4 digits of account number                         $1,200.00   $1,200.00              $0.00
          Priority Creditor's Name
          5540 Lawton Ave.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 93       Courtney Martin & John Cary                                Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          480 42nd St. #E                                            When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.1
 94       Cristen Schultz & Joel Schultz                             Last 4 digits of account number                           $217.60      $217.60              $0.00
          Priority Creditor's Name
          6052 Broadway Ter.                                         When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Cristina Valdez-Sellers & Kenneth
 95       Seller                                                     Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          990 Broadway #4                                            When was the debt incurred?
          San Francisco, CA 94133
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Cynthia Peterson & William
 96       Peterson                                                   Last 4 digits of account number                           $187.60      $187.60              $0.00
          Priority Creditor's Name
          6995 Elverton Dr.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 97       Dakh Jones & Angelina Merrick                              Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          1415 Grant St.                                             When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 98       Damion Martin & emily Martin                               Last 4 digits of account number                           $129.00   $129.00              $0.00
          Priority Creditor's Name
          121 Sequoia Ave                                            When was the debt incurred?
          Walnut Creek, CA 94595
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 99       Damon Dean                                                 Last 4 digits of account number                           $212.92   $212.92              $0.00
          Priority Creditor's Name
          834 Calmar Ave                                             When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2
 00       Damon Grant & Rowan Driscoll                               Last 4 digits of account number                         $1,130.00   $1,130.00              $0.00
          Priority Creditor's Name
          9039 Thermal St.                                           When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 01       Dan Potter & Nancy Potter                                  Last 4 digits of account number                           $194.44    $194.44               $0.00
          Priority Creditor's Name
          563 Indian Home Rd.                                        When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 02       Dana Claffey & Ken Claffey                                 Last 4 digits of account number                           $231.25    $231.25               $0.00
          Priority Creditor's Name
          20 Foothill Ct.                                            When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2
 03       Dana Futoran                                               Last 4 digits of account number                         $1,010.00   $1,010.00              $0.00
          Priority Creditor's Name
          661 Via Rialto                                             When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Dana Johnston Marinovich & Erik
 04       Marinovi                                                   Last 4 digits of account number                         $1,720.00   $1,720.00              $0.00
          Priority Creditor's Name
          11 Colimbia Cir.                                           When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 05       Danica Skibola & Brad Stevens                              Last 4 digits of account number                           $600.00    $600.00               $0.00
          Priority Creditor's Name
          7 Diaz Pl.                                                 When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2      Daniel Kokotov & Jungdae
 06       Kokotov                                                    Last 4 digits of account number                           $595.00      $595.00              $0.00
          Priority Creditor's Name
          720 San Carlos Ave.                                        When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Daniela Mavrici and Francesco
 07       Pingitore                                                  Last 4 digits of account number     3105                       $0.00     $0.00              $0.00
          Priority Creditor's Name
          5831 Marshall St.                                          When was the debt incurred?
          Emeryville, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.2      Danielle Corona & Michael
 08       Corona                                                     Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          1564 Fell St.                                              When was the debt incurred?
          San Francisco, CA 94117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2
 09       Danielle Katz & Alex Katz                                  Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          5508 Merriewood Dr.                                        When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 10       Danielle Trimiew & Jason Trimiew                           Last 4 digits of account number                           $120.00   $120.00              $0.00
          Priority Creditor's Name
          1081 Hyde St.                                              When was the debt incurred?
          San Leandro, CA 94577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 11       Danny Pestal & Shaudi Bazzaz                               Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          421 43rd St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2      Daphne Trowbridge-Williams &
 12       Timothee Da                                                Last 4 digits of account number                         $1,050.00      $1,050.00              $0.00
          Priority Creditor's Name
          675 Arlington Ave.                                         When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 13       Dapo Agoro & Gloria Ng                                     Last 4 digits of account number                           $300.00       $300.00               $0.00
          Priority Creditor's Name
          835 58th St.                                               When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 14       Darwin Paz & Helene Paz                                    Last 4 digits of account number                               $26.70     $26.70               $0.00
          Priority Creditor's Name
          22231 N. 6th St.                                           When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 15       Dave Heimlicher                                            Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          760 Palmer Rd.                                             When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 16       David Chung & Bitnary Jeong                                Last 4 digits of account number                           $168.75      $168.75              $0.00
          Priority Creditor's Name
          306 Camino Arroyo E                                        When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 17       David Hudson & Sylvia Hudson                               Last 4 digits of account number                           $960.00      $960.00              $0.00
          Priority Creditor's Name
          1317 Noble Ct.                                             When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2      David Reichmuth & Tracy
 18       Reichmuth                                                  Last 4 digits of account number                         $1,655.00   $1,655.00              $0.00
          Priority Creditor's Name
          2278 Leimert Blvd.                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 19       David Salas & Tania Salas                                  Last 4 digits of account number                           $168.75    $168.75               $0.00
          Priority Creditor's Name
          P.O. Box 2355                                              When was the debt incurred?
          San Ramon, CA 94583
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 20       David Surber & Lauren Adrover                              Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          1069 Hubert Rd.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 21       David White & Malikh Davis                                 Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          990 59th St.                                               When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 22       David Wilkie & Andi Wilkie                                 Last 4 digits of account number                           $505.00      $505.00              $0.00
          Priority Creditor's Name
          474 Vermont Ave.                                           When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Davina Muldowney & Will
 23       Montogomery                                                Last 4 digits of account number                           $120.00      $120.00              $0.00
          Priority Creditor's Name
          2116 Foothill Blvd. #2                                     When was the debt incurred?
          Oakland, CA 94606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 24       Dawna Pirkle                                               Last 4 digits of account number                           $103.56    $103.56               $0.00
          Priority Creditor's Name
          7 La Mesa Ln.                                              When was the debt incurred?
          Walnut Creek, CA 94598
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Deann Kennedy & Richard
 25       Kennedy                                                    Last 4 digits of account number                         $2,720.00   $2,720.00              $0.00
          Priority Creditor's Name
          6787 Armour Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Deborah Crawford & Jacob
 26       Crawford                                                   Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          1324 Talbot Ave.                                           When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 27       Debra Roisman & Dan Roisman                                Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          649 65th St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 28       Deepta Doshi & Rajiv Doshi                                 Last 4 digits of account number                           $103.50   $103.50              $0.00
          Priority Creditor's Name
          1817 School St.                                            When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 29       Delwin Ng & Allison Cho                                    Last 4 digits of account number                           $595.00   $595.00              $0.00
          Priority Creditor's Name
          6461 Colton Blvd.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 30       Denis Green & Chris Mucha                                  Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          3758 Victor Ave.                                           When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 31       Dennis Song & Elaine Song                                  Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          26 Williams Dr.                                            When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 32       Devu Gandhi & Leigh Katcher                                Last 4 digits of account number                           $875.00   $875.00              $0.00
          Priority Creditor's Name
          5573 Masonic Ave.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2      Dhea Montegrande & Clarence
 33       Montegrande                                                Last 4 digits of account number                               $57.00     $57.00               $0.00
          Priority Creditor's Name
          1109 Morell Park Dr.                                       When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 34       Diana and Boris Sofman                                     Last 4 digits of account number     9075                       $0.00      $0.00               $0.00
          Priority Creditor's Name
          924 Larkspur Rd.                                           When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.2
 35       Diana Pasquali & Greg Pasquali                             Last 4 digits of account number                         $2,930.00      $2,930.00              $0.00
          Priority Creditor's Name
          5237 Lawton Ave.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 36       Diane and Victor Peinado                                   Last 4 digits of account number     7620                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          999 Jones St.                                              When was the debt incurred?
          Berkeley, CA 94710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.2
 37       Diane Grauer & Danny Nieder                                Last 4 digits of account number                           $505.00     $505.00              $0.00
          Priority Creditor's Name
          205 Laurel Ave.                                            When was the debt incurred?
          Highland Park, IL 60035
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 38       Diedre Poletiek & Todd Poletiek                            Last 4 digits of account number                           $202.00     $202.00              $0.00
          Priority Creditor's Name
          6893 Saroni Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2      Digne Nahimana & Musa
 39       Mawanda                                                    Last 4 digits of account number                         $1,530.00      $1,530.00              $0.00
          Priority Creditor's Name
          24729 Echo Springs Dr.                                     When was the debt incurred?
          Hayward, CA 94541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Dominic Dambrosio & Sergie
 40       Auyoung                                                    Last 4 digits of account number                           $212.57       $212.57               $0.00
          Priority Creditor's Name
          4252 Lakeshore Ave.                                        When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 41       Donna Lee & Peter Wong                                     Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          200 Euclid Ave.                                            When was the debt incurred?
          San Francisco, CA 94118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 42       Doug Ng & Theo Posselt                                     Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          2591 Hilgard Ave.                                          When was the debt incurred?
          Berkeley, CA 94709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 43       Drew Amerson & Erin Amerson                                Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          436 60th St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 44       Earl Davis & Tarita Whittingham                            Last 4 digits of account number                           $315.00    $315.00               $0.00
          Priority Creditor's Name
          3931 Malcolm Ave.                                          When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2      Ebony Manion & Raymond
 45       Manion                                                     Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          5314 Belvedere St.                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 46       Ed Pan & Amelyn Ho                                         Last 4 digits of account number                           $112.50   $112.50              $0.00
          Priority Creditor's Name
          208 Pinewood Ct.                                           When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 47       Edith Purcell & Peter Sabin                                Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          1250 Campus Dr.                                            When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 48       Ei-Lun Tsai and Kirk Yokomizo                              Last 4 digits of account number     9824                      $0.00      $0.00               $0.00
          Priority Creditor's Name
          6115 Skyline Blvd.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.2
 49       Eileen Kim & James Brown                                   Last 4 digits of account number                         $1,200.00     $1,200.00              $0.00
          Priority Creditor's Name
          8619 Arbor Dr.                                             When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 50       Elaine Minton & Michael Letson                             Last 4 digits of account number                           $480.00      $480.00               $0.00
          Priority Creditor's Name
          6205 Harwood Ave.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 51       Elana Schuldt & Eli Schuldt                                Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          345 Hampton Rd.                                            When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 52       Elana Silver & Charlie Silver                              Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          11200 Sun Valley Dr.                                       When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 53       Eleanor Wheeler & Tim Wheeler                              Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          1547 Solitude Ln.                                          When was the debt incurred?
          El Sobrante, CA 94803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2      Eleese Meschery & Matthew
 54       Meschery                                                   Last 4 digits of account number                           $129.17   $129.17              $0.00
          Priority Creditor's Name
          3741 Ardley Ave                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 55       Elena Geels & John Burbridge                               Last 4 digits of account number                           $202.00   $202.00              $0.00
          Priority Creditor's Name
          4121 Harbor View Ave.                                      When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 56       Elena Holsman & Trent Holsman                              Last 4 digits of account number                           $217.60   $217.60              $0.00
          Priority Creditor's Name
          119 Beechwood Dr.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 57       Eli Groban & Kim Parker                                    Last 4 digits of account number                           $116.00      $116.00              $0.00
          Priority Creditor's Name
          1700 Broadway #305                                         When was the debt incurred?
          San Francisco, CA 94109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 58       Elina Mnatsakanova                                         Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          1101 Howard St. #205                                       When was the debt incurred?
          San Francisco, CA 94403
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 59       Elisabeth Hawley                                           Last 4 digits of account number                           $960.00      $960.00              $0.00
          Priority Creditor's Name
          316 Pomona Ave.                                            When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2      Elissa Buchanan & Blake Von
 60       Knopka                                                     Last 4 digits of account number                         $1,290.00   $1,290.00              $0.00
          Priority Creditor's Name
          1523 Francisco St.                                         When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 61       Eliza Khuner & Harry Kao                                   Last 4 digits of account number                         $2,580.00   $2,580.00              $0.00
          Priority Creditor's Name
          1936 Deaware St                                            When was the debt incurred?
          Berkeley, CA 94709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Elizabeth Deluca & Darrow
 62       Deluca                                                     Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          4950 Manila Ave.                                           When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 63       Elizabeth Jones & Ben Jones                                Last 4 digits of account number                         $5,330.00   $3,025.00        $2,305.00
          Priority Creditor's Name
          5016 Cochrane Ave.                                         When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Elizabeth Linos & Georgios
 64       Mitselos                                                   Last 4 digits of account number                         $2,364.17   $2,364.17              $0.00
          Priority Creditor's Name
          1187 66th St.                                              When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 65       Elizabeth Monroe & J.Ben Monroe                            Last 4 digits of account number                           $910.00    $910.00               $0.00
          Priority Creditor's Name
          830 Kenyon Ave.                                            When was the debt incurred?
          San Leandro, CA 94577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2      Elizabeth Nichols & Samuel
 66       Nichols                                                    Last 4 digits of account number                         $1,072.57      $1,072.57              $0.00
          Priority Creditor's Name
          801 Calmer Ave.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 67       Ellen Veomett & Aaron Rappaport                            Last 4 digits of account number                           $570.00       $570.00               $0.00
          Priority Creditor's Name
          2814 Prince St.                                            When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Elveera Rebello & Ryan
 68       Mascarenhas                                                Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          3 Bayside Village Pl.                                      When was the debt incurred?
          San Francisco, CA 94107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2
 69       Elyse Gilbert & Gregory Sherman                            Last 4 digits of account number                         $1,105.00   $1,105.00              $0.00
          Priority Creditor's Name
          353 Athol Ave.                                             When was the debt incurred?
          Oakland, CA 94606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 70       Emily Anderson                                             Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          3748 Virden Ave                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 71       Emily Banwell Lagrone                                      Last 4 digits of account number                           $212.57    $212.57               $0.00
          Priority Creditor's Name
          1133 Norwood Ave.                                          When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2
 72       Emily Burton & Matt Burton                                 Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          718 Carmel Ave.                                            When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Emily Caro-Bruce & Jason
 73       Disterhoft                                                 Last 4 digits of account number                           $455.00   $455.00              $0.00
          Priority Creditor's Name
          1244 Dartmouth St.                                         When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 74       Emily Epstein & Andrew Perkins                             Last 4 digits of account number                           $129.17   $129.17              $0.00
          Priority Creditor's Name
          123 Fairlawn Dr.                                           When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2
 75       Emily Fox & Steve Ratcliff                                 Last 4 digits of account number                           $520.00   $520.00              $0.00
          Priority Creditor's Name
          883 57th St.                                               When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Emily Kokernak & David
 76       Boardman                                                   Last 4 digits of account number                           $129.17   $129.17              $0.00
          Priority Creditor's Name
          1224 59th St.                                              When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 77       Emily O'Brien & Chris Rauen                                Last 4 digits of account number                           $510.00   $510.00              $0.00
          Priority Creditor's Name
          1015 Mariposa Ave.                                         When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2
 78       Emily Rancer & Tanya Danel                                 Last 4 digits of account number                           $240.00    $240.00               $0.00
          Priority Creditor's Name
          7227 Plank Ave.                                            When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Emily Shearon & Matthew
 79       Shearon                                                    Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          6207 Manoa St.                                             When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 80       Emma Cott & Robert Lewis                                   Last 4 digits of account number                         $1,610.00   $1,610.00              $0.00
          Priority Creditor's Name
          3140 Eton Ave.                                             When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2      Employment Development
 81       Department                                                 Last 4 digits of account number                                $0.00     $0.00              $0.00
          Priority Creditor's Name
          State of California                                        When was the debt incurred?
          Bankruptcy Unit - MIC 92E
          P.O. Box 826880
          Sacramento, CA 94280
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           For Notice Purposes Only

 2.2
 82       Enlai Chen                                                 Last 4 digits of account number                           $284.06      $284.06              $0.00
          Priority Creditor's Name
          339 Broadway #119                                          When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Eric Houssels & Kathleen
 83       Houssels                                                   Last 4 digits of account number                               $55.00    $55.00              $0.00
          Priority Creditor's Name
          196 Estates Dr.                                            When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2      Eric Kofoed & Farida Jhabvala
 84       Romero                                                     Last 4 digits of account number                         $2,210.00      $2,210.00              $0.00
          Priority Creditor's Name
          3122 Guido St.                                             When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 85       Eric Steuer                                                Last 4 digits of account number                               $51.78     $51.78               $0.00
          Priority Creditor's Name
          1 Parrot Ct.                                               When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 86       Erica Garber & Brian Garber                                Last 4 digits of account number                           $480.00       $480.00               $0.00
          Priority Creditor's Name
          5406 Brookdale Ave.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.2
 87       Erica Loh Jones & Corey Jones                              Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          4891 Geranium Pl.                                          When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 88       Erica Spotswood & Leonid Sheps                             Last 4 digits of account number                         $1,705.00   $1,705.00              $0.00
          Priority Creditor's Name
          5407 Brann St.                                             When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2      Ericha Mondesir & Wiener
 89       Mondesir                                                   Last 4 digits of account number                           $520.00    $520.00               $0.00
          Priority Creditor's Name
          438 Elysian Fields Dr.                                     When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 90       Erika Cohen & Kevin Cohen                                  Last 4 digits of account number                           $206.29   $206.29              $0.00
          Priority Creditor's Name
          21 Crest Ct.                                               When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 91       Erika Hillsman & Bram Hillsman                             Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          3900 Magee Ave.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 92       Erin Barth & Doug Barth                                    Last 4 digits of account number                           $103.50   $103.50              $0.00
          Priority Creditor's Name
          1515 Camino Peral #C                                       When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 93       Erin Beach & Chris Kraeuter                                Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          775 Creston Rd.                                            When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 94       Erin Carr & Amelia Carr                                    Last 4 digits of account number                           $920.00   $920.00              $0.00
          Priority Creditor's Name
          7740 Crest Ave.                                            When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 95       Erin Fredin & Brian Fredin                                 Last 4 digits of account number                           $315.00   $315.00              $0.00
          Priority Creditor's Name
          4745 El Centro Ave.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 96       Erin Kennedy & Brian Kennedy                               Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          1349 Barrows Rd.                                           When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 97       Erin Murphy & Jeremy Tinker                                Last 4 digits of account number                         $1,920.00   $1,920.00              $0.00
          Priority Creditor's Name
          237 Thompson St. #8D                                       When was the debt incurred?
          New York, NY 10012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.2
 98       Erin Rich & David Rich                                     Last 4 digits of account number                           $985.00    $985.00               $0.00
          Priority Creditor's Name
          6450 Regent St.                                            When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.2
 99       Estee Eliasoph & Judd Eliasoph                             Last 4 digits of account number                           $525.00   $525.00              $0.00
          Priority Creditor's Name
          333 Florence Ave.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 00       Esti Feller & Matthew Schmid                               Last 4 digits of account number                           $780.00   $780.00              $0.00
          Priority Creditor's Name
          652 Norvell St.                                            When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Eugenia Gratto & Paul
 01       Edmondson                                                  Last 4 digits of account number                           $737.92   $737.92              $0.00
          Priority Creditor's Name
          622 Calmar Ave                                             When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 02       Evelyn Chan & Nik Carlson                                  Last 4 digits of account number                           $420.00    $420.00               $0.00
          Priority Creditor's Name
          6028 Harwood Ave.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 03       Eylon Caspi & Denise Lai                                   Last 4 digits of account number                         $1,970.00   $1,970.00              $0.00
          Priority Creditor's Name
          3055 Shattuck Ave. #A                                      When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 04       Fannie Lee                                                 Last 4 digits of account number                           $284.06    $284.06               $0.00
          Priority Creditor's Name
          1033 Lewelling Ct.                                         When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3
 05       Fei Xu                                                     Last 4 digits of account number                           $455.00   $455.00              $0.00
          Priority Creditor's Name
          913 Adams St. #B                                           When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 06       Fleurice Monticillo                                        Last 4 digits of account number                           $240.00   $240.00              $0.00
          Priority Creditor's Name
          318 Spear St. #8F                                          When was the debt incurred?
          San Francisco, CA 94105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Flora Spicer Szilagyi & Mark
 07       Youakim                                                    Last 4 digits of account number                           $103.50   $103.50              $0.00
          Priority Creditor's Name
          187 Meadowlark Way                                         When was the debt incurred?
          Hercules, CA 94547
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3
 08       Frances Ho & Jeffrey Simms                                 Last 4 digits of account number                           $960.00     $960.00              $0.00
          Priority Creditor's Name
          1915 Milvia St.                                            When was the debt incurred?
          Berkeley, CA 94704
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 09       Francesca Brown & Carey Brown                              Last 4 digits of account number                           $480.00     $480.00              $0.00
          Priority Creditor's Name
          6378 Ascot Dr.                                             When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 10       Franchise Tax Board                                        Last 4 digits of account number                               $0.00     $0.00              $0.00
          Priority Creditor's Name
          Bankruptcy Section, MS A-340                               When was the debt incurred?
          P.O. Box 2952
          Sacramento, CA 95812-2952
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           For Notice Purposes Only




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 2.3      Franz Nicolay & Maria
 11       Sonevytsky                                                 Last 4 digits of account number                           $505.00   $505.00              $0.00
          Priority Creditor's Name
          2105 California St.                                        When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 12       Fritz Muegenburg & Alison Woolf                            Last 4 digits of account number                           $650.00   $650.00              $0.00
          Priority Creditor's Name
          3882 Shafter Ave.                                          When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 13       Gabby Turner & Andres Turner                               Last 4 digits of account number                           $692.92   $692.92              $0.00
          Priority Creditor's Name
          1008 Trestle Glen Rd.                                      When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3
 14       Gabriela Kahl & Nicholas Kahl                              Last 4 digits of account number                           $555.00      $555.00              $0.00
          Priority Creditor's Name
          7356 Circle Hill Dr.                                       When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 15       Gabriela Markette & Paul Markette                          Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          4022 Huntington St.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 16       Gaile Suarez & Edwin Suarez                                Last 4 digits of account number                               $57.00    $57.00              $0.00
          Priority Creditor's Name
          125 St Pierre Way                                          When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 17       Gautam Borooah & Sigi Nacson                               Last 4 digits of account number                           $505.00      $505.00              $0.00
          Priority Creditor's Name
          5333 James Ave.                                            When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 18       Genesis Prado                                              Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          17994 Mayflower Dr.                                        When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Genevieve Frisch & Ruben
 19       Jackson                                                    Last 4 digits of account number                           $930.00      $930.00              $0.00
          Priority Creditor's Name
          1639 63rd St.                                              When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 20       Geri Landman & Zach Landman                                Last 4 digits of account number                           $202.00      $202.00              $0.00
          Priority Creditor's Name
          6501 Pine Needle Dr.                                       When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Giancarlo Foppiano & Connie
 21       Foppiano                                                   Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          2449 Lake St.                                              When was the debt incurred?
          San Francisco, CA 94121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 22       Gina Campbell & David Campbell                             Last 4 digits of account number                           $430.00      $430.00              $0.00
          Priority Creditor's Name
          24 Farallon Ct.                                            When was the debt incurred?
          Richmond, CA 94804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 23       Gina Cibuzar & Greg Cibuzar                                Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          1522 Mason St.                                             When was the debt incurred?
          San Francisco, CA 94133
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 24       Gina Cook & James Cook                                     Last 4 digits of account number                         $3,300.00      $3,025.00           $275.00
          Priority Creditor's Name
          1079 Euclid Ave.                                           When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 25       Gina Morris & Jason Morris                                 Last 4 digits of account number                           $480.00       $480.00               $0.00
          Priority Creditor's Name
          1821 Carleton St.                                          When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3
 26       Gina Taber & Mike Taber                                    Last 4 digits of account number                           $103.50      $103.50              $0.00
          Priority Creditor's Name
          1382 Camino Peral                                          When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 27       Gina Wong Moe & Jeremy Moe                                 Last 4 digits of account number                               $57.00    $57.00              $0.00
          Priority Creditor's Name
          523 Ross Cir.                                              When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Giovanna Blackstone Keren &
 28       Roy Keren                                                  Last 4 digits of account number                           $860.00      $860.00              $0.00
          Priority Creditor's Name
          1857 Magellan Dr.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 29       Glenn Chen & Melissa Chen                                  Last 4 digits of account number                           $730.00       $730.00               $0.00
          Priority Creditor's Name
          6301 Roanoke Rd.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Glenn Matsuhara & Terry Dela
 30       Cruz                                                       Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          29 Merrill Cir. South                                      When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 31       Gloria Bruce & Wendy Seider                                Last 4 digits of account number                         $1,357.60      $1,357.60              $0.00
          Priority Creditor's Name
          431 38th St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3
 32       Grace Ramos                                                Last 4 digits of account number                               $53.40     $53.40               $0.00
          Priority Creditor's Name
          3615 Juniper St.                                           When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 33       Grace Tabada & Warren Tabada                               Last 4 digits of account number                           $284.06       $284.06               $0.00
          Priority Creditor's Name
          2430 Maho Bay Circle                                       When was the debt incurred?
          Pittsburg, CA 94565
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 34       Grace Telcs & Scott Siera                                  Last 4 digits of account number                         $3,300.00      $3,025.00           $275.00
          Priority Creditor's Name
          4165 Whittle Ave.                                          When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3
 35       Gretchen Krebs and Ian Read                                Last 4 digits of account number                           $545.00    $545.00               $0.00
          Priority Creditor's Name
          354 24th St.                                               When was the debt incurred?
          Oakland, CA 94612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 36       Guy Holmes & Toquyen Mai                                   Last 4 digits of account number                         $1,440.00   $1,440.00              $0.00
          Priority Creditor's Name
          4466 Anderson Ave.                                         When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 37       Haley Kayser & Kyle Simonetta                              Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          839 York St.                                               When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3
 38       Hannah O'Reilly & Shay O'Reilly                            Last 4 digits of account number                           $600.00    $600.00               $0.00
          Priority Creditor's Name
          4339 Park Blvd.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 39       Harriet Gu & Steve Gibbard                                 Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          5924 Chabolyn Ter.                                         When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Heather Broome & Curtis
 40       Bromme                                                     Last 4 digits of account number                         $1,315.00   $1,315.00              $0.00
          Priority Creditor's Name
          2615 Haverhill Dr.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 41       Heather Cox & Brennan Cox                                  Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          1831 Capistrano Ave.                                       When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 42       Heather West & Alex Welsh                                  Last 4 digits of account number                           $985.00    $985.00               $0.00
          Priority Creditor's Name
          3381 Jordan Rd.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Helen Bateup & Dirk
 43       Hockemeyers                                                Last 4 digits of account number                         $2,875.00   $2,875.00              $0.00
          Priority Creditor's Name
          8170 Terrace Dr.                                           When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 44       Helen Blain & John Blain                                   Last 4 digits of account number                           $202.00   $202.00              $0.00
          Priority Creditor's Name
          6600 Liggett Dr.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 45       Hilary Altman & Kevin Schwartz                             Last 4 digits of account number                           $430.00   $430.00              $0.00
          Priority Creditor's Name
          958 Ventura Ave.                                           When was the debt incurred?
          Albany, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 46       Holly Peterson & Fernando Perez                            Last 4 digits of account number                           $240.00   $240.00              $0.00
          Priority Creditor's Name
          1017 Walker Ave.                                           When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 47       Holly Townsend                                             Last 4 digits of account number                           $168.75      $168.75              $0.00
          Priority Creditor's Name
          6650 Johnston Rd.                                          When was the debt incurred?
          Pleasanton, CA 94588
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 48       Hyder Janjua                                               Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 49       Iidelisa Tibbetts                                          Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          100 Black Oak Knoll                                        When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3
 50       Imogen Hart & Stephan Sanders                              Last 4 digits of account number                           $103.50      $103.50              $0.00
          Priority Creditor's Name
          1094 Country Club Dr.                                      When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 51       Ingrid Paulson & Alex Pugh                                 Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          2425 Francisco St.                                         When was the debt incurred?
          San Francisco, CA 94123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 52       Internal Revenue Service                                   Last 4 digits of account number                                $0.00     $0.00              $0.00
          Priority Creditor's Name
          Special Procedures Section                                 When was the debt incurred?
          1301 Clay St., Stop 1400S
          Oakland, CA 94612-5210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           For Notice Purposes Only




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 53       Irina Walton & Brian Walton                                Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          960 Country Lane                                           When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 54       Iris Mauss & Josh Knapp                                    Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          39 Hemlock Ln.                                             When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 55       Isabel Cho & Igor Ranitovic                                Last 4 digits of account number                           $430.00      $430.00              $0.00
          Priority Creditor's Name
          1707 Beverly Pl.                                           When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 56       Isabel Herman & Mike Herman                                Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          5532 Manila Ave                                            When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 57       Isabel Ziegler & Steven Ziegler                            Last 4 digits of account number                         $2,200.00   $2,200.00              $0.00
          Priority Creditor's Name
          7738 Curry Ave.                                            When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 58       Iwei Yeh & Serge Saxonov                                   Last 4 digits of account number                           $284.06    $284.06               $0.00
          Priority Creditor's Name
          5799 Balmoral Dr.                                          When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3      Jaclyn Burleigh & Fausto De
 59       Sousa                                                      Last 4 digits of account number                           $250.00   $250.00              $0.00
          Priority Creditor's Name
          229 MacArthur Blvd. #1G                                    When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 60       Jae Kim & Carl Milsum                                      Last 4 digits of account number                           $940.00   $940.00              $0.00
          Priority Creditor's Name
          215 Saint James Dr.                                        When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Jagadeesh Ambati & Jenifer
 61       Rachels                                                    Last 4 digits of account number                           $175.00   $175.00              $0.00
          Priority Creditor's Name
          4128 Rettig Ave                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3      James Atencio & Alexandra
 62       Atencio                                                    Last 4 digits of account number                           $206.29    $206.29               $0.00
          Priority Creditor's Name
          2196 Hadden Rd.                                            When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 63       James Li & Susan Koo                                       Last 4 digits of account number                           $240.00    $240.00               $0.00
          Priority Creditor's Name
          111 Wildwood Ave.                                          When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 64       James Nye & Ashley-Renee Nye                               Last 4 digits of account number                         $2,730.00   $2,730.00              $0.00
          Priority Creditor's Name
          940 Evelyn Ave.                                            When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 65       Jamie Besaw & Maria Besaw                                  Last 4 digits of account number                           $187.60    $187.60               $0.00
          Priority Creditor's Name
          2211 Oregon St.                                            When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 66       Jamie Dean & Colin Dean                                    Last 4 digits of account number                         $1,045.00   $1,045.00              $0.00
          Priority Creditor's Name
          6767 Sims Dr.                                              When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 67       Jamie Moore                                                Last 4 digits of account number                           $212.92    $212.92               $0.00
          Priority Creditor's Name
          1185 Holman Rd.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3      Jamie Murray Sandoval & James
 68       Sandoval                                                   Last 4 digits of account number                           $200.00    $200.00               $0.00
          Priority Creditor's Name
          4157 Emerald St.                                           When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Jamie O'Halloran & Sean
 69       O'Halloran                                                 Last 4 digits of account number                         $1,010.00   $1,010.00              $0.00
          Priority Creditor's Name
          1890 Clemens Rd.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 70       Jamie Tong & Howard Tong                                   Last 4 digits of account number                           $194.44    $194.44               $0.00
          Priority Creditor's Name
          217 Aptos Pl.                                              When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3      Jamila Brooks & Kenyatta
 71       Miles-Davis                                                Last 4 digits of account number                           $202.00   $202.00              $0.00
          Priority Creditor's Name
          377 Palm Ave. #307                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 72       Jane Franch & Adam Franch                                  Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          1401 Acton Crescent                                        When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 73       Janet Mun & Eric Mun                                       Last 4 digits of account number                           $168.75   $168.75              $0.00
          Priority Creditor's Name
          512 Buttonwood Dr.                                         When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 74       Janice Healey & Jim Mocci                                  Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          198 18th Ave.                                              When was the debt incurred?
          San Francisco, CA 94121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 75       Janine Palladino & Carl Palladino                          Last 4 digits of account number                           $817.60      $817.60              $0.00
          Priority Creditor's Name
          6183 Acacia Ave.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 76       Janna Woods                                                Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          484 Lake Park Ave. #529                                    When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 77       Jannie Chan & Robert Sajan                                 Last 4 digits of account number                               $75.00     $75.00               $0.00
          Priority Creditor's Name
          28 El Carmello Cir.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Jared Maliga Cedar & Anna
 78       Lindberg Cedar                                             Last 4 digits of account number                         $4,810.00      $3,025.00        $1,785.00
          Priority Creditor's Name
          4527 Fleming Ave.                                          When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 79       Jason Edelstein & Leah Edelstein                           Last 4 digits of account number                           $480.00       $480.00               $0.00
          Priority Creditor's Name
          6417 Thornhill Dr.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3      Jatin Deshpande & Ashvini
 80       Mangalvedhekar                                             Last 4 digits of account number                               $50.00     $50.00               $0.00
          Priority Creditor's Name
          2084 Drysdale St.                                          When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 81       Jean Spencer & Rene Madamba                                Last 4 digits of account number                         $2,568.00      $2,568.00              $0.00
          Priority Creditor's Name
          728 San Carlos Ave.                                        When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Jeanetter Naughton & Cassian
 82       Naughton                                                   Last 4 digits of account number                         $1,800.00      $1,800.00              $0.00
          Priority Creditor's Name
          PO Box #718                                                When was the debt incurred?
          Lafayette, CA 94549
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 83       Jed Silver & Yuen Chiang                                   Last 4 digits of account number                         $1,705.00   $1,705.00              $0.00
          Priority Creditor's Name
          184 Santa Rosa Ave.                                        When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Jee Won Mogensen & Andrew
 84       Mogensen                                                   Last 4 digits of account number                         $1,455.00   $1,455.00              $0.00
          Priority Creditor's Name
          95 41st St. #101                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 85       Jeff Garnand & Yasi Haerizadeh                             Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          838 The Alameda                                            When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3
 86       Jelena Harada & Tomo Harada                                Last 4 digits of account number                         $1,100.00      $1,100.00              $0.00
          Priority Creditor's Name
          1451 Hampel St.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 87       Jen Dary and Chris Dary                                    Last 4 digits of account number                           $600.00       $600.00               $0.00
          Priority Creditor's Name
          807 Delaware St.                                           When was the debt incurred?
          Berkeley, CA 94710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/orPayments for Children's
                                                                                         Educational Programs

 2.3
 88       Jen Hall & Chris Hall                                      Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          184 Parker Ave.                                            When was the debt incurred?
          San Francisco, CA 94118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 89       Jen Lundberg & Matt Lundberg                               Last 4 digits of account number                               $81.00     $81.00               $0.00
          Priority Creditor's Name
          2494 Pebble Beach Rd.                                      When was the debt incurred?
          Lafayette, CA 94549
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 90       Jenafir House & Mark Urban                                 Last 4 digits of account number                         $1,040.00      $1,040.00              $0.00
          Priority Creditor's Name
          2014 Channing Way #4                                       When was the debt incurred?
          Berkeley, CA 94704
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 91       Jenan Abdunnur & Paul Lucas                                Last 4 digits of account number                           $202.00       $202.00               $0.00
          Priority Creditor's Name
          6645 Gunn Dr.                                              When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 92       Jenna Dobkin                                               Last 4 digits of account number                           $162.00   $162.00              $0.00
          Priority Creditor's Name
          623 Laird Ln.                                              When was the debt incurred?
          Lafayette, CA 94549
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 93       Jenna Ford & Corey Ford                                    Last 4 digits of account number                           $202.00   $202.00              $0.00
          Priority Creditor's Name
          6609 Colton Blvd.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 94       Jenna Lerner & Dimitry Lerner                              Last 4 digits of account number                           $525.00   $525.00              $0.00
          Priority Creditor's Name
          105 Monte Vista Rd.                                        When was the debt incurred?
          Orinda, CA 94563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.3
 95       Jenna Tippie & Brian Tippie                                Last 4 digits of account number                           $125.00    $125.00               $0.00
          Priority Creditor's Name
          1215 Ridgeview Pl.                                         When was the debt incurred?
          Pleasant Hill, CA 94523
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Jennifer Afdahl Rice & Lowell
 96       Rice                                                       Last 4 digits of account number                         $1,100.00   $1,100.00              $0.00
          Priority Creditor's Name
          360 Monte Vista Ave. #203                                  When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3      Jennifer Bellenger & Don
 97       Bellenger                                                  Last 4 digits of account number                           $430.00    $430.00               $0.00
          Priority Creditor's Name
          3822 Whittle Ave.                                          When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.3      Jennifer Darmstadt-Holm &
 98       Michael Jory                                               Last 4 digits of account number                           $595.00   $595.00              $0.00
          Priority Creditor's Name
          601 William St. #505                                       When was the debt incurred?
          Oakland, CA 94612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.3
 99       Jennifer Du & Daniel Lee                                   Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          1015 Elm Ct.                                               When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 00       Jennifer Gin & Amyn Sheriff                                Last 4 digits of account number                           $202.00   $202.00              $0.00
          Priority Creditor's Name
          1990 Gaspar Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4
 01       Jennifer Harris & James Hardy                              Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          1120 Neilson St.                                           When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Jennifer Harrison & Rashad
 02       Harrison                                                   Last 4 digits of account number                         $1,440.00   $1,440.00              $0.00
          Priority Creditor's Name
          1951 Hoover Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 03       Jennifer Irish & Marit Sonstelie                           Last 4 digits of account number                           $455.00    $455.00               $0.00
          Priority Creditor's Name
          512 N 65th St.                                             When was the debt incurred?
          Seattle, WA 98103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4
 04       Jennifer Isacoff & Ehud Isacoff                            Last 4 digits of account number                           $180.00    $180.00               $0.00
          Priority Creditor's Name
          1936 Thousand Oaks Blvd.                                   When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 05       Jennifer Jackson                                           Last 4 digits of account number                           $250.00    $250.00               $0.00
          Priority Creditor's Name
          4052 Lincoln Ave. #C                                       When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 06       Jennifer Jerum & Greg Jerum                                Last 4 digits of account number                         $3,360.00   $3,025.00           $335.00
          Priority Creditor's Name
          10 Ramona Ave.                                             When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4
 07       Jennifer King & Deneb Meketa                               Last 4 digits of account number                           $570.00      $570.00              $0.00
          Priority Creditor's Name
          1511 Cedar St.                                             When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 08       Jennifer Lachance & Eric Norden                            Last 4 digits of account number                           $960.00      $960.00              $0.00
          Priority Creditor's Name
          4325 Gregory St.                                           When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Jennifer Lagandaon & Lorenzo
 09       Lagandaon                                                  Last 4 digits of account number                               $57.00    $57.00              $0.00
          Priority Creditor's Name
          2810 Pacheco Blvd.                                         When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4      Jennifer Leech & Michael
 10       Burstein                                                   Last 4 digits of account number                           $595.00   $595.00              $0.00
          Priority Creditor's Name
          2314 Derby St.                                             When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 11       Jennifer Lucki & Robert Hamrick                            Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          6818 Snowdon Ave.                                          When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 12       Jennifer Martin                                            Last 4 digits of account number                           $625.00   $625.00              $0.00
          Priority Creditor's Name
          7011 Devon Way                                             When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4      Jennifer Pfotenhauer & Luis
 13       Argueta                                                    Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          4128 Fruitvale Ave.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Jennifer Stomberg & Morris
 14       Jones                                                      Last 4 digits of account number                           $505.00   $505.00              $0.00
          Priority Creditor's Name
          43 Estrella Ave.                                           When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 15       Jennifer Yelton & Marcus Yelton                            Last 4 digits of account number                           $455.00   $455.00              $0.00
          Priority Creditor's Name
          786 Santa Ray Ave.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4      Jenny Feinberg & Stephen
 16       Feinberg                                                   Last 4 digits of account number                           $240.00    $240.00               $0.00
          Priority Creditor's Name
          2556 Warren N. Ave.                                        When was the debt incurred?
          Seattle, WA 98109-1835
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 17       Jenny Stern & Dru Krupinsky                                Last 4 digits of account number                           $430.00    $430.00               $0.00
          Priority Creditor's Name
          3546 Jordan Rd.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 18       Jeremy Liu & Irene Kao                                     Last 4 digits of account number                         $2,400.00   $2,400.00              $0.00
          Priority Creditor's Name
          2818 Atwell Ave                                            When was the debt incurred?
          Oakland, CA 94601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4
 19       Jesse David & Lisa Davis                                   Last 4 digits of account number                         $1,920.00   $1,920.00              $0.00
          Priority Creditor's Name
          1935 Napa Ave.                                             When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 20       Jessica Berthold & Collin Boylan                           Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          2016 Alameda Ave.                                          When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 21       Jessica Brady & Matthew Brady                              Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          2211 Manzanita Dr.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 22       Jessica Gorelik & Matt Gorelik                             Last 4 digits of account number                           $103.50    $103.50               $0.00
          Priority Creditor's Name
          145 Warfield Dr.                                           When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 23       Jessica Grossman & Tom Ladt                                Last 4 digits of account number                         $1,515.00   $1,515.00              $0.00
          Priority Creditor's Name
          612 Ridge Rd.                                              When was the debt incurred?
          Tiburon, CA 94920
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 24       Jessica Harvill & Alex Harvill                             Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          63 Oakvale Ave.                                            When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4      Jessica Shimmin and John
 25       Honerkamp                                                  Last 4 digits of account number     4309                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          23539 Lauren Pl.                                           When was the debt incurred?
          Hayward, CA 94541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.4
 26       Jessica Stark & Joseph Stark                               Last 4 digits of account number                           $510.00     $510.00              $0.00
          Priority Creditor's Name
          315 Oakes Blvd.                                            When was the debt incurred?
          San Leandro, CA 94577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Jessica Teisch and Michael
 27       Rosenberg                                                  Last 4 digits of account number     2344                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          5861 Margarido Dr.                                         When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 28       Jessica Wan & John Denero                                  Last 4 digits of account number                           $570.00   $570.00              $0.00
          Priority Creditor's Name
          1709 La Loma Ave.                                          When was the debt incurred?
          Berkeley, CA 94709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 29       Jessicqa Tillery & Khari Tillery                           Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          3015 San Pablo Ave. #422                                   When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 30       Jill Fuss & Andy Thompson                                  Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          4415 Moraga Ave.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 31       Jim Littlejohn & Kathy Littlejohn                          Last 4 digits of account number                           $168.75   $168.75              $0.00
          Priority Creditor's Name
          445 Bengali Ct.                                            When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 32       Jim Sivori & Yvonne Cordova                                Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          51 Alamo Ave.                                              When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 33       Jingjing Liu & Guochang Zhang                              Last 4 digits of account number                           $103.50   $103.50              $0.00
          Priority Creditor's Name
          176 Miramonte Dr.                                          When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4      Jo Ann Chen & Michiel Post Van
 34       Der Molen                                                  Last 4 digits of account number                           $202.00   $202.00              $0.00
          Priority Creditor's Name
          5830 Snake Rd.                                             When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Joana Chambers & Jeff
 35       Chambers                                                   Last 4 digits of account number                           $430.00   $430.00              $0.00
          Priority Creditor's Name
          647 Santa Rosa Ave.                                        When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 36       Joann Fetzer & Mark Fetzer                                 Last 4 digits of account number                           $206.29   $206.29              $0.00
          Priority Creditor's Name
          2116 Meriweather Ct.                                       When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4      Joann Ruckman & Adan
 37       Gutierrez-Gallegos                                         Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          2116 Encinal Ave. #D                                       When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Joanna Rudnick & Jordan
 38       Gimberl                                                    Last 4 digits of account number                         $2,280.00   $2,280.00              $0.00
          Priority Creditor's Name
          6040 Ocean View Dr.                                        When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 39       Joe Moss & Mira Moss                                       Last 4 digits of account number                           $194.44    $194.44               $0.00
          Priority Creditor's Name
          30 Meese Cir.                                              When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4
 40       John Warren & Ashley Boyd                                  Last 4 digits of account number                           $425.00   $425.00              $0.00
          Priority Creditor's Name
          1647 Carleton St.                                          When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 41       John Winkel & Celeste Winkel                               Last 4 digits of account number                           $755.00   $755.00              $0.00
          Priority Creditor's Name
          3382 Victor Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 42       Jolene Santos                                              Last 4 digits of account number                           $103.56   $103.56              $0.00
          Priority Creditor's Name
          40 Norlyn Dr.                                              When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4      Jonah Meacham & Heather
 43       Meacham                                                    Last 4 digits of account number                           $202.00       $202.00               $0.00
          Priority Creditor's Name
          1849 Brentwood Rd.                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 44       Jonathan Marr & John Mack                                  Last 4 digits of account number                         $1,365.00      $1,365.00              $0.00
          Priority Creditor's Name
          778 Contra Costa Ave.                                      When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 45       Jordan Edelstein & Liz Yap                                 Last 4 digits of account number                               $50.00     $50.00               $0.00
          Priority Creditor's Name
          5310 Lawton Ave.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 149 of 344
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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 46       Jordan Golinkoff & Liz Forwand                             Last 4 digits of account number                           $625.00      $625.00              $0.00
          Priority Creditor's Name
          676 60th St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Jordan Womack & Christina
 47       Womack                                                     Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          5319 Fairweather Ct.                                       When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 48       Jorge Blandon & Stacy Borden                               Last 4 digits of account number                           $692.57      $692.57              $0.00
          Priority Creditor's Name
          4267 Lakeshore Ave.                                        When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4      Joseph Shapiro & Amanda
 49       Brewster                                                   Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          1613 Sonoma Ave.                                           When was the debt incurred?
          Albany, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 50       Joseph Zeccardi & Hilda Ma                                 Last 4 digits of account number                           $206.29    $206.29               $0.00
          Priority Creditor's Name
          531 Chandon Ct.                                            When was the debt incurred?
          Walnut Creek, CA 94597
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 51       Josh Seidenfeld & Diana Ip                                 Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          3951 Park Blvd.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 52       Joy Sherrod & Jay Sherrod                                  Last 4 digits of account number                           $570.00    $570.00               $0.00
          Priority Creditor's Name
          529 31st St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 53       JT Taylor & Sandy Baird                                    Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          4615 Reinhardt Dr.                                         When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 54       Judy Feria & Sergio Feria                                  Last 4 digits of account number                         $1,090.00   $1,090.00              $0.00
          Priority Creditor's Name
          1688 Tacoma Ave.                                           When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4
 55       Julia Arnold & Josh Arnold                                 Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          117 Palm Ave.                                              When was the debt incurred?
          San Francisco, CA 94118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 56       Julia Hatton & Joef Hatton                                 Last 4 digits of account number                           $625.00      $625.00              $0.00
          Priority Creditor's Name
          723 San Carlos Ave.                                        When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 57       Julia Ng                                                   Last 4 digits of account number     0637                       $0.00     $0.00              $0.00
          Priority Creditor's Name
          434 Clayton Ave.                                           When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 58       Julia Valdez & Matthew Valdez                              Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          4350 Briar Ridge                                           When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 59       Julia Walters & Andrew Ross                                Last 4 digits of account number                           $129.00      $129.00              $0.00
          Priority Creditor's Name
          1542 Sunny Ct.                                             When was the debt incurred?
          Walnut Creek, CA 94595
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 60       Juliana Moravy & Lars Moravy                               Last 4 digits of account number                           $217.60      $217.60              $0.00
          Priority Creditor's Name
          5060 Proctor Ave.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 61       Julie Bai & Alan Chinn                                     Last 4 digits of account number                           $920.00    $920.00               $0.00
          Priority Creditor's Name
          5509 Broadway                                              When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 62       Julie Beagle & Eric Knecht                                 Last 4 digits of account number                         $1,200.00   $1,200.00              $0.00
          Priority Creditor's Name
          1639 Wellington St.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 63       Julie Honour & Adam Kulesza                                Last 4 digits of account number                           $202.00    $202.00               $0.00
          Priority Creditor's Name
          6720 Colton Blvd.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 64       Julie Kim & Sean Sylvis                                    Last 4 digits of account number                           $505.00   $505.00              $0.00
          Priority Creditor's Name
          4145 Opal St.                                              When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 65       Julie Lanoff & Jonathan Stein                              Last 4 digits of account number                           $575.00   $575.00              $0.00
          Priority Creditor's Name
          488 Fairbanks Ave.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 66       Julie Schulte & Greg Schulte                               Last 4 digits of account number                           $202.00   $202.00              $0.00
          Priority Creditor's Name
          12 Eastwood Ct.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 67       Julie Ziegler                                              Last 4 digits of account number                           $100.00   $100.00              $0.00
          Priority Creditor's Name
          1518 Hampel St.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Justine Giovanello & Nicholas
 68       Giovanello                                                 Last 4 digits of account number                           $103.50   $103.50              $0.00
          Priority Creditor's Name
          4 Corliss Dr.                                              When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 69       Justine Yang & Ryan Woloshyn                               Last 4 digits of account number                           $202.00   $202.00              $0.00
          Priority Creditor's Name
          5972 Zinn Dr.                                              When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 70       Jyl Boline                                                 Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          31 El Camino Corto                                         When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 71       Ka Ming Lai and Lilian Leung                               Last 4 digits of account number     3302                       $0.00     $0.00              $0.00
          Priority Creditor's Name
          19996 Shadow Creek Cir.                                    When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.4
 72       Kalpesh Joshi & Cindy Nguyen                               Last 4 digits of account number                           $220.00      $220.00              $0.00
          Priority Creditor's Name
          285 Grizzle Peak Blvd.                                     When was the debt incurred?
          Kensington, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 73       Kamala Asher                                               Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          1312 Poe St.                                               When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 74       Karen Chin & Mark Hamers                                   Last 4 digits of account number                           $425.00   $425.00              $0.00
          Priority Creditor's Name
          4632 Fair Ave.                                             When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 75       Karen Famous & George Famous                               Last 4 digits of account number                           $505.00   $505.00              $0.00
          Priority Creditor's Name
          87 Westminster Dr.                                         When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 76       Karen Jurist & Dan Buch                                    Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          5668 Broadway                                              When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Karen Robertson & Michael
 77       Goldenberg                                                 Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          1539 Acton St.                                             When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 78       Karen Sonders & Angie Barta                                Last 4 digits of account number                           $206.29   $206.29              $0.00
          Priority Creditor's Name
          1340 Hermine Ave.                                          When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 79       Karen Triandafyllis & Uri Cohen                            Last 4 digits of account number                         $2,090.00   $2,090.00              $0.00
          Priority Creditor's Name
          576 Cragmont Ave.                                          When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 80       Karen Wei & Kevin Tao                                      Last 4 digits of account number                           $284.06    $284.06               $0.00
          Priority Creditor's Name
          1436 Trestle Glen Rd.                                      When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 81       Karen Wise & Jeff Sammis                                   Last 4 digits of account number                         $1,190.00   $1,190.00              $0.00
          Priority Creditor's Name
          101 Colgett Dr.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4
 82       Karri Wells & Brian Wane                                   Last 4 digits of account number                           $625.00      $625.00              $0.00
          Priority Creditor's Name
          5416 Lawton Ave.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 83       Kartika Aranda & Andrew Aranda                             Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          2736 Pickford Pl.                                          When was the debt incurred?
          Hayward, CA 94541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 84       Kat Di Piazza & Jason Di Piazza                            Last 4 digits of account number                           $240.00      $240.00              $0.00
          Priority Creditor's Name
          6020 Bullard Dr.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 85       Kat Park & Kyle Steinfeld                                  Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          320 Warwick Ave.                                           When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 86       Kate Deyoe & Jonathan Deyoe                                Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          541 Vistamont Ave.                                         When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 87       Kate Owens & Eugene Stacy                                  Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          3043 Broadway #361                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4
 88       Kate Schwass & Chris Schwass                               Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          3821 Greenwood Ave.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 89       Kate Winsor & John Winsor                                  Last 4 digits of account number                           $910.00   $910.00              $0.00
          Priority Creditor's Name
          1359 El Centro Ave.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 90       Kate Woodrow & Alden Woodrow                               Last 4 digits of account number                           $667.60   $667.60              $0.00
          Priority Creditor's Name
          3876 Brighton Ave.                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4      Katherine Caradec & Andre
 91       Caradec                                                    Last 4 digits of account number                         $1,440.00   $1,440.00              $0.00
          Priority Creditor's Name
          5811 Keith Ave.                                            When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Katherine Dharlingue & Michael
 92       Norman                                                     Last 4 digits of account number                           $575.00    $575.00               $0.00
          Priority Creditor's Name
          7765 Hansom Dr.                                            When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 93       Katherine Mason & Ward Stern                               Last 4 digits of account number                           $250.00    $250.00               $0.00
          Priority Creditor's Name
          1140 Addison St.                                           When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.4      Katherine Pinson & Chris
 94       Macolino                                                   Last 4 digits of account number                           $208.89      $208.89              $0.00
          Priority Creditor's Name
          5705 Jordan Ave.                                           When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 95       Kathleen Freitas & Ron Freitas                             Last 4 digits of account number                               $27.50    $27.50              $0.00
          Priority Creditor's Name
          3113 Cedawood Loop                                         When was the debt incurred?
          San Ramon, CA 94582
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 96       Kathryn Brown & Brian Brown                                Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          637 Viona Ave                                              When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.4      Katie Hollenbaugh & Jack
 97       Stoddard                                                   Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          1417 Grant St.                                             When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4      Katrina Journey & Damaune
 98       Journey                                                    Last 4 digits of account number                           $625.00    $625.00               $0.00
          Priority Creditor's Name
          6312 Rocky Point Ct.                                       When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.4
 99       Katrina Kellogg & Mary Fuller                              Last 4 digits of account number                         $1,135.00   $1,135.00              $0.00
          Priority Creditor's Name
          2535 Delmer St.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 00       Kaya Sattava & Cally Martin                                Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          5379 Bryant Ave.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 01       Keith Speers & Maulik Bhansali                             Last 4 digits of account number                           $525.00      $525.00              $0.00
          Priority Creditor's Name
          5230 Shafter Ave.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 02       Kelley Morgan & Michael Earle                              Last 4 digits of account number                               $47.00    $47.00              $0.00
          Priority Creditor's Name
          4752 Mountain Blvd.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 03       Kelly Benson & Tyler Benson                                Last 4 digits of account number                           $103.50      $103.50              $0.00
          Priority Creditor's Name
          63 Miramonte Dr.                                           When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 04       Kelly Kratky & Terry Kratky                                Last 4 digits of account number                           $231.25      $231.25              $0.00
          Priority Creditor's Name
          4 Heartland Ct.                                            When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 05       Kelly Lukrich & Dave Lukrich                               Last 4 digits of account number                               $27.50    $27.50              $0.00
          Priority Creditor's Name
          14 Gary Way                                                When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 06       Kelly Pschirrer & Martin Spizman                           Last 4 digits of account number                           $505.00   $505.00              $0.00
          Priority Creditor's Name
          6176 Valley View Rd.                                       When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 07       Kelly Quinley & Stephen Downs                              Last 4 digits of account number                           $570.00   $570.00              $0.00
          Priority Creditor's Name
          5340 Broadway Terr. #608                                   When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 08       Kelly Shimoda & Neil Harris                                Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          2035 Essex St.                                             When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 09       Kelly Thompson & Mychal Luther                             Last 4 digits of account number                           $480.00       $480.00               $0.00
          Priority Creditor's Name
          166 John St.                                               When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 10       Kelly Tuck & Hunter Tuck                                   Last 4 digits of account number                         $1,147.60      $1,147.60              $0.00
          Priority Creditor's Name
          263 Taurus Ave.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 11       Kelly Virgillito                                           Last 4 digits of account number                               $56.25     $56.25               $0.00
          Priority Creditor's Name
          196 Monte Carlo Way                                        When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 12       Kelsey Lesley & Ken Lesley                                 Last 4 digits of account number                               $57.00    $57.00              $0.00
          Priority Creditor's Name
          124 Mont St. Michel Way                                    When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 13       Kenda Burke & Scott Yundt                                  Last 4 digits of account number                           $129.17      $129.17              $0.00
          Priority Creditor's Name
          1664 Miami Ct.                                             When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 14       Keng Jin Lee & Mike "Yu" Cheng                             Last 4 digits of account number                           $520.00      $520.00              $0.00
          Priority Creditor's Name
          23 Harbord Ct. #2                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 15       Kenneth Lau & Van Wong                                     Last 4 digits of account number                           $187.60    $187.60               $0.00
          Priority Creditor's Name
          6701 Sobrante Rd.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 16       Kerrie Hogan & Bret Hogan                                  Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          6232 Rockwell St.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 17       Kerryn Pincus & Chad Gallagher                             Last 4 digits of account number                         $1,010.00   $1,010.00              $0.00
          Priority Creditor's Name
          5656 Weaver Pl.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 18       Keslie Stewart & Dave Mateer                               Last 4 digits of account number                           $420.00     $420.00              $0.00
          Priority Creditor's Name
          1825 Channing Way                                          When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Kevin Growney & Regina
 19       Growney                                                    Last 4 digits of account number                           $116.00     $116.00              $0.00
          Priority Creditor's Name
          742 27th Ave.                                              When was the debt incurred?
          San Francisco, CA 94121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 20       Kevin Hill and Jenny Des Jarlais                           Last 4 digits of account number     3914                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          16 Elston Ct.                                              When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 21       Kevin McCarthy & Emily Biuso                               Last 4 digits of account number                         $1,710.00      $1,710.00              $0.00
          Priority Creditor's Name
          3306 Herrier St.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 22       Kevin Schaaf & Megumi Schaaf                               Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          2128 Sutter St.                                            When was the debt incurred?
          San Francisco, CA 94115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Kier Van Remoortere & William
 23       Holtz                                                      Last 4 digits of account number                         $1,100.00      $1,100.00              $0.00
          Priority Creditor's Name
          1801 Dwight Way                                            When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 24       Kimberley Gregg & David Fortner                            Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          484 Spruce St.                                             When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 25       Kimberly Diaz & Tony Diaz                                  Last 4 digits of account number                           $187.60    $187.60               $0.00
          Priority Creditor's Name
          6774 Broadway Terrace                                      When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 26       Kimberly Mealins                                           Last 4 digits of account number                         $1,920.00   $1,920.00              $0.00
          Priority Creditor's Name
          19 Camino Del Diablo                                       When was the debt incurred?
          Orinda, CA 94563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5      Kimberly Murphy & Conor
 27       Murphy                                                     Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          14230 Skyline Blvd.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Kimberly Shartsis & Andrea
 28       Lopez                                                      Last 4 digits of account number                           $240.00   $240.00              $0.00
          Priority Creditor's Name
          324 Sea View Ave.                                          When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 29       Kira Goodman & Arik Goodman                                Last 4 digits of account number                           $692.57   $692.57              $0.00
          Priority Creditor's Name
          1374 Holman Rd.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 30       Kit Shum                                                   Last 4 digits of account number                               $85.22    $85.22              $0.00
          Priority Creditor's Name
          303 Ripley Ave. #A                                         When was the debt incurred?
          Richmond, CA 94801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Krista Coupar Piagentini & Nick
 31       Piagenti                                                   Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          170 27th St.                                               When was the debt incurred?
          San Francisco, CA 94121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 32       Kristi Melick & Josh Melick                                Last 4 digits of account number                           $240.00      $240.00              $0.00
          Priority Creditor's Name
          560 Fairbanks Ave.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 33       Kristin Kaplan & Adam Kaplan                               Last 4 digits of account number                         $1,920.00   $1,920.00              $0.00
          Priority Creditor's Name
          2966 Hedge Ct.                                             When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 34       Kristin Kyono & Evan Kyono                                 Last 4 digits of account number                           $860.00    $860.00               $0.00
          Priority Creditor's Name
          5557 Lawton Ave.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 35       Kristin Wolfe & Christopher Wolfe                          Last 4 digits of account number                         $1,200.00   $1,200.00              $0.00
          Priority Creditor's Name
          1100 Ashmount Ave.                                         When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5      Kristina Andrews & Allison
 36       Andrews                                                    Last 4 digits of account number                         $1,800.00      $1,800.00              $0.00
          Priority Creditor's Name
          420 Balra Dr.                                              When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 37       Kristine Maing                                             Last 4 digits of account number                           $100.00       $100.00               $0.00
          Priority Creditor's Name
          958 Kingston Ave                                           When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 38       Kristine Sosine & Brian Sosine                             Last 4 digits of account number                               $55.00     $55.00               $0.00
          Priority Creditor's Name
          52 Corte Encanto                                           When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5      Kristy Kirshtner & Patrick
 39       Kirshtner                                                  Last 4 digits of account number                           $315.00     $315.00              $0.00
          Priority Creditor's Name
          7516 Sunkist Dr.                                           When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 40       Kumiko Nguyen & Dave Nguyen                                Last 4 digits of account number                           $218.75     $218.75              $0.00
          Priority Creditor's Name
          101 Angela Ave.                                            When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 41       Labor Commissioner                                         Last 4 digits of account number                               $0.00     $0.00              $0.00
          Priority Creditor's Name
          State of California                                        When was the debt incurred?
          1515 Clay St., Rm. 801
          Oakland, CA 94612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Wages, salaries, and commissions
           Yes                                                                           For Notice Purposes Only




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5      Ladonna Jackson & Deidre
 42       Mitchell                                                   Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          P.O. Box #60327                                            When was the debt incurred?
          Palo Alto, CA 94306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 43       Lara Grisemer & Kent Grisemer                              Last 4 digits of account number                           $570.00    $570.00               $0.00
          Priority Creditor's Name
          6105 Castle Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 44       Lassen Hines & Brian Hinch                                 Last 4 digits of account number                         $1,660.00   $1,660.00              $0.00
          Priority Creditor's Name
          3108 Mabel St                                              When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 45       Latrina Chavez & Mateus Chavez                             Last 4 digits of account number                         $1,250.00   $1,250.00              $0.00
          Priority Creditor's Name
          2204 East 25th St.                                         When was the debt incurred?
          Oakland, CA 94606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 46       Laura Alanis & Justin Alanis                               Last 4 digits of account number                         $1,870.00   $1,870.00              $0.00
          Priority Creditor's Name
          6430 Girvin Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 47       Laura Altieri                                              Last 4 digits of account number                           $520.00    $520.00               $0.00
          Priority Creditor's Name
          2514 Buena Vista Way                                       When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 48       Laura Arreola & Liam Beesley                               Last 4 digits of account number                           $880.00    $880.00               $0.00
          Priority Creditor's Name
          154 Maiden Ln.                                             When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Laura Bozzolo & Kristopher
 49       Campbell                                                   Last 4 digits of account number                         $1,820.00   $1,820.00              $0.00
          Priority Creditor's Name
          4035 Laurel Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 50       Laura Savage & Brian Savage                                Last 4 digits of account number                           $175.00    $175.00               $0.00
          Priority Creditor's Name
          90 Heartland St.                                           When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 51       Laura Sheckler & Crow Cianciola                            Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          519 Ohio St.                                               When was the debt incurred?
          Vallejo, CA 94590
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 52       Laura Simon                                                Last 4 digits of account number                           $568.12   $568.12              $0.00
          Priority Creditor's Name
          1086 Alcatraz Ave.                                         When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Lauren Drobocky & Nick
 53       Drobocky                                                   Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          11 Shetland Ct.                                            When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 54       Lauren Dutra & Anthony Dutra                               Last 4 digits of account number                         $2,205.00   $2,205.00              $0.00
          Priority Creditor's Name
          1636 La Loma Ave.                                          When was the debt incurred?
          Berkeley, CA 94709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Lauren Hartman & Douglas
 55       Hartman                                                    Last 4 digits of account number                           $240.00    $240.00               $0.00
          Priority Creditor's Name
          110 Palm Dr.                                               When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 56       Lauren Konopka & Ben Haid                                  Last 4 digits of account number                         $1,110.00   $1,110.00              $0.00
          Priority Creditor's Name
          4309 Park Blvd.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 57       Lauren Lee & David Lee                                     Last 4 digits of account number                           $207.00   $207.00              $0.00
          Priority Creditor's Name
          116 Corliss Dr.                                            When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Lauren Lockwood & Jason
 58       Lockwood                                                   Last 4 digits of account number                           $187.60   $187.60              $0.00
          Priority Creditor's Name
          6718 Pinehaven Rd.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 59       Lauren Lyon & Nathan Lyon                                  Last 4 digits of account number                           $206.29   $206.29              $0.00
          Priority Creditor's Name
          84 Margaret Dr.                                            When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 60       Lauren Temme & Karsten Temme                               Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          6015 La Salle Ave.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 61       Lauren Wiener                                              Last 4 digits of account number                         $1,010.00   $1,010.00              $0.00
          Priority Creditor's Name
          1725 Sonoma Ave.                                           When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 62       Laurence "Lance" Stone                                     Last 4 digits of account number                           $168.75    $168.75               $0.00
          Priority Creditor's Name
          4012 Sugar Maple Dr.                                       When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.5      Laurie Pecoraro & Daniel
 63       Pecoraro                                                   Last 4 digits of account number                           $625.00   $625.00              $0.00
          Priority Creditor's Name
          5964 Merriewood Dr.                                        When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 64       Laurin Asdal & John Perry                                  Last 4 digits of account number                           $520.00   $520.00              $0.00
          Priority Creditor's Name
          4627 Brookdale Ave.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 65       Lawrence Sutten & Anya Shapina                             Last 4 digits of account number                           $570.00   $570.00              $0.00
          Priority Creditor's Name
          2974 Burdeck Dr.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.5
 66       Lawton Eng & Quin Wu                                       Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          3301 Morcom Ave.                                           When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 67       Leah Nastro                                                Last 4 digits of account number                           $175.00      $175.00              $0.00
          Priority Creditor's Name
          45 Panorama Ct.                                            When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Leah Schwartz & Michael
 68       Schwartz                                                   Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          365 61st St.                                               When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.5
 69       Leigh Anne Gray & Liam Gray                                Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          830 Haight Ave.                                            When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 70       Leslie Carballo & Ryan Teed                                Last 4 digits of account number                           $194.44      $194.44              $0.00
          Priority Creditor's Name
          1668 Saint David Dr.                                       When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 71       Leslie Chang & Ian Cooper                                  Last 4 digits of account number                           $600.00      $600.00              $0.00
          Priority Creditor's Name
          4200 Lincoln Ave.                                          When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.5
 72       Leslie Sullivan & Brian Sullivan                           Last 4 digits of account number                           $545.00   $545.00              $0.00
          Priority Creditor's Name
          2015 Drake Dr.                                             When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 73       Leslie Yoshimura & Seth Hubbert                            Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          3125 Frye St.                                              When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Leticia Pereira & Joseph
 74       Casciana                                                   Last 4 digits of account number                           $202.00   $202.00              $0.00
          Priority Creditor's Name
          2811 Regatta Dr.                                           When was the debt incurred?
          Oakland, CA 94601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.5
 75       Lidia Manea & Ovidiv Manea                                 Last 4 digits of account number                           $218.75   $218.75              $0.00
          Priority Creditor's Name
          237 Angela Ave.                                            When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 76       Lillian Kim & Samuel Kim                                   Last 4 digits of account number                           $525.00   $525.00              $0.00
          Priority Creditor's Name
          1141 Verdemar Dr.                                          When was the debt incurred?
          Alameda, CA 94502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 77       Linda Chen & Eugene Wong                                   Last 4 digits of account number                           $284.06   $284.06              $0.00
          Priority Creditor's Name
          1536 Sacramento St.                                        When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 78       Linda Nguyen & Robert Anderson                             Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          15036 Thoits St.                                           When was the debt incurred?
          San Leandro, CA 94579
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 79       Linda Niazi & Ali Niazi                                    Last 4 digits of account number                           $168.75   $168.75              $0.00
          Priority Creditor's Name
          724 Westbrook Ct.                                          When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Linda Wilbrecht & Chris
 80       Hoofnagle                                                  Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          2625 Alcatraz Ave. #343                                    When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 81       Lindsay Jurow                                              Last 4 digits of account number                           $103.56   $103.56              $0.00
          Priority Creditor's Name
          1250 Newell Ave., #200                                     When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Lindsay Kraybill & Aaron
 82       Koressel                                                   Last 4 digits of account number                           $910.00   $910.00              $0.00
          Priority Creditor's Name
          502 Norvell St.                                            When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Lindsay Pleasant & Drew
 83       Pleasant                                                   Last 4 digits of account number                           $206.29   $206.29              $0.00
          Priority Creditor's Name
          1107 Westmoreland Cir.                                     When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 84       Lindsay Weakley & Eric Weakley                             Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          13514 Campus Dr.                                           When was the debt incurred?
          Oakland, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 85       Linn and Magnus Hillestad                                  Last 4 digits of account number                           $240.00    $240.00               $0.00
          Priority Creditor's Name
          c/o Sanity                                                 When was the debt incurred?
          2345 Yale St.
          Palo Alto, CA 94306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 86       Lisa Gies & Daniel Gies                                    Last 4 digits of account number                         $5,400.00   $3,025.00        $2,375.00
          Priority Creditor's Name
          1508 Sonoma Ave.                                           When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 87       Lisa Hellam & Aaron Hellam                                 Last 4 digits of account number                         $2,800.00   $2,800.00              $0.00
          Priority Creditor's Name
          23 Carr Dr.                                                When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 88       Lisa Ivancich & Warren Strudwick                           Last 4 digits of account number                           $202.00    $202.00               $0.00
          Priority Creditor's Name
          5852 McAndrew Dr.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 89       Lisa Jackson & Frank Slayne                                Last 4 digits of account number                           $129.17    $129.17               $0.00
          Priority Creditor's Name
          997 55th St.                                               When was the debt incurred?
          Emeryville, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 90       Lisa Nessan & Chad Augur                                   Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          2027 Damuth St.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5      Lisa Schultz & John Jason
 91       Schultz                                                    Last 4 digits of account number                         $1,040.00   $1,040.00              $0.00
          Priority Creditor's Name
          910 60th St.                                               When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 92       Lisa Taylor & Joseph Taylor                                Last 4 digits of account number                           $240.00    $240.00               $0.00
          Priority Creditor's Name
          1063 Ranleigh Way                                          When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 93       Lisa Tsuchiya & Nathan Tsuchiva                            Last 4 digits of account number                         $1,200.00   $1,200.00              $0.00
          Priority Creditor's Name
          3892 Rhoda Ave.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 94       Lisa Young & Brian Zheng                                   Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          1359 Maria Ave.                                            When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 95       Lissette Merman & Jason Merman                             Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          9 Mission Springs                                          When was the debt incurred?
          Hercules, CA 94547
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 96       Liz Clark & Bryant Palomo                                  Last 4 digits of account number                           $625.00       $625.00               $0.00
          Priority Creditor's Name
          6038 Fairlane Dr.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 97       Liz Ly & Hung Ly                                           Last 4 digits of account number                         $1,040.00      $1,040.00              $0.00
          Priority Creditor's Name
          3449 Crane Way                                             When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.5
 98       Llia Arieta & Tony Arieta                                  Last 4 digits of account number                               $57.00     $57.00               $0.00
          Priority Creditor's Name
          301 Morello Ave.                                           When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.5
 99       Lome Aseron & Janine Macbeth                               Last 4 digits of account number                         $1,720.00   $1,720.00              $0.00
          Priority Creditor's Name
          3059 Frye St.                                              When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 00       Loren Olson & Alison Maddeford                             Last 4 digits of account number                           $417.78    $417.78               $0.00
          Priority Creditor's Name
          6466 Outlook Ave.                                          When was the debt incurred?
          Oakland, CA 94505
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 01       Lori Riga & Ray Riga                                       Last 4 digits of account number                           $100.00    $100.00               $0.00
          Priority Creditor's Name
          4018 Brown Ave.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.6
 02       Lorien Fono & Richard Fromm                                Last 4 digits of account number                         $1,920.00   $1,920.00              $0.00
          Priority Creditor's Name
          1815 Delaware St.                                          When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 03       Louise Palmer & Jason Rubin                                Last 4 digits of account number                           $115.00    $115.00               $0.00
          Priority Creditor's Name
          45 Whitaker Ave.                                           When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Luan Nio & Bart Haverkorn Van
 04       Rijsewijk                                                  Last 4 digits of account number                           $600.00    $600.00               $0.00
          Priority Creditor's Name
          1603 Derby St.                                             When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 05       Lucy Chien & Don Au-Yeung                                  Last 4 digits of account number                           $860.00       $860.00               $0.00
          Priority Creditor's Name
          19923 Crow Creek Rd.                                       When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 06       Lwam Abraha & Daniel Wolday                                Last 4 digits of account number                               $27.50     $27.50               $0.00
          Priority Creditor's Name
          1101 San Ramon Valley Blvd.                                When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 07       Lydia Stacey & Oliver Stacey                               Last 4 digits of account number                         $1,200.00      $1,200.00              $0.00
          Priority Creditor's Name
          793 52nd St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Mackenzie Moore & Lucia
 08       Brosgart                                                   Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          2438 Rossevelt Ave.                                        When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 09       Macy Cornell & Ron Cornell                                 Last 4 digits of account number                         $1,920.00   $1,920.00              $0.00
          Priority Creditor's Name
          6475 Colton Blvd.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 10       Madeleine Buck & J.R. Spiegel                              Last 4 digits of account number                           $530.00    $530.00               $0.00
          Priority Creditor's Name
          126 Glenwood Glade                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 11       Magda Cooney & Kevin Cooney                                Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          4312 Anderson Ave.                                         When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 12       Maggie Mesa & Melanie Mesa                                 Last 4 digits of account number                           $212.57      $212.57              $0.00
          Priority Creditor's Name
          1165 Holman Rd.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 13       Maggie Wang & Michael Nguyen                               Last 4 digits of account number                           $120.00      $120.00              $0.00
          Priority Creditor's Name
          5 Rich Acres Rd.                                           When was the debt incurred?
          Orinda, CA 94563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Maile Christensen & Jon
 14       Christensen                                                Last 4 digits of account number                         $1,440.00      $1,440.00              $0.00
          Priority Creditor's Name
          208 Ashbury Ave.                                           When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 15       Maki Kasai & Aaron Potash                                  Last 4 digits of account number                               $50.00     $50.00               $0.00
          Priority Creditor's Name
          3729 Wisconsin St.                                         When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 16       Maneesh Singh & Dalbir Singh                               Last 4 digits of account number                         $1,140.00      $1,140.00              $0.00
          Priority Creditor's Name
          1001 Trestle Glen Rd.                                      When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 17       Marci Donohoe & John Donohoe                               Last 4 digits of account number                           $420.00      $420.00              $0.00
          Priority Creditor's Name
          3546 Wilson Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 18       Marcia Lam                                                 Last 4 digits of account number                               $75.00    $75.00              $0.00
          Priority Creditor's Name
          478 Crescent St.                                           When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Marcos Sanchez & Jessica
 19       Polsky-Sanchez                                             Last 4 digits of account number                           $525.00      $525.00              $0.00
          Priority Creditor's Name
          5351 Lawton Ave.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Marcy Spaulding & Andrew
 20       Kercher                                                    Last 4 digits of account number                           $430.00    $430.00               $0.00
          Priority Creditor's Name
          3045 Frye St.                                              When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 21       Margaret Piskitel & Noah Kravitz                           Last 4 digits of account number                         $1,660.00   $1,660.00              $0.00
          Priority Creditor's Name
          1872 Leimert Blvd.                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 22       Maria Culcasi & Jeff Ettenhofer                            Last 4 digits of account number                           $595.00    $595.00               $0.00
          Priority Creditor's Name
          5156 Coach Dr.                                             When was the debt incurred?
          Richmond, CA 94803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Maria Isabel Mejia & Kent
 23       Krizman                                                    Last 4 digits of account number                           $168.75      $168.75              $0.00
          Priority Creditor's Name
          5155 Blackhawk Dr.                                         When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 24       Maria Powers                                               Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          1788 Clay St. #609                                         When was the debt incurred?
          San Francisco, CA 94109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 25       Maria Powers & Jed Powers                                  Last 4 digits of account number                           $404.00      $404.00              $0.00
          Priority Creditor's Name
          18 North Cir.                                              When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 26       Maria Zapata & David North                                 Last 4 digits of account number                           $337.50      $337.50              $0.00
          Priority Creditor's Name
          442 Bengali Ct.                                            When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Mariana Bissonnette & Daniel
 27       Bissonnette                                                Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          3470 Pierson St.                                           When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Maribel De La Torre & Oscar
 28       Chora                                                      Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          3620 Fillmore St. #204                                     When was the debt incurred?
          San Francisco, CA 94123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.6
 29       Marika Rice                                                Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          P.O. Box 493                                               When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 30       Mariko Farrell & Devin Farrell                             Last 4 digits of account number                           $985.00      $985.00              $0.00
          Priority Creditor's Name
          468 Alcatraz Ave.                                          When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Marilee Nguyen & Daonald
 31       Nguyen                                                     Last 4 digits of account number                           $609.17      $609.17              $0.00
          Priority Creditor's Name
          3918 Greenwood Ave                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.6
 32       Marin Moran & Brian Moran                                  Last 4 digits of account number                           $208.89      $208.89              $0.00
          Priority Creditor's Name
          4231 Montgomery St. #105                                   When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Marina Grondona & Bahador
 33       Grondona                                                   Last 4 digits of account number                           $129.00      $129.00              $0.00
          Priority Creditor's Name
          1310 Alma Ave. #C210                                       When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 34       Marina Oseneko & Alex Oseneko                              Last 4 digits of account number                               $53.40    $53.40              $0.00
          Priority Creditor's Name
          5966 Greenridge Rd.                                        When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 35       Marina Stofsky                                             Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          181 Sutherland Dr.                                         When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 36       Marisa Gardner & Varum Saxena                              Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          42 Estrella Ave.                                           When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 37       Marissa Hereso & Rob Kvoriak                               Last 4 digits of account number                           $430.00      $430.00              $0.00
          Priority Creditor's Name
          1033 Rose Ave.                                             When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 38       Marit Sonstelie & Maria Echaniz                            Last 4 digits of account number                           $860.00    $860.00               $0.00
          Priority Creditor's Name
          3828 La Cresta Ave.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 39       Mark Bridge & Amy Bridge                                   Last 4 digits of account number                           $206.29    $206.29               $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 40       Mark Dubois & Hazel Belbis                                 Last 4 digits of account number                         $1,190.00   $1,190.00              $0.00
          Priority Creditor's Name
          5319 Broadway Ter. #103                                    When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 41       Mark Kushner & Chelsea Kushner                             Last 4 digits of account number                           $420.00    $420.00               $0.00
          Priority Creditor's Name
          3817 Forest Hill Ave                                       When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 42       Mark Raycraft & James Raycraft                             Last 4 digits of account number                         $1,100.00   $1,100.00              $0.00
          Priority Creditor's Name
          2368 East 22nd St.                                         When was the debt incurred?
          Oakland, CA 94601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 43       Mark Unter & Rebecca Unter                                 Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          4163 Park Blvd.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Marlisa Mayberry & Matt
 44       Mayberry                                                   Last 4 digits of account number                           $206.29    $206.29               $0.00
          Priority Creditor's Name
          11 Brookdale Ct.                                           When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Marta Mcleod & Angela
 45       Remington                                                  Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          2214 Browning St.                                          When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 46       Martine Schmidt-Poolman                                    Last 4 digits of account number                         $1,365.00   $1,365.00              $0.00
          Priority Creditor's Name
          2619 Ellsworth St.                                         When was the debt incurred?
          Berkeley, CA 94704
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 47       Maryam Boller & David Boller                               Last 4 digits of account number                           $206.29    $206.29               $0.00
          Priority Creditor's Name
          117 Meadow Crest Ln.                                       When was the debt incurred?
          Walnut Creek, CA 94595
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 48       Maryann Sargent & Steve Solnit                             Last 4 digits of account number                           $125.00    $125.00               $0.00
          Priority Creditor's Name
          2905 Deakin St.                                            When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Maryrose Dunton & Chris
 49       McGuire                                                    Last 4 digits of account number                         $1,440.00   $1,440.00              $0.00
          Priority Creditor's Name
          6300 Estates Dr.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.6
 50       Masha Brown & Christian Brown                              Last 4 digits of account number                         $1,642.00      $1,642.00              $0.00
          Priority Creditor's Name
          856 Blair Ave.                                             When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 51       Massuda Atta & Mostafa Wali                                Last 4 digits of account number                           $218.75       $218.75               $0.00
          Priority Creditor's Name
          1328 Laverock Ln.                                          When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 52       Matt Cowger & Laura Cowger                                 Last 4 digits of account number                               $50.00     $50.00               $0.00
          Priority Creditor's Name
          6616 Saroni Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Matt Derrigo & Kathy
 53       Hale-Derrigo                                               Last 4 digits of account number                           $240.00   $240.00              $0.00
          Priority Creditor's Name
          171 Oak Rd.                                                When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 54       Matt Pasternack & Rebecca Falik                            Last 4 digits of account number                           $425.00   $425.00              $0.00
          Priority Creditor's Name
          85 Norman Ln.                                              When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Matthew French & Anastasia
 55       French                                                     Last 4 digits of account number                           $505.00   $505.00              $0.00
          Priority Creditor's Name
          2032 Clemens Rd.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.6
 56       Matthew Kovner & Yael Friedkin                             Last 4 digits of account number                           $935.00   $935.00              $0.00
          Priority Creditor's Name
          93 Cambrian Ave.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Matthew Lambert & Adeline
 57       Lambert                                                    Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          3580 Lincoln Ave.                                          When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Matthew Panosellis & Georgia
 58       Panosellis                                                 Last 4 digits of account number                           $150.00   $150.00              $0.00
          Priority Creditor's Name
          7792 Hansom Dr.                                            When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.6
 59       Matthew Potts & Celine Pallud                              Last 4 digits of account number                           $505.00   $505.00              $0.00
          Priority Creditor's Name
          2885 Shasta Rd.                                            When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 60       Matthew White & Sarah Holzman                              Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          1476 Greenwood Ter #A                                      When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 61       Maureen Martin & Nat Hallinan                              Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          1071 Stannage Ave.                                         When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Maureen Mcfadden & Vicent
 62       Yagazie                                                    Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          3905 Clayton Rd. #32                                       When was the debt incurred?
          Concord, CA 94521
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Maya Levy Meruk & Tal Levy
 63       Meruk                                                      Last 4 digits of account number                           $240.00    $240.00               $0.00
          Priority Creditor's Name
          2972 San Carlos Dr.                                        When was the debt incurred?
          Walnut Creek, CA 94598
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 64       Meg Kunchai & Pall Kunchai                                 Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          1627 Russsell St.                                          When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.6
 65       Megan Cody & Nathan Parsley                                Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          6145 Fremont St.                                           When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 66       Megan Cohn & David Cohn                                    Last 4 digits of account number                         $1,710.00   $1,710.00              $0.00
          Priority Creditor's Name
          738 Wildcat Canyon Rd.                                     When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 67       Megan Low & Geoffrey Triplett                              Last 4 digits of account number                           $129.17    $129.17               $0.00
          Priority Creditor's Name
          892 54th St.                                               When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.6
 68       Megan Mackenzie & Will Rulifson                            Last 4 digits of account number                               $57.00    $57.00              $0.00
          Priority Creditor's Name
          94 Elder Dr.                                               When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 69       Megan Slater & Nate Slater                                 Last 4 digits of account number                           $510.00      $510.00              $0.00
          Priority Creditor's Name
          1271 Washington Ave. #717                                  When was the debt incurred?
          San Leandro, CA 94577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Meghan Mannion Gray & Sean
 70       Gray                                                       Last 4 digits of account number                           $100.00      $100.00              $0.00
          Priority Creditor's Name
          1352 Martino Rd.                                           When was the debt incurred?
          Lafayette, CA 94549
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 71       Meghan Mitman & Xander Mitman                              Last 4 digits of account number                           $960.00      $960.00              $0.00
          Priority Creditor's Name
          559 Merriewood Dr.                                         When was the debt incurred?
          Lafayette, CA 94549
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Melanie Marco-Mendoza & Norbe
 72       Mendoza                                                    Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          5694 Greenridge Rd.                                        When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 73       Melinda Kramer & Eric Fenster                              Last 4 digits of account number                           $985.00      $985.00              $0.00
          Priority Creditor's Name
          278 Lake Dr.                                               When was the debt incurred?
          Kensington, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 74       Melissa Clark & Kevin Clark                                Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          53 Cambrian Ave.                                           When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Melissa Garden Streblow & Brad
 75       Kintzer                                                    Last 4 digits of account number                           $129.17   $129.17              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 76       Melissa Harris                                             Last 4 digits of account number                           $505.00   $505.00              $0.00
          Priority Creditor's Name
          7085 Exeter Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Melissa Isenburg & Patrick
 77       Isenburg                                                   Last 4 digits of account number                           $129.00      $129.00              $0.00
          Priority Creditor's Name
          130 Sequoia Ave.                                           When was the debt incurred?
          Walnut Creek, CA 94595
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 78       Melissa Mann & David Mann                                  Last 4 digits of account number                           $218.75      $218.75              $0.00
          Priority Creditor's Name
          62 Pleasant Knoll Ct.                                      When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 79       Melissa Moore                                              Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Melissa Schneider & Derrick
 80       Schneider                                                  Last 4 digits of account number                           $430.00   $430.00              $0.00
          Priority Creditor's Name
          1357 Channing Way                                          When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Meredith Broome & Michael
 81       Lasevich                                                   Last 4 digits of account number                           $425.00   $425.00              $0.00
          Priority Creditor's Name
          4314 Shafter Ave.                                          When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Meredith Judy & Brendan
 82       Mullaney                                                   Last 4 digits of account number                           $910.00   $910.00              $0.00
          Priority Creditor's Name
          1621 Sacramento St.                                        When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 83       Mia Perkins & Daniel Perkins                               Last 4 digits of account number                         $1,735.00   $1,735.00              $0.00
          Priority Creditor's Name
          1 Melvin Ct.                                               When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 84       Michael Lim & Vanessa Lim                                  Last 4 digits of account number                           $985.00    $985.00               $0.00
          Priority Creditor's Name
          823 Cornell Ave.                                           When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 85       Michael Manfre & Kristen Manfre                            Last 4 digits of account number                           $337.50    $337.50               $0.00
          Priority Creditor's Name
          26 Baltana Pl.                                             When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.6
 86       Michael Penn & Jocelyne Penn                               Last 4 digits of account number                           $202.00    $202.00               $0.00
          Priority Creditor's Name
          1249 66th St.                                              When was the debt incurred?
          Emeryville, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Michael Reymann & Dianne
 87       Breznikar                                                  Last 4 digits of account number                         $1,200.00   $1,200.00              $0.00
          Priority Creditor's Name
          1664 138th Ave.                                            When was the debt incurred?
          San Leandro, CA 94578
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 88       Michael Romito & Leah Romito                               Last 4 digits of account number                           $187.60    $187.60               $0.00
          Priority Creditor's Name
          5565 Florence Terrace                                      When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 89       Michael Stearns & Robin Stearns                            Last 4 digits of account number                           $240.00   $240.00              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 90       Michaela Straznicka & Ray Rassai                           Last 4 digits of account number                           $258.00   $258.00              $0.00
          Priority Creditor's Name
          288 Castle Crest Rd.                                       When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 91       Michele Fletcher & Joe Fletcher                            Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          2082 Drake Dr.                                             When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6      Michele Reinhart & James
 92       Reinhart                                                   Last 4 digits of account number                           $505.00      $505.00              $0.00
          Priority Creditor's Name
          6001 Margarido Dr.                                         When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 93       Michelle Abeyta & Joel Pool                                Last 4 digits of account number                           $985.00      $985.00              $0.00
          Priority Creditor's Name
          3235 Brunell Dr.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 94       Michelle Borjal & James Wilson                             Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          109 Colgett Dr.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 95       Michelle Collins & BJ Barrow                               Last 4 digits of account number                           $667.00      $667.00              $0.00
          Priority Creditor's Name
          6165 Valley View Rd.                                       When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6      Michelle Jesperson & Walter
 96       Tuholski                                                   Last 4 digits of account number                           $570.00      $570.00              $0.00
          Priority Creditor's Name
          1345 El Centro Ave.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.6
 97       Michelle Lamm & Chris Lamm                                 Last 4 digits of account number                               $57.00    $57.00              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.6
 98       Michelle Levine & Adam Levine                              Last 4 digits of account number     4456                      $0.00      $0.00               $0.00
          Priority Creditor's Name
          3461 Cashmere St.                                          When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.6      Michelle Meyers & David
 99       Adelberg                                                   Last 4 digits of account number                         $1,220.00     $1,220.00              $0.00
          Priority Creditor's Name
          83 Muth Dr.                                                When was the debt incurred?
          Orinda, CA 94563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 00       Michelle Quan & Kenny Quan                                 Last 4 digits of account number                           $168.75      $168.75               $0.00
          Priority Creditor's Name
          1179 Trowbridge Way                                        When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7      Michelle Sousa Akerstein & Ari
 01       Akerstein                                                  Last 4 digits of account number                           $480.00      $480.00               $0.00
          Priority Creditor's Name
          4250a 25th St.                                             When was the debt incurred?
          San Francisco, CA 94114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 02       Michelle Young & Kevin Young                               Last 4 digits of account number                         $1,100.00     $1,100.00              $0.00
          Priority Creditor's Name
          1279A Grizzly Peak Blvd.                                   When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Mike Paunovich and Rebecca
 03       Faulkner                                                   Last 4 digits of account number     7066                      $0.00      $0.00               $0.00
          Priority Creditor's Name
          3830 Forest Hill Ave.                                      When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only




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 2.7
 04       Minda Berbeco & Will Fertman                               Last 4 digits of account number                         $4,470.00   $3,025.00        $1,445.00
          Priority Creditor's Name
          2801 Stanton St.                                           When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 05       Ming Du                                                    Last 4 digits of account number                           $175.00    $175.00               $0.00
          Priority Creditor's Name
          4080 Westminster Pl.                                       When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 06       Miriam Lundy & Chris Ward                                  Last 4 digits of account number                           $510.00    $510.00               $0.00
          Priority Creditor's Name
          18 Cowper Ave.                                             When was the debt incurred?
          Kensington, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 07       Mishan Wroe                                                Last 4 digits of account number                           $600.00    $600.00               $0.00
          Priority Creditor's Name
          5340 Broadway Terrace Apt. #406                            When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 08       Missy Dawson & Kyle Dawson                                 Last 4 digits of account number                         $1,920.00   $1,920.00              $0.00
          Priority Creditor's Name
          108 Virginia St.                                           When was the debt incurred?
          Salt Lake City, UT 84103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 09       Missy Purquiss                                             Last 4 digits of account number                           $168.75    $168.75               $0.00
          Priority Creditor's Name
          224 Chatham Ter.                                           When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 10       Miyuki Boyle & Brandon Boyle                               Last 4 digits of account number                           $206.29    $206.29               $0.00
          Priority Creditor's Name
          1103 Glengarry Dr.                                         When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 11       Mohan Sarovar & Varada Sarovar                             Last 4 digits of account number                           $570.00    $570.00               $0.00
          Priority Creditor's Name
          521 Santa Fe Ave.                                          When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 12       Mollie Boero & Robert Mathews                              Last 4 digits of account number                         $2,580.00   $2,580.00              $0.00
          Priority Creditor's Name
          1060 Keith Ave.                                            When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 13       Molly Campbell & Jeff Anderle                              Last 4 digits of account number                         $1,140.00     $1,140.00              $0.00
          Priority Creditor's Name
          5429 Brookdale Ave.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 14       Molly Dickens                                              Last 4 digits of account number     5626                      $0.00      $0.00               $0.00
          Priority Creditor's Name
          5707 Ayala Ave.                                            When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.7
 15       Molly Gilligan & David Gilligan                            Last 4 digits of account number                           $168.75      $168.75               $0.00
          Priority Creditor's Name
          759 Bourne Ct.                                             When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7      Molly Khammanivong & Kai
 16       Khammanivong                                               Last 4 digits of account number                         $1,010.00      $1,010.00              $0.00
          Priority Creditor's Name
          2418 Shannon Ln.                                           When was the debt incurred?
          Walnut Creek, CA 94598
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 17       Monica Coniglio                                            Last 4 digits of account number                               $81.00     $81.00               $0.00
          Priority Creditor's Name
          8104 Alhambra Valley Rd.                                   When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 18       Monica Piniella & Dan Piniella                             Last 4 digits of account number                           $240.00       $240.00               $0.00
          Priority Creditor's Name
          135 Arbor Dr.                                              When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 19       Monica Smith & Scott Smith                                 Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          1721 Mcgee Ave.                                            When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Monika Stevens & Joshua
 20       Stevens                                                    Last 4 digits of account number                           $555.00   $555.00              $0.00
          Priority Creditor's Name
          101 Alta Rd.                                               When was the debt incurred?
          Oakland, CA 94518
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Morgan Young & Cameron
 21       Balliett                                                   Last 4 digits of account number                           $595.00   $595.00              $0.00
          Priority Creditor's Name
          1700 Indian Way                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7      Nadine Gordenev & Brian
 22       Gordenev                                                   Last 4 digits of account number                               $81.00    $81.00              $0.00
          Priority Creditor's Name
          6728 Corte Seganda                                         When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Nadine Takvorian & Brent Van
 23       Gunten                                                     Last 4 digits of account number                           $880.00      $880.00              $0.00
          Priority Creditor's Name
          1639 Francisco St.                                         When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 24       Nalini Kotamraju                                           Last 4 digits of account number                           $425.00      $425.00              $0.00
          Priority Creditor's Name
          1555 Lakeside Dr, #192                                     When was the debt incurred?
          Oakland, CA 94612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 25       Nana Cho and David Seo                                     Last 4 digits of account number     2630                      $0.00      $0.00               $0.00
          Priority Creditor's Name
          76 Ashbrook Pl.                                            When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.7      Nancy Beninati-Carter & Bruce
 26       Carter                                                     Last 4 digits of account number                         $1,040.00     $1,040.00              $0.00
          Priority Creditor's Name
          321 Sheridan Ave.                                          When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Nancy Kaufman-Cohn & Eric
 27       Kaufman-Cohen                                              Last 4 digits of account number                           $430.00      $430.00               $0.00
          Priority Creditor's Name
          458 65th St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 28       Nancy Leung & Nemo Gould                                   Last 4 digits of account number                         $1,502.57   $1,502.57              $0.00
          Priority Creditor's Name
          958 Underhills Rd.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 29       Nancy Villarreal & John Villarreal                         Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          17060 High Pine Way                                        When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 30       Nannette Mitchell & Chris Pew                              Last 4 digits of account number                           $625.00    $625.00               $0.00
          Priority Creditor's Name
          4322 Bridgeview Dr.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 31       Naomi Igra & Matt Clausen                                  Last 4 digits of account number                           $935.00   $935.00              $0.00
          Priority Creditor's Name
          1218 Carlotta Ave.                                         When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 32       Nargis Kassam & Altaf Kassam                               Last 4 digits of account number                           $430.00   $430.00              $0.00
          Priority Creditor's Name
          4440 Clarewood Dr.                                         When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Nathaniel Popper & Elissa
 33       Strauss                                                    Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          2135 Funston Pl.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 34       Navya Reddy & JK Werner                                    Last 4 digits of account number                         $1,045.00   $1,045.00              $0.00
          Priority Creditor's Name
          22 Muth Dr.                                                When was the debt incurred?
          Orinda, CA 94563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 35       Neesha Dave & Sameer Samat                                 Last 4 digits of account number                           $535.00    $535.00               $0.00
          Priority Creditor's Name
          3 Maxwelton Rd.                                            When was the debt incurred?
          Piedmont, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 36       Neeta Dhawan & Rich Maiers                                 Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          5065 Kearney Ave                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 37       Neha Desai & Nirav Pandya                                  Last 4 digits of account number                         $1,515.00   $1,515.00              $0.00
          Priority Creditor's Name
          1301 Mountain Blvd.                                        When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Nereida Bravo & Fernando
 38       Maldonado                                                  Last 4 digits of account number                           $290.00    $290.00               $0.00
          Priority Creditor's Name
          9650 Coral Rd.                                             When was the debt incurred?
          Oakland, CA 94603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 39       Nicholas Fynn & Kelly Oliver                               Last 4 digits of account number                           $505.00    $505.00               $0.00
          Priority Creditor's Name
          838 61st St.                                               When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 40       Nick Griffin & Amie Fishman                                Last 4 digits of account number                         $1,800.00   $1,800.00              $0.00
          Priority Creditor's Name
          3727 Elston Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 41       Nick Resnick & Kelly Resnick                               Last 4 digits of account number                         $1,190.00   $1,190.00              $0.00
          Priority Creditor's Name
          4146 Whittle Ave.                                          When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 42       Nicki Brito & Arthur Brito                                 Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          2510 Buena Vista Ave.                                      When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 43       Nicola Curtin & Ashley Tessier                             Last 4 digits of account number                           $600.00      $600.00              $0.00
          Priority Creditor's Name
          4317 Townsend Ave.                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 44       Nicola Slavin & Peter Slavin                               Last 4 digits of account number                           $103.50      $103.50              $0.00
          Priority Creditor's Name
          93 Miramonte Dr.                                           When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 45       Nicole Giacinti & Mike Giacinti                            Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          349 Dellbrook Ave.                                         When was the debt incurred?
          San Francisco, CA 94131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 46       Nicole Heeren & David Heeren                               Last 4 digits of account number                         $4,160.00      $3,025.00        $1,135.00
          Priority Creditor's Name
          424 Gravatt Dr.                                            When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 47       Nicole O'Shea & Brian O'Shea                               Last 4 digits of account number                         $1,710.00      $1,710.00              $0.00
          Priority Creditor's Name
          1850 Woodhaven Way                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 48       Nicole Pierson & Casey Pierson                             Last 4 digits of account number                               $57.00     $57.00               $0.00
          Priority Creditor's Name
          1345 Hull Lane                                             When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 49       Nicole Platt & Cameron Platt                               Last 4 digits of account number                           $880.00       $880.00               $0.00
          Priority Creditor's Name
          690 Calmer Ave.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Nicole Saleta & Jonah
 50       Hendrickson                                                Last 4 digits of account number                         $1,920.00      $1,920.00              $0.00
          Priority Creditor's Name
          4120 Montgomery St.                                        When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 51       Nikki Jong & Todd Touesnard                                Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          1618 Larkin St.                                            When was the debt incurred?
          San Francisco, CA 94109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 52       Nikki Vo & Thien Vo                                        Last 4 digits of account number                         $1,320.00      $1,320.00              $0.00
          Priority Creditor's Name
          613 Via Rialto                                             When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 53       Nina Callahan                                              Last 4 digits of account number                               $51.78     $51.78               $0.00
          Priority Creditor's Name
          4346 Walnut Blvd.                                          When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 54       Nina Goodby & David Michel                                 Last 4 digits of account number                               $50.00     $50.00               $0.00
          Priority Creditor's Name
          6439 Hillegass Ave.                                        When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 55       Nina Patel & Joaquin Pochat                                Last 4 digits of account number                           $860.00    $860.00               $0.00
          Priority Creditor's Name
          1375 Curtis St.                                            When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 56       Nina Wasow & Travis Neal                                   Last 4 digits of account number                           $625.00    $625.00               $0.00
          Priority Creditor's Name
          1491 Cedar St.                                             When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 57       Nina Webster & Mori Tabatabaei                             Last 4 digits of account number                         $1,170.00   $1,170.00              $0.00
          Priority Creditor's Name
          2038 Parker St. #406                                       When was the debt incurred?
          Berkeley, CA 94704
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 58       Niraj Shah & Priya Shah                                    Last 4 digits of account number                           $217.60      $217.60              $0.00
          Priority Creditor's Name
          6140 Mazuela Dr.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 59       Nirlip Syan & Shailinder Singh                             Last 4 digits of account number                               $53.40    $53.40              $0.00
          Priority Creditor's Name
          19282 Heyer Ln.                                            When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 60       Norah Nicholls & Michael Nicholls                          Last 4 digits of account number                           $712.60      $712.60              $0.00
          Priority Creditor's Name
          6464 Estates Dr.                                           When was the debt incurred?
          Piedmont, CA 94622
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 61       Noriko Kurotsu and Jesper Balle                            Last 4 digits of account number     4491                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          474 Taurus Ave.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.7      Odessa Cooper-Legardy &
 62       Rodney Legardy J                                           Last 4 digits of account number                           $570.00     $570.00              $0.00
          Priority Creditor's Name
          405 Ashbury Ave.                                           When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 63       Odin Zackman & Mara Guccione                               Last 4 digits of account number                           $505.00     $505.00              $0.00
          Priority Creditor's Name
          1300 Blake St.                                             When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 64       Ofer Morag & Erin Rosenblatt                               Last 4 digits of account number                           $570.00      $570.00              $0.00
          Priority Creditor's Name
          2437 Potomac St.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Oksana Rapoport & Boris
 65       Rapoport                                                   Last 4 digits of account number                               $53.40    $53.40              $0.00
          Priority Creditor's Name
          20554 Crow Creek                                           When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Olga Sadkova & Dzmitry
 66       Shkuratau                                                  Last 4 digits of account number                           $206.29      $206.29              $0.00
          Priority Creditor's Name
          2105 Youngs Ct.                                            When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7      Oliver Ruebel & Rachel
 67       Lance-Ruebel                                               Last 4 digits of account number                         $1,190.00      $1,190.00              $0.00
          Priority Creditor's Name
          4722 Buckboard Way                                         When was the debt incurred?
          Richmond, CA 94803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Olivia Herscovitch & Matthew
 68       Herscovitch                                                Last 4 digits of account number                               $75.00     $75.00               $0.00
          Priority Creditor's Name
          1600 Tresle Glen Rd.                                       When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 69       Olivia Ma & Sean Kelly                                     Last 4 digits of account number                           $535.00       $535.00               $0.00
          Priority Creditor's Name
          5710 Harbord Dr.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 70       Orlee and Lenny Karpel                                     Last 4 digits of account number     3675                       $0.00     $0.00              $0.00
          Priority Creditor's Name
          1047 Sunnyhills Rd.                                        When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.7      Ozlem Ayduk & Rudy
 71       Mendoza-Denton                                             Last 4 digits of account number                           $455.00      $455.00              $0.00
          Priority Creditor's Name
          806 Curtis St.                                             When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Pallavi Somusetty & Mehul
 72       Thakker                                                    Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          11280 Sun Valley Dr.                                       When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 73       Pamela Cardenas & Marco Garza                              Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          28 Pleasant St.                                            When was the debt incurred?
          San Francisco, CA 94108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Pamela Wyman & Jordaan Van
 74       Romburgh                                                   Last 4 digits of account number                           $900.00      $900.00              $0.00
          Priority Creditor's Name
          3630 Hillview St.                                          When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 75       Paolomee Udani & Hardil Udani                              Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          6033 Chabolyn Ter.                                         When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7
 76       Patricia Johnson                                           Last 4 digits of account number                         $1,090.00      $1,090.00              $0.00
          Priority Creditor's Name
          460 41st St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Patrick Ryan & Stephanie-Adams
 77       Ryan                                                       Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          35 Lopez Ave.                                              When was the debt incurred?
          San Francisco, CA 94116
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 78       Paul Mackinaw & Jen Cha                                    Last 4 digits of account number                         $2,450.00      $2,450.00              $0.00
          Priority Creditor's Name
          1981 Magellan Dr.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.7      Paul Sherreard & Alicia
 79       Blum-Ross                                                  Last 4 digits of account number                         $2,400.00   $2,400.00              $0.00
          Priority Creditor's Name
          4024 Randolph Ave.                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 80       Pengbo Ma & Rui Ding                                       Last 4 digits of account number                           $103.50    $103.50               $0.00
          Priority Creditor's Name
          100 Sandringham Dr. S                                      When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 81       Peter Santina & Lin Chin                                   Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          3221 Madeline St.                                          When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7      Philipos Hailemichael & Selome
 82       Yacob                                                      Last 4 digits of account number                           $260.00      $260.00              $0.00
          Priority Creditor's Name
          250 Sullivan Way                                           When was the debt incurred?
          Hayward, CA 94541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Phing Yamamoto & Ryan
 83       Yamamoto                                                   Last 4 digits of account number                           $202.00      $202.00              $0.00
          Priority Creditor's Name
          5008 Crystal Ridge Ct.                                     When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7      Piers Ouano-Dodd & Christine
 84       Ouano-Dodd                                                 Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          650 Visitacion Ave.                                        When was the debt incurred?
          San Francisco, CA 94134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 85       Ping Lin & Patrick Coleman                                 Last 4 digits of account number                         $1,710.00      $1,710.00              $0.00
          Priority Creditor's Name
          6855 Shepherd Canyon Rd.                                   When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 86       Pon Thoummavong & Karl Kenna                               Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          793 14th Ave.                                              When was the debt incurred?
          San Francisco, CA 94118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 87       Purvi Sanghavi                                             Last 4 digits of account number                               $51.78     $51.78               $0.00
          Priority Creditor's Name
          6363 Christie Ave., Apt. 1423                              When was the debt incurred?
          Emeryville, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 88       Qing Wei & Nathan Curtis                                   Last 4 digits of account number                           $570.00   $570.00              $0.00
          Priority Creditor's Name
          6459 Melville Dr.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 89       Quynh Nguyen & Su Nguyen                                   Last 4 digits of account number                           $260.00   $260.00              $0.00
          Priority Creditor's Name
          21052 San Miguel Ave.                                      When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 90       Rachel Ayfer & Omer Ayfer                                  Last 4 digits of account number                           $985.00   $985.00              $0.00
          Priority Creditor's Name
          10870 Snowdown Ave.                                        When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 91       Rachel Balsley & Anthony Pape                              Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          4325 Adelaide St.                                          When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 92       Rachel Brem & Jack Schonbrun                               Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          1710 Jaynes St.                                            When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 93       Rachel Coen & Timothy Henrich                              Last 4 digits of account number                         $4,050.00   $3,025.00        $1,025.00
          Priority Creditor's Name
          815 Santa Fe Ave.                                          When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7      Rachel Gargano & Fernando
 94       Gargano                                                    Last 4 digits of account number                               $57.00     $57.00               $0.00
          Priority Creditor's Name
          1113 Morell Park Dr.                                       When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 95       Rachel Meyer & Troy Blanchard                              Last 4 digits of account number                         $1,440.00      $1,440.00              $0.00
          Priority Creditor's Name
          2333 Leimert Blvd.                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 96       Rachel Pomerantz & Mike Pitler                             Last 4 digits of account number                         $2,880.00      $2,880.00              $0.00
          Priority Creditor's Name
          56 Camelford Pl.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.7
 97       Rachel Segal & Doron Segal                                 Last 4 digits of account number                         $1,250.00   $1,250.00              $0.00
          Priority Creditor's Name
          2139 Oregon St.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 98       Rachel Steinberg & John Schmid                             Last 4 digits of account number                           $860.00    $860.00               $0.00
          Priority Creditor's Name
          4166 Webster St.                                           When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.7
 99       Rachel Teisch & Gabriel Petlin                             Last 4 digits of account number                         $1,720.00   $1,720.00              $0.00
          Priority Creditor's Name
          4401 Harbord Dr.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:
           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 00       Rachel Tobey & Will Nottingham                             Last 4 digits of account number                           $960.00    $960.00               $0.00
          Priority Creditor's Name
          1008 Grizzly Peak Blvd.                                    When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 01       Rachel True & Josh Cline                                   Last 4 digits of account number                         $1,020.00   $1,020.00              $0.00
          Priority Creditor's Name
          2427 Scenic Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 02       Rae Wannier & Jesse Jablonski                              Last 4 digits of account number                         $3,000.00   $3,000.00              $0.00
          Priority Creditor's Name
          2500 Sacramento St.                                        When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 03       Raja Antony & Panteha Rezai                                Last 4 digits of account number                           $600.00    $600.00               $0.00
          Priority Creditor's Name
          1071 Cragmont Ave.                                         When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Ramona Meyer-Piagentini &
 04       Owen Roberts                                               Last 4 digits of account number                         $2,680.00   $2,680.00              $0.00
          Priority Creditor's Name
          1043 Overlook Rd.                                          When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 05       Randall Chan & Susan Chan                                  Last 4 digits of account number                           $986.70    $986.70               $0.00
          Priority Creditor's Name
          25692 Crestfield Cir.                                      When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 06       Randall Darden & Cynthia Meyers                            Last 4 digits of account number                           $202.00     $202.00              $0.00
          Priority Creditor's Name
          5930 Rincon Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 07       Rani Sanghera & Jez Humble                                 Last 4 digits of account number                           $960.00     $960.00              $0.00
          Priority Creditor's Name
          888 Indian Rock Ave.                                       When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 08       Rebecca and Matteo Rizzetta                                Last 4 digits of account number     4998                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          3154 Monticello Ave.                                       When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only




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 2.8      Rebecca Biernat & Francis
 09       Keenan                                                     Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          144 Corona St.                                             When was the debt incurred?
          San Francisco, CA 94127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Rebecca Carpenter & Adam
 10       Carpenter                                                  Last 4 digits of account number                           $600.00      $600.00              $0.00
          Priority Creditor's Name
          3031 Davis St.                                             When was the debt incurred?
          Oakland, CA 94601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 11       Rebecca Chance & Wes Keller                                Last 4 digits of account number                           $120.00      $120.00              $0.00
          Priority Creditor's Name
          13 Las Piedras                                             When was the debt incurred?
          Orinda, CA 94563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8      Rebecca Kucera & Margaret
 12       Anstrand                                                   Last 4 digits of account number                           $202.00    $202.00               $0.00
          Priority Creditor's Name
          5959 Balboa Dr.                                            When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 13       Rebecca Mcentee & Jack Chase                               Last 4 digits of account number                           $315.00    $315.00               $0.00
          Priority Creditor's Name
          4900 Harbord Dr.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 14       Rebecca Sklar & Evan Sklar                                 Last 4 digits of account number                         $1,290.00   $1,290.00              $0.00
          Priority Creditor's Name
          3881 Forest Hill Ave.                                      When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 15       Rebecca So & David So                                      Last 4 digits of account number                               $57.00    $57.00              $0.00
          Priority Creditor's Name
          105 St. Pierre Way                                         When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 16       Rekha Daram                                                Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          1433 Dumaine St.                                           When was the debt incurred?
          Concord, CA 94518
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 17       Rene Sanchez & Jamie Watkins                               Last 4 digits of account number                           $129.17      $129.17              $0.00
          Priority Creditor's Name
          1528 Excelsior Ave.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8      Renne Stromsness & Bjorn
 18       Stromsness                                                 Last 4 digits of account number                           $550.00       $550.00               $0.00
          Priority Creditor's Name
          1374 Hansen Ave.                                           When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 19       Renuka Kher & Sandeep Solanki                              Last 4 digits of account number                         $3,240.00      $3,025.00           $215.00
          Priority Creditor's Name
          5224 Golden Gate Ave.                                      When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 20       Reshma Shetty & Nirup Shetty                               Last 4 digits of account number                               $56.25     $56.25               $0.00
          Priority Creditor's Name
          8 Rainbow Cir.                                             When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 21       Reut Hadley                                                Last 4 digits of account number                         $1,100.00      $1,100.00              $0.00
          Priority Creditor's Name
          3901 Brown Ave.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 22       Rhea Bailey & Eric Bailey                                  Last 4 digits of account number                           $202.00       $202.00               $0.00
          Priority Creditor's Name
          49 Donna Way                                               When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 23       Rhonda Kendall                                             Last 4 digits of account number                               $26.70     $26.70               $0.00
          Priority Creditor's Name
          22650 Canyon Ridge Pl.                                     When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 24       Rianna Stoll & Darren Stoll                                Last 4 digits of account number                           $915.00    $915.00               $0.00
          Priority Creditor's Name
          7755 Skyline Blvd.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 25       Ricardo Cortes & Kristina Faul                             Last 4 digits of account number                         $1,040.00   $1,040.00              $0.00
          Priority Creditor's Name
          5832 Morse Dr.                                             When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 26       Rick Breslin & Karena Breslin                              Last 4 digits of account number                         $1,455.00   $1,455.00              $0.00
          Priority Creditor's Name
          1612 Cornell Dr.                                           When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 27       Rika Lino & Thomas Cavanagh                                Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          5422 Hilltop Crescent                                      When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 28       Rina Knoblock Palmer                                       Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          245 Paula Ct.                                              When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 29       Rita Shiau & Timothy Shiau                                 Last 4 digits of account number                           $860.00      $860.00              $0.00
          Priority Creditor's Name
          1433 Allman St.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 30       Robabeh Sarvi Pyraivatio                                   Last 4 digits of account number                           $217.60   $217.60              $0.00
          Priority Creditor's Name
          6207 Buena Vista Ave.                                      When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Robin Busch-Wheaton & Elliot
 31       Busch-Wheat                                                Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          1314 67th St.                                              When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 32       Robin Green & Nathan McCreary                              Last 4 digits of account number                           $202.00   $202.00              $0.00
          Priority Creditor's Name
          3800 Suter St.                                             When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8      Rodiemar Campanilla & Shana
 33       Campanilla                                                 Last 4 digits of account number                           $187.60     $187.60              $0.00
          Priority Creditor's Name
          6300 Heather Ridge Way                                     When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 34       Roy Chan & Lora Chan                                       Last 4 digits of account number                           $250.00     $250.00              $0.00
          Priority Creditor's Name
          4448 Anderson Ave.                                         When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Ryan Brennan and Cesar
 35       Martinez                                                   Last 4 digits of account number     5791                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          9520 Burr St.                                              When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only




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 2.8
 36       Ryan Brutger & Alex Schoenfeld                             Last 4 digits of account number                         $2,080.00   $2,080.00              $0.00
          Priority Creditor's Name
          106 Dudley Ave.                                            When was the debt incurred?
          Narberth, PA 19072
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Ryan Greene-Roesel & Ray
 37       Minjares                                                   Last 4 digits of account number                         $3,000.00   $3,000.00              $0.00
          Priority Creditor's Name
          1830 Arch St.                                              When was the debt incurred?
          Berkeley, CA 94709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 38       Ryan Inouye & Julie Inouye                                 Last 4 digits of account number                           $168.75    $168.75               $0.00
          Priority Creditor's Name
          2080 Drysdale St.                                          When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 39       Ryan Oettinger and Clarice Souza                           Last 4 digits of account number     8877                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          240 Tharp                                                  When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.8
 40       Saaz Grover                                                Last 4 digits of account number                           $168.75     $168.75              $0.00
          Priority Creditor's Name
          109 Baltana Ct.                                            When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Sabrina Almazan & Thomas
 41       Fitzsimons                                                 Last 4 digits of account number                           $120.00     $120.00              $0.00
          Priority Creditor's Name
          953 Helen Ave.                                             When was the debt incurred?
          San Leandro, CA 94577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 42       Sabrina Brown & Vincent Brown                              Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          250 Point Lobos #601                                       When was the debt incurred?
          San Francisco, CA 94121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 43       Sadie Waddington & Aaron Daley                             Last 4 digits of account number                           $129.00      $129.00              $0.00
          Priority Creditor's Name
          1691 Newell Ave.                                           When was the debt incurred?
          Walnut Creek, CA 94595
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 44       Sahra Halpern & Dan Engler                                 Last 4 digits of account number                           $525.00      $525.00              $0.00
          Priority Creditor's Name
          5825 Colby St.                                             When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 45       Saima Siddiqui & Mir Qamar                                 Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          690 Longbridge St.                                         When was the debt incurred?
          San Francisco, CA 94158
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Saira Mohamed & John Nels
 46       Bangerter                                                  Last 4 digits of account number                           $570.00       $570.00               $0.00
          Priority Creditor's Name
          436 Hudson St.                                             When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 47       Salima Jiwani and Tessin Daya                              Last 4 digits of account number                         $1,140.00      $1,140.00              $0.00
          Priority Creditor's Name
          7280 Woodrow Dr.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 48       Sally Sosa & Charlie Sosa                                  Last 4 digits of account number                           $525.00    $525.00               $0.00
          Priority Creditor's Name
          1025 Galvin St.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 49       Sanjay Bhatt                                               Last 4 digits of account number                         $5,610.00   $3,025.00        $2,585.00
          Priority Creditor's Name
          800 Glendome Cir.                                          When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 50       Sara Harrison & Jason Harrison                             Last 4 digits of account number                           $187.60    $187.60               $0.00
          Priority Creditor's Name
          320 Caldecott Ln. #108                                     When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 51       Sara Mancini & Patrick Bennett                             Last 4 digits of account number                         $1,040.00   $1,040.00              $0.00
          Priority Creditor's Name
          338 Lincoln Ave.                                           When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Sara Webb-Schmitz & Matt
 52       Schmitz                                                    Last 4 digits of account number                           $270.00    $270.00               $0.00
          Priority Creditor's Name
          4709 Meadowbrook Dr.                                       When was the debt incurred?
          Richmond, CA 94803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 53       Sara Whitfield & Sean Whitfield                            Last 4 digits of account number                         $1,760.00   $1,760.00              $0.00
          Priority Creditor's Name
          176 Camino Don Miguel                                      When was the debt incurred?
          Orinda, CA 94563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 54       Sara Yamamoto                                              Last 4 digits of account number                               $51.78     $51.78               $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Sarabeth Chapman and Matt
 55       Pietras                                                    Last 4 digits of account number     1285                       $0.00      $0.00               $0.00
          Priority Creditor's Name
          5697 Keith Ave.                                            When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.8
 56       Sarah Ago & Ledio Ago                                      Last 4 digits of account number                         $1,920.00      $1,920.00              $0.00
          Priority Creditor's Name
          1691 Mountain Blvd.                                        When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 57       Sarah Aguilar & Carlos Aguilar                             Last 4 digits of account number                         $1,010.00      $1,010.00              $0.00
          Priority Creditor's Name
          410 Ridgeview Dr.                                          When was the debt incurred?
          Pleasant Hill, CA 94523
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Sarah Bromma & Jonathan
 58       Bromma                                                     Last 4 digits of account number                         $1,177.60      $1,177.60              $0.00
          Priority Creditor's Name
          5815 Morpeth St.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 59       Sarah Chin                                                 Last 4 digits of account number                               $53.40     $53.40               $0.00
          Priority Creditor's Name
          1668 Renaissance Ln.                                       When was the debt incurred?
          San Leandro, CA 94578
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 60       Sarah Colton & Gabriel Lawrence                            Last 4 digits of account number                           $570.00   $570.00              $0.00
          Priority Creditor's Name
          4040 Laurel Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 61       Sarah Hawley & Charles Collett                             Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          849 York St.                                               When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 62       Sarah Holt & Peter Stwecker                                Last 4 digits of account number                           $570.00   $570.00              $0.00
          Priority Creditor's Name
          2 Monte Ave.                                               When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 63       Sarah Marcus                                               Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          1836 Grand View Dr.                                        When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 64       Sarah Rampersad-Reed                                       Last 4 digits of account number                           $168.75   $168.75              $0.00
          Priority Creditor's Name
          5647 Evolene St.                                           When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Sarah Scarbrough & Aaron
 65       Scarbrough                                                 Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          4615 Walnut St.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 66       Sarah Schuppisser & Michael Bull                           Last 4 digits of account number                           $570.00   $570.00              $0.00
          Priority Creditor's Name
          4116 Coolidge Ave.                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 67       Sarina Dhanoa & Jim Dhanoa                                 Last 4 digits of account number                           $168.75   $168.75              $0.00
          Priority Creditor's Name
          5042 Kerry Hill St.                                        When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Sasha Miyamoto & Matthew
 68       Miyamoto                                                   Last 4 digits of account number                           $960.00   $960.00              $0.00
          Priority Creditor's Name
          858 Alice Ave.                                             When was the debt incurred?
          San Leandro, CA 94577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8      Sayaka Araki & Rafael Real de
 69       Asua                                                       Last 4 digits of account number                           $208.89   $208.89              $0.00
          Priority Creditor's Name
          71 Starview Dr.                                            When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 70       Scott Lifton & Heather Van Atta                            Last 4 digits of account number                           $187.60   $187.60              $0.00
          Priority Creditor's Name
          449 Merritt Ave. #B                                        When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 71       Scott Miller & Meghan Miller                               Last 4 digits of account number                           $682.00   $682.00              $0.00
          Priority Creditor's Name
          5656 Colton Blvd.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8      Scott Nelson Windels & Sarah
 72       Windels                                                    Last 4 digits of account number                         $1,342.00   $1,342.00              $0.00
          Priority Creditor's Name
          6672 Heartwood Dr.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 73       Scott Pelzer                                               Last 4 digits of account number                           $284.06    $284.06               $0.00
          Priority Creditor's Name
          1230 66th St.                                              When was the debt incurred?
          Emeryville, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Sean Brannan & Adrianne
 74       Brannan                                                    Last 4 digits of account number                           $168.75    $168.75               $0.00
          Priority Creditor's Name
          5454 Belarus St.                                           When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8      Sean Stafford & Stephanie
 75       Stafford                                                   Last 4 digits of account number                           $168.75    $168.75               $0.00
          Priority Creditor's Name
          237 Stetson Dr.                                            When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 76       Sean Sullivan & Catherine Dam                              Last 4 digits of account number                         $1,140.00   $1,140.00              $0.00
          Priority Creditor's Name
          1054 54th St.                                              When was the debt incurred?
          Oakland, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 77       Sean Unger & Siri Thanasombat                              Last 4 digits of account number                         $1,005.00   $1,005.00              $0.00
          Priority Creditor's Name
          1480 Campus Dr.                                            When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 78       Seini Vunga & Sione Fine                                   Last 4 digits of account number                               $81.00    $81.00              $0.00
          Priority Creditor's Name
          5355 Alhambra Valley Rd.                                   When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 79       Selam Brown & Mal Brown                                    Last 4 digits of account number                           $187.60      $187.60              $0.00
          Priority Creditor's Name
          5763 Scarborough Dr.                                       When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 80       Seth Patel & Seema Patel                                   Last 4 digits of account number                           $860.00      $860.00              $0.00
          Priority Creditor's Name
          543 58th St.                                               When was the debt incurred?
          Oakland, CA 94609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 81       Shannon Steen & Scott Berry                                Last 4 digits of account number                           $420.00    $420.00               $0.00
          Priority Creditor's Name
          3958 Canon Ave.                                            When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 82       Shasa Curl & Tremaine Waters                               Last 4 digits of account number                           $510.00    $510.00               $0.00
          Priority Creditor's Name
          1588 Fitzgerald Dr. #370                                   When was the debt incurred?
          Pinole, CA 94564
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 83       Sheila Wang                                                Last 4 digits of account number                         $1,635.00   $1,635.00              $0.00
          Priority Creditor's Name
          1945 Berkeley Way #104                                     When was the debt incurred?
          Berkeley, CA 94704
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 84       Sherri McDevitt                                            Last 4 digits of account number                               $27.50    $27.50              $0.00
          Priority Creditor's Name
          693 Las Barrancas Dr.                                      When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Shilpi Agarwal & Bryan
 85       Heckenlively                                               Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          5524 Manila Ave                                            When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 86       Shonna Khambay                                             Last 4 digits of account number                           $337.50      $337.50              $0.00
          Priority Creditor's Name
          305 Mashona Ct.                                            When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 87       Shrine Mitchell & Dave Mitchell                            Last 4 digits of account number                           $168.75   $168.75              $0.00
          Priority Creditor's Name
          3350 Quail Walk Ln.                                        When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 88       Shuang Zhang & Lily Zhang                                  Last 4 digits of account number                           $194.44   $194.44              $0.00
          Priority Creditor's Name
          126 Conway Ct.                                             When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Shylah Conway-Hamilton &
 89       Janna Conway-Ha                                            Last 4 digits of account number                           $545.20   $545.20              $0.00
          Priority Creditor's Name
          5917 Almaden Ln.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.8
 90       Si hoi Chen & Don Owyang                                   Last 4 digits of account number                               $26.70     $26.70               $0.00
          Priority Creditor's Name
          5559 Boulder Canyon Dr.                                    When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 91       Siang Peng Oh & Fanesca Young                              Last 4 digits of account number                         $4,680.00      $3,025.00        $1,655.00
          Priority Creditor's Name
          16 Rabble Rd.                                              When was the debt incurred?
          Orinda, CA 94563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Siewmei Phuan & Aneesh
 92       Krishna                                                    Last 4 digits of account number                           $910.00       $910.00               $0.00
          Priority Creditor's Name
          709 Caldwell Rd.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8      Simone Greenberg & Matt
 93       Greenberg                                                  Last 4 digits of account number                           $505.00      $505.00              $0.00
          Priority Creditor's Name
          7211 Wild Currant Way                                      When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 94       Sindhu Nair                                                Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          6163 Mount Rushmore Cir.                                   When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8
 95       Skye Callan & Paul Callan                                  Last 4 digits of account number                           $217.60      $217.60              $0.00
          Priority Creditor's Name
          130 Florence Ave.                                          When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 96       Social Security Administration                             Last 4 digits of account number                               $0.00      $0.00               $0.00
          Priority Creditor's Name
          Office of the General Counsel,                             When was the debt incurred?
          Rgion IX
          160 Spear St., Ste. 800
          San Francisco, CA 94105-1545
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated
           No                                                           Other. Specify
           Yes                                                                           For Notice Purposes Only

 2.8      SohChean Huan & ShinPing
 97       Huang                                                      Last 4 digits of account number                           $168.75      $168.75               $0.00
          Priority Creditor's Name
          1903 Mantova St.                                           When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.8      Sola Takahashi & Summer
 98       Henerson                                                   Last 4 digits of account number                         $1,140.00     $1,140.00              $0.00
          Priority Creditor's Name
          2721 Grande Vista Ave                                      When was the debt incurred?
          Oakland, CA 94601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.8
 99       Sonsire Garcia & Carlos Gandara                            Last 4 digits of account number                           $300.00     $300.00              $0.00
          Priority Creditor's Name
          980 31st St.                                               When was the debt incurred?
          Richmond, CA 94804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Soraya Zambrano & Mario
 00       Zambrano                                                   Last 4 digits of account number                           $187.60     $187.60              $0.00
          Priority Creditor's Name
          1932 109th Ave.                                            When was the debt incurred?
          Oakland, CA 94603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 01       Stacey and Seth Blackman                                   Last 4 digits of account number     2828                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          1537 Serafix Rd.                                           When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only




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 2.9
 02       Stacey Han & Frank Cobourn                                 Last 4 digits of account number                           $860.00      $860.00              $0.00
          Priority Creditor's Name
          689 Walavista Ave.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 03       Statia Hafer & James Rossi                                 Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          318 Spear St. #3F                                          When was the debt incurred?
          San Francisco, CA 94105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 04       Stefanie Sosnowski                                         Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          2490 Sky Rd.                                               When was the debt incurred?
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.9
 05       Stella Edelmann                                            Last 4 digits of account number                           $187.60      $187.60              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 06       Stella Young & David Young                                 Last 4 digits of account number                               $81.00    $81.00              $0.00
          Priority Creditor's Name
          520 Eagle Nest Dr.                                         When was the debt incurred?
          Martinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 07       Stephanie and Dashiell Gerdes                              Last 4 digits of account number     5325                       $0.00     $0.00              $0.00
          Priority Creditor's Name
          508 Fairbanks Ave.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only




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 2.9
 08       Stephanie Kennedy                                          Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          133 18th Ave.                                              When was the debt incurred?
          San Francisco, CA 94121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Stephanie Lau & John
 09       Westendorf                                                 Last 4 digits of account number                         $1,762.00      $1,762.00              $0.00
          Priority Creditor's Name
          2135 Manzanita Dr.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Stephanie Mamane & Matt
 10       Dilworth                                                   Last 4 digits of account number                                $8.00      $8.00               $0.00
          Priority Creditor's Name
          2055 Leimert Blvd.                                         When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.9      Stephanie Neuringer & Clay
 11       Whitakes                                                   Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          27 Oak Creek Rd.                                           When was the debt incurred?
          El Sobrante, CA 94803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Stephanie Nielsen & Scott
 12       Nielsen                                                    Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          4320 Gregory St.                                           When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Stephanie Orloff & Christopher
 13       Orloff                                                     Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          6429 Shelterwood Dr.                                       When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.9      Stephen Stewart & Marin Van
 14       Young                                                      Last 4 digits of account number                           $560.00    $560.00               $0.00
          Priority Creditor's Name
          914 Tulare Ave.                                            When was the debt incurred?
          Albany, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 15       Steve Jackson & Ardi Jackson                               Last 4 digits of account number                         $2,720.00   $2,720.00              $0.00
          Priority Creditor's Name
          776 Spruce St.                                             When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 16       Steven Vaniman                                             Last 4 digits of account number                           $188.00    $188.00               $0.00
          Priority Creditor's Name
          3878 Boubler Canyon Dr.                                    When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 17       Stracey Gordon & Jason Allen                               Last 4 digits of account number                           $208.89    $208.89               $0.00
          Priority Creditor's Name
          3157 Kingsland Ave.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Sukanya Venkarachalan &
 18       Ramaswamy Venkat                                           Last 4 digits of account number                           $245.00    $245.00               $0.00
          Priority Creditor's Name
          7352 Lemonwood Way                                         When was the debt incurred?
          Pleasanton, CA 94588
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Sumaiya Balbale & Robert
 19       Coolidge                                                   Last 4 digits of account number                         $1,172.92   $1,172.92              $0.00
          Priority Creditor's Name
          697 Calmar Ave.                                            When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 20       Sunny Kim & Young Kim                                      Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          4164 High Ridge Pl.                                        When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Sunny Saperstein & Leon
 21       Saperstein                                                 Last 4 digits of account number                           $560.00      $560.00              $0.00
          Priority Creditor's Name
          135 Lexford Rd.                                            When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 22       Sunny Yoon & Jung Kamburov                                 Last 4 digits of account number                           $520.00      $520.00              $0.00
          Priority Creditor's Name
          2709 Benvenue Ave.                                         When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 23       Surriya Khan                                               Last 4 digits of account number                           $250.00      $250.00              $0.00
          Priority Creditor's Name
          1091 Trumpet Vine Ln.                                      When was the debt incurred?
          San Ramon, CA 94582
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 24       Susan Ficker & Josh Robinson                               Last 4 digits of account number                               $57.00    $57.00              $0.00
          Priority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 25       Susan Hyde & Sean Smith                                    Last 4 digits of account number                           $880.00      $880.00              $0.00
          Priority Creditor's Name
          31 Florida Ave.                                            When was the debt incurred?
          Berkeley, CA 94707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 26       Susan Landau & Pierre Garrigues                            Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          29 Lake Ave.                                               When was the debt incurred?
          Piedmont, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 27       Susanne Rublein & Michael Leslie                           Last 4 digits of account number                           $697.60   $697.60              $0.00
          Priority Creditor's Name
          1961 Gouldin Rd.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Suzanna Smith & Kenny
 28       Washington                                                 Last 4 digits of account number                           $810.00   $810.00              $0.00
          Priority Creditor's Name
          1641 Vancouver Way                                         When was the debt incurred?
          Livermore, CA 94550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 29       Suzie Kim and Sean Liao                                    Last 4 digits of account number     3306                      $0.00      $0.00               $0.00
          Priority Creditor's Name
          1237 Grand Ave.                                            When was the debt incurred?
          Piedmont, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only

 2.9
 30       Suzy Kim & Evan Despelder                                  Last 4 digits of account number                           $480.00      $480.00               $0.00
          Priority Creditor's Name
          720 Gilman St.                                             When was the debt incurred?
          Berkeley, CA 94710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 31       Svea Lin Soll & Jason Soll                                 Last 4 digits of account number                         $1,720.00     $1,720.00              $0.00
          Priority Creditor's Name
          1331 Bonia Ave. #3                                         When was the debt incurred?
          Berkeley, CA 94709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9      Sweepeck Quek & Charles
 32       Marshall                                                   Last 4 digits of account number                           $430.00   $430.00              $0.00
          Priority Creditor's Name
          730 Albemarle St.                                          When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 33       Talia Gracer & Todd Ryan                                   Last 4 digits of account number                           $737.57   $737.57              $0.00
          Priority Creditor's Name
          618 Mandana Blvd.                                          When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 34       Talia Litle & Adam Litle                                   Last 4 digits of account number                           $692.92   $692.92              $0.00
          Priority Creditor's Name
          1060 Warfield Ave.                                         When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9      Tamara Carrington-Clegg & Chris
 35       Clegg                                                      Last 4 digits of account number                           $810.00      $810.00              $0.00
          Priority Creditor's Name
          552 Valle Vista Ave.                                       When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Tania Yarema & Gerald
 36       Santamaria                                                 Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          4128 Barner Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 37       Tanis Kelly & Conor Kelly                                  Last 4 digits of account number                               $58.00    $58.00              $0.00
          Priority Creditor's Name
          1455 Francisco St.                                         When was the debt incurred?
          San Francisco, CA 94123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 38       Tanya Arnaiz                                               Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          4296 Atlas Ave.                                            When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 39       Tanya Krueger                                              Last 4 digits of account number                           $218.75      $218.75              $0.00
          Priority Creditor's Name
          61 Pleasant Knoll Ct.                                      When was the debt incurred?
          Alamo, CA 94507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 40       Tara Clancy & Patrick Clancy                               Last 4 digits of account number                           $120.00      $120.00              $0.00
          Priority Creditor's Name
          110 Inverness Way                                          When was the debt incurred?
          Alameda, CA 94502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 41       Tara Cyphers & Robert Abel                                 Last 4 digits of account number                           $717.57    $717.57               $0.00
          Priority Creditor's Name
          5437 Lawton Ave                                            When was the debt incurred?         varies
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 42       Tara Desautels & Colin Kemp                                Last 4 digits of account number                         $1,020.00   $1,020.00              $0.00
          Priority Creditor's Name
          1719 Oakland Ave.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 43       Tarquin Alwattar & Basil Alwattar                          Last 4 digits of account number                         $1,200.00   $1,200.00              $0.00
          Priority Creditor's Name
          6825 Colton Blvd.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 44       Tatiana Vechniakova & Peter Any                            Last 4 digits of account number                           $455.00   $455.00              $0.00
          Priority Creditor's Name
          40 Sereno Cir.                                             When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Tatjana Petojevic & Massimiliano
 45       Fratoni                                                    Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          2834 Shasta Rd.                                            When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Tempe Minaga-Teves & Randy
 46       Teves                                                      Last 4 digits of account number                           $860.00   $860.00              $0.00
          Priority Creditor's Name
          1609 Liberty St.                                           When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 47       Teresa Scanlan                                             Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          735 Gooding Way #759                                       When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 48       Teresa Surichamorn & Tim Lewis                             Last 4 digits of account number                           $910.00   $910.00              $0.00
          Priority Creditor's Name
          5030 Pierpoint Ave.                                        When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 49       Terri Oconnor & Noel Keen                                  Last 4 digits of account number                           $187.60   $187.60              $0.00
          Priority Creditor's Name
          4134 Gilbert St.                                           When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 50       Thach-Giao & Gregor Krings                                 Last 4 digits of account number                         $1,070.00   $1,070.00              $0.00
          Priority Creditor's Name
          1344 Henry St.                                             When was the debt incurred?
          Berkeley, CA 94709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 51       Thao Tran & Brian Kail                                     Last 4 digits of account number                           $430.00    $430.00               $0.00
          Priority Creditor's Name
          108 Cork Rd.                                               When was the debt incurred?
          Alameda, CA 94502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 52       Thea Hornor & Michael Selvidge                             Last 4 digits of account number                           $240.00    $240.00               $0.00
          Priority Creditor's Name
          208 Modoc Ave.                                             When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 53       Theresa Obrien & Brad Howells                              Last 4 digits of account number                               $50.00    $50.00              $0.00
          Priority Creditor's Name
          367 60th St.                                               When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Thuy Bui & Son Nguyen Lucy
 54       Chien                                                      Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          6444 Mount Olympus Dr.                                     When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 55       Tiffany Chan & Zachary Chan                                Last 4 digits of account number                           $985.00      $985.00              $0.00
          Priority Creditor's Name
          6295 Acacia Ave.                                           When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 56       Tiffany Cho & Kevin Schroeder                              Last 4 digits of account number                           $103.50     $103.50              $0.00
          Priority Creditor's Name
          91 Warfield Dr.                                            When was the debt incurred?
          Moraga, CA 94556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 57       Tiffany Haas & Ben Silverman                               Last 4 digits of account number                           $960.00     $960.00              $0.00
          Priority Creditor's Name
          7447 Moeser Ln.                                            When was the debt incurred?
          El Cerrito, CA 94530
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Tina Chin-Kaplan and Kory
 58       Kaplan                                                     Last 4 digits of account number     5271                      $0.00     $0.00              $0.00
          Priority Creditor's Name
          1823 Stanton St.                                           When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           For Notice Purposes Only




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 59       Tina Lau & Gordon Mak                                      Last 4 digits of account number                               $58.00     $58.00               $0.00
          Priority Creditor's Name
          1814 Broadway                                              When was the debt incurred?
          San Francisco, CA 94109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Tina Mosier-Tidd & Damion
 60       Mosier-Tidd                                                Last 4 digits of account number                         $1,100.00      $1,100.00              $0.00
          Priority Creditor's Name
          2930 Monticello Ave.                                       When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 61       Torey Bookstein & David Karp                               Last 4 digits of account number                         $5,040.00      $3,025.00        $2,015.00
          Priority Creditor's Name
          62 Panoramic Way                                           When was the debt incurred?
          Berkeley, CA 94704
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 62       Tova Wolking & Scott Williams                              Last 4 digits of account number                           $910.00      $910.00              $0.00
          Priority Creditor's Name
          4121 Norton Ave.                                           When was the debt incurred?
          Oakland, CA 94602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Tracy Kobayashi & Tony
 63       Kobayashi                                                  Last 4 digits of account number                           $250.00      $250.00              $0.00
          Priority Creditor's Name
          2407 Edwards St.                                           When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Tram Nguyen & Stanley
 64       Greschner                                                  Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          4168 High Ridge Pl.                                        When was the debt incurred?
          Castro Valley, CA 94522
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.9
 65       Travis Lodolce & Elizabeth Balin                           Last 4 digits of account number                         $1,705.00   $1,705.00              $0.00
          Priority Creditor's Name
          2530 Sacramento St.                                        When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Twilight Greenaway & Justin
 66       Limoges                                                    Last 4 digits of account number                           $480.00    $480.00               $0.00
          Priority Creditor's Name
          1011 56th St.                                              When was the debt incurred?
          Emeryville, CA 94608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 67       Tyla Nguyen & Pasto Nguyen                                 Last 4 digits of account number                           $260.00    $260.00               $0.00
          Priority Creditor's Name
          21034 Baker Rd.                                            When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 68       Tyson Fechter & Jill Narcisco                              Last 4 digits of account number                           $490.00   $490.00              $0.00
          Priority Creditor's Name
          411 Cornell Ave. Apt. #11                                  When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 69       Valerie Harrison & Kevin Janiak                            Last 4 digits of account number                           $520.00   $520.00              $0.00
          Priority Creditor's Name
          4891 Shetland Ave                                          When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Vanessa Bortnick & Brandon
 70       Bortnick                                                   Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          4247 Lakeshore Ave.                                        When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 71       Vanessa Kong & Michael Hopp                                Last 4 digits of account number                           $455.00   $455.00              $0.00
          Priority Creditor's Name
          1638 Stannage Ave.                                         When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 72       Vanessa Mowell & Brian Mowell                              Last 4 digits of account number                           $595.00   $595.00              $0.00
          Priority Creditor's Name
          5214 Boyd Ave.                                             When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 73       Vannaro Tep & Poly Tep                                     Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          2537 Santa Cara Ave.                                       When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 74       Victoria Olivas & Mitch Buttress                           Last 4 digits of account number                           $208.89   $208.89              $0.00
          Priority Creditor's Name
          3316 Harrison St.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 75       Vidrik Frankfather & Julia Dietz                           Last 4 digits of account number                           $480.00   $480.00              $0.00
          Priority Creditor's Name
          2954 Benvenue Ave.                                         When was the debt incurred?
          Berkeley, CA 94705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 76       Vinay Nariani & Kelsey Nariani                             Last 4 digits of account number                           $600.00   $600.00              $0.00
          Priority Creditor's Name
          6233 Thornhill Dr.                                         When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 77       Virginia Harrison & Rowy Shirk                             Last 4 digits of account number                               $95.00    $95.00              $0.00
          Priority Creditor's Name
          1015 Middlefield Rd.                                       When was the debt incurred?
          Berkeley, CA 94708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 78       Vivian Kwok & Eric Low                                     Last 4 digits of account number                           $375.20      $375.20              $0.00
          Priority Creditor's Name
          7030 Broadway Terrace                                      When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 79       Wa Yuan & Jiayuan Meng                                     Last 4 digits of account number                           $315.00      $315.00              $0.00
          Priority Creditor's Name
          180 Purcell Dr.                                            When was the debt incurred?
          Alameda, CA 94502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 80       Wendy Chan                                                 Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          22839 Canyon Terrace Dr.                                   When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 81       Wendy Liao & Stephen Lau                                   Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          1277 Bay St.                                               When was the debt incurred?
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Wendy Spackman & Thomas
 82       Mitchell                                                   Last 4 digits of account number                           $520.00      $520.00              $0.00
          Priority Creditor's Name
          6168 View Crest Dr.                                        When was the debt incurred?
          Oakland, CA 94619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9      Wesley Grubbs & Ivana
 83       Bradaric-Grubbs                                            Last 4 digits of account number                         $3,240.00   $3,025.00           $215.00
          Priority Creditor's Name
          940 Dwight Way #15                                         When was the debt incurred?
          Berkeley, CA 94710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 84       Whitney Quan                                               Last 4 digits of account number                         $1,920.00   $1,920.00              $0.00
          Priority Creditor's Name
          22 Martha Rd.                                              When was the debt incurred?
          Orinda, CA 94563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 85       Winnie Pham & Mike Schwartz                                Last 4 digits of account number                           $129.00    $129.00               $0.00
          Priority Creditor's Name
          145 Creekdale Rd.                                          When was the debt incurred?
          Walnut Creek, CA 94595
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 86       Xiao Fei Liang                                             Last 4 digits of account number                               $51.78    $51.78              $0.00
          Priority Creditor's Name
          2870 Buena Vista Ave.                                      When was the debt incurred?
          Walnut Creek, CA 94597
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 87       Yahsuan Huang & Jason Price                                Last 4 digits of account number                           $480.00      $480.00              $0.00
          Priority Creditor's Name
          1510 Hearst Ave.                                           When was the debt incurred?
          Berkeley, CA 94703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 88       Yen Chau & Kevin Ho                                        Last 4 digits of account number                               $26.70    $26.70              $0.00
          Priority Creditor's Name
          3867 Rancho Palomares Dr.                                  When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 89       Yenny Ko & Quynh Le                                        Last 4 digits of account number                               $53.40    $53.40              $0.00
          Priority Creditor's Name
          21600 Pheasant Woods Dr.                                   When was the debt incurred?
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 90       Yeon Lee & J. Ian Van Trump                                Last 4 digits of account number                           $600.00      $600.00              $0.00
          Priority Creditor's Name
          1126 Hopkins St.                                           When was the debt incurred?
          Berkeley, CA 94702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 91       Yeonchang & kim Minah                                      Last 4 digits of account number                               $75.00    $75.00              $0.00
          Priority Creditor's Name
          10569 Englewood Dr.                                        When was the debt incurred?
          Oakland, CA 94605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                                 Case number (if known)

 2.9
 92       Yesica Pounds                                              Last 4 digits of account number                           $168.75      $168.75              $0.00
          Priority Creditor's Name
          517 Garrigan Ct.                                           When was the debt incurred?
          Danville, CA 94506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 93       Yiu Lee & Wing Lee                                         Last 4 digits of account number                           $455.00      $455.00              $0.00
          Priority Creditor's Name
          544 Allegheny Dr.                                          When was the debt incurred?
          Walnut Creek, CA 94598
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 94       Yoel Hanegbi                                               Last 4 digits of account number                               $53.40    $53.40              $0.00
          Priority Creditor's Name
          3984 Washington Blvd.                                      When was the debt incurred?
          Fremont, CA 94538
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.9
 95       Yoko Nielsen & Erik Nielsen                                Last 4 digits of account number                           $570.00    $570.00               $0.00
          Priority Creditor's Name
          483C Wickson Ave.                                          When was the debt incurred?
          Oakland, CA 94610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 96       Yona Abrams & Joshua Abrams                                Last 4 digits of account number                         $1,820.00   $1,820.00              $0.00
          Priority Creditor's Name
          2635 Benvenue Ave.                                         When was the debt incurred?
          Berkeley, CA 94704
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9      Yurily Gorodnichenko & Iryna
 97       Dronova                                                    Last 4 digits of account number                           $625.00    $625.00               $0.00
          Priority Creditor's Name
          6080 N Rockridge Blvd.                                     When was the debt incurred?
          Oakland, CA 94618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
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 2.9      Yuvarai Nagaraian & Sumana
 98       Sriraman                                                   Last 4 digits of account number                           $194.44    $194.44               $0.00
          Priority Creditor's Name
          3016 Fostoria Cir.                                         When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.9
 99       Yvonne Lee & Brandon Lai                                   Last 4 digits of account number                           $860.00    $860.00               $0.00
          Priority Creditor's Name
          817 Carmel Ave.                                            When was the debt incurred?
          Albany, CA 94706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1      Zachary Crowther & Megan
 000      Hunter                                                     Last 4 digits of account number                         $3,107.00   $3,025.00            $82.00
          Priority Creditor's Name
          6100 Johnston Dr.                                          When was the debt incurred?
          Oakland, CA 94611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                                Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
       Is the claim subject to offset?                                  Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs




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 2.1
 001       Zena Harvill & Lance Kizer                                Last 4 digits of account number                         $1,820.00   $1,820.00              $0.00
           Priority Creditor's Name
           2312 Tiffin Rd.                                           When was the debt incurred?
           Oakland, CA 94602
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 002       Zhen Wen Chen & Susan Yee                                 Last 4 digits of account number                           $187.60    $187.60               $0.00
           Priority Creditor's Name
           18041 Broadway Terrace                                    When was the debt incurred?
           Oakland, CA 94611
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs

 2.1
 003       Ziwei Zhou & Xun Cai                                      Last 4 digits of account number                           $103.50    $103.50               $0.00
           Priority Creditor's Name
           133 Danefield Pl.                                         When was the debt incurred?
           Moraga, CA 94556
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
           Debtor 1 only                                                Unliquidated
           Debtor 2 only                                                Disputed
           Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

           At least one of the debtors and another                      Domestic support obligations

           Check if this claim is for a community debt                  Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

           No                                                           Other. Specify   Deposits by individuals
           Yes                                                                           Deposits and/or Payments for Children's
                                                                                         Educational Programs


 Part 2:      List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.


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 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Adriene Faulkner                                          Last 4 digits of account number                                                                           $0.00
            Nonpriority Creditor's Name
            18899 Scenic Dr.                                          When was the debt incurred?
            Redwood Valley, CA 95470
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                       Other. Specify    For Notice Purposes Only


 4.2        American Express                                          Last 4 digits of account number         6200                                                      $48,773.00
            Nonpriority Creditor's Name
            P.O. Box 981535                                           When was the debt incurred?             Various
            El Paso, TX 79998-1535
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                       Other. Specify    Credit card


 4.3        Bank of America                                           Last 4 digits of account number         2298                                                        $8,187.00
            Nonpriority Creditor's Name
            P.O. Box 982234                                           When was the debt incurred?             Various
            El Paso, TX 79998-2234
            Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

               Debtor 1 only                                             Contingent
               Debtor 2 only                                             Unliquidated
               Debtor 1 and Debtor 2 only                                Disputed
               At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

               No                                                        Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                       Other. Specify    Credit card




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 4.4      Bank of America                                            Last 4 digits of account number       7696                                            $19,012.00
          Nonpriority Creditor's Name
          P.O. Box 982234                                            When was the debt incurred?           Various
          El Paso, TX 79998-2234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.5      Bank of America                                            Last 4 digits of account number       8907                                            $19,004.00
          Nonpriority Creditor's Name
          P.O. Box 982234                                            When was the debt incurred?           Various
          El Paso, TX 79998-2234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.6      Bank of West                                               Last 4 digits of account number       0059                                            $50,000.00
          Nonpriority Creditor's Name
          201 N. Civic Drive                                         When was the debt incurred?
          Ste, 360 B
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Commercial Loan




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 4.7      Bank of West                                               Last 4 digits of account number                                                         $4,028.78
          Nonpriority Creditor's Name
          201 N. Civic Drive                                         When was the debt incurred?
          Ste, 360 B
          Walnut Creek, CA 94596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Businesslink Reserve Account (overdraft
              Yes                                                       Other. Specify   account)

 4.8      Chase                                                      Last 4 digits of account number       0963                                            $12,394.00
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?           Various
          Wilmington, DE 19850-5298
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.9      Chase                                                      Last 4 digits of account number       4111                                            $25,392.00
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?           Various
          Wilmington, DE 19850-5298
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card




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 4.1
 0        Chase                                                      Last 4 digits of account number       4344                                            $24,699.00
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?           Various
          Wilmington, DE 19850-5298
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.1
 1        Chase                                                      Last 4 digits of account number       8577                                            $16,264.00
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?           Various
          Wilmington, DE 19850-5298
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.1
 2        DeSilva Properties                                         Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          Attn: Jim DeSilva                                          When was the debt incurred?
          18049 Columbia Dr.
          Castro Valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   For Notice Purposes Only




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 4.1
 3        Ellen Faulkner                                             Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          18899 Scenic Dr.                                           When was the debt incurred?
          Redwood Valley, CA 95470
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   For Notice Purposes Only


 4.1
 4        Fremont Bank                                               Last 4 digits of account number                                                      $200,600.00
          Nonpriority Creditor's Name
          Attn: CEO                                                  When was the debt incurred?
          37611 Niles Blvd.
          Fremont, CA 94536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   PPP Loan


 4.1
 5        John Faulkner                                              Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          18899 Scenic Dr.                                           When was the debt incurred?
          Redwood Valley, CA 95470
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   For Notice Purposes Only




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 4.1
 6        Katherine Regalado                                         Last 4 digits of account number                                                      $132,000.00
          Nonpriority Creditor's Name
          133 Chelsea Hills Dr.                                      When was the debt incurred?
          Benicia, CA 94510
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan


 4.1
 7        Katherine Regalado                                         Last 4 digits of account number                                                       $10,025.32
          Nonpriority Creditor's Name
          133 Chelsea Hills Dr.                                      When was the debt incurred?
          Benicia, CA 94510
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Loan to Debtor; Debtor has been making
                                                                                         loan repayments directly to Patelco on
              Yes                                                       Other. Specify   behalf of Ms. Regalado.


 4.1      Lisa Harvie Hellam and Deann
 8        Kennedy                                                    Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          c/o Kenneth S. Katzoff, Esq.                               When was the debt incurred?           Various
          Katzoff & Riggs LLP
          1500 Park Ave., Ste. 300
          Los Angeles, CA 90067
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Damages




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 341 of 344
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case: 21-40070                     Doc# 1           Filed: 01/20/21 Entered: 01/20/21 14:46:39                                        Page 384 of
                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                               Case number (if known)

 4.1
 9        Michael DeSilva                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          537 Cashew Place                                           When was the debt incurred?
          Brentwood, CA 94513
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   For Notice Purposes Only


 4.2
 0        Patelco Credit Union                                       Last 4 digits of account number       5576                                              $1,173.00
          Nonpriority Creditor's Name
          P.O. Box 2227                                              When was the debt incurred?           Various
          Merced, CA 95344-0227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Line


 4.2
 1        Ray Morgan Company                                         Last 4 digits of account number                                                         Unknown
          Nonpriority Creditor's Name
          3131 Esplanade                                             When was the debt incurred?
          Chico, CA 95973
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Property Lease




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 342 of 344
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
            Case: 21-40070                     Doc# 1           Filed: 01/20/21 Entered: 01/20/21 14:46:39                                        Page 385 of
                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                               Case number (if known)

 4.2
 2         U.S. Bank                                                 Last 4 digits of account number       0468                                                   $12,570.00
           Nonpriority Creditor's Name
           P.O. Box 6333                                             When was the debt incurred?           Various
           Fargo, ND 58125-6333
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card


 4.2
 3         Wells Fargo Financial Leasing, Inc.                       Last 4 digits of account number       0691                                                     $3,782.06
           Nonpriority Creditor's Name
           P.O. Box 10306                                            When was the debt incurred?
           Des Moines, IA 50306-0306
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Personal Property Lease

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Anne Hitchcock and Matthew Judd                               Line 2.86 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6035 Orchard Ave.                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, CA 94804
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Carrie Libeu and Aaron Frankel                                Line 2.149 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1498 Posen Ave.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Albany, CA 94706
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Gretchen Krebs and Ian Read                                   Line 2.335 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1729 Telegraph Ave., 3rd Fl.                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Oakland, CA 94612
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Internal Revenue Service                                      Line 2.352 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Internal Revenue ServicePO Box                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 7346

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 343 of 344
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case: 21-40070                     Doc# 1           Filed: 01/20/21 Entered: 01/20/21 14:46:39                                         Page 386 of
                                                                              407
 Debtor 1 Sarah E. Shaffer                                                                               Case number (if known)

 Philadelphia, PA 19101-7346
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jen Dary and and Chris Dary                                   Line 2.387 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 1223 Masonic Ave.                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Berkeley, CA 94706
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Michael DeSilva                                               Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 537 Cashew Place                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Brentwood, CA 94513
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Robabeh Sarvi Pyraivatio                                      Line 2.830 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 630 51st St.                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Oakland, CA 94609
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Salima Jiwani and Tessin Daya                                 Line 2.847 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 5738 Nottingham Dr.                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Oakland, CA 94611
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                        0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                        0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                  641,207.97

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                  641,207.97

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                  587,904.16

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  587,904.16




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 344 of 344
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case: 21-40070                     Doc# 1           Filed: 01/20/21 Entered: 01/20/21 14:46:39                                         Page 387 of
                                                                              407
 Fill in this information to identify your case:

 Debtor 1                  Sarah E. Shaffer
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       DeSilva Properties                                                         Warehouse Lease - 2535 West Winton Ave., Ste. 5M,
               18049 Columbia Dr.                                                         Hayward, CA 94545; $1,400 per month
               Castro Valley, CA 94552

     2.2       DeSilva Properties                                                         Warehouse Lease - 2535 West Winton Ave., Suite 4K,
               18049 Columbia Dr.                                                         Hayward, CA 94545; $2,100 per month.
               Castro Valley, CA 94552

     2.3       Patelco Credit Union                                                       RAM Van Lease
               5050 Hopyard Rd., No. 16
               Pleasanton, CA 94588

     2.4       Ray Morgan Company                                                         5 year Office Equipment Lease date 1/16/19; 2 HP Color
               3131 Esplanade                                                             Laser Jet E87640z; 2 HP Dual Cassette 2 x 520 sheets; 2
               Chico, CA 95973                                                            HP Inner Finisher; 2 HP Hole punch - 2/3 for Inner
                                                                                          Finisher; 1 HP Fax

     2.5       Various Software Vendors                                                   See Schedule B, Attachment 27


     2.6       Wells Fargo Financial Leasing                                              Lease for copiers and printers:
               P.O. Box 10306                                                             HP Copier - Model No. E87640z; Serial No.
               Des Moines, IA 50306-0306                                                  CNB1KCHOTW
                                                                                          HP Copier - Model No. E87640z; Serial No.
                                                                                          CNB8KBSS02L
                                                                                          HP Copier - Serial No. PHMCLBH2KS




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                Case: 21-40070                  Doc# 1            Filed: 01/20/21 Entered: 01/20/21 14:46:39                         Page 388 of
                                                                                407
 Fill in this information to identify your case:

 Debtor 1                   Sarah E. Shaffer
                            First Name                            Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                       ZIP Code




    3.2                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                       ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
               Case: 21-40070                     Doc# 1              Filed: 01/20/21 Entered: 01/20/21 14:46:39             Page 389 of
                                                                                    407
Fill in this information to identify your case:

Debtor 1                      Sarah E. Shaffer

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF CALIFORNIA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                 Debtor 1                                  Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation             Educational Program Provider
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $         N/A




           Case:
Official Form 106I        21-40070        Doc# 1          Filed: 01/20/21    Entered:
                                                                       Schedule            01/20/21 14:46:39
                                                                                I: Your Income                                   Page 390 of page 1
                                                                         407
Debtor 1   Sarah E. Shaffer                                                                      Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
     5e.    Insurance                                                                     5e.        $              0.00     $               N/A
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
     5g.    Union dues                                                                    5g.        $              0.00     $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00     $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $          0.00         $               N/A
     8d. Unemployment compensation                                                        8d.        $      1,800.00         $               N/A
     8e. Social Security                                                                  8e.        $      2,469.00         $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $                 N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          4,269.00         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              4,269.00 + $              N/A = $         4,269.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $         4,269.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor will be finding a job.




           Case:
Official Form 106I   21-40070        Doc# 1         Filed: 01/20/21    Entered:
                                                                 Schedule            01/20/21 14:46:39
                                                                          I: Your Income                                         Page 391 of page 2
                                                                   407
Fill in this information to identify your case:

Debtor 1                 Sarah E. Shaffer                                                                  Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF CALIFORNIA                                            MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,746.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                           658.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           312.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           400.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                           668.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
         Case: 21-40070                   Doc# 1         Filed: 01/20/21 Entered: 01/20/21 14:46:39                                   Page 392 of
                                                                       407
Debtor 1     Sarah E. Shaffer                                                                          Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 400.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 510.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 551.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                600.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                 250.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                  80.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                  20.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                  120.00
      15c. Vehicle insurance                                                               15c. $                                                  100.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                               4,634.00
      20b. Real estate taxes                                                               20b. $                                                 803.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                 270.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                 913.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Dog Expenses (Vet and grooming)                                     21. +$                                               150.00
      ADT Security (1543 Grove Way)                                                               +$                                              182.00
      EBMUD (1543 Grove Way)                                                                      +$                                               69.00
      PG&E (1543 Grove Way)                                                                       +$                                              187.00
      Pool Maintenance (1543 Grove Way)                                                           +$                                              135.00
      Waste Management (1543 Grove Way)                                                           +$                                              240.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      14,248.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      14,248.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               4,269.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             14,248.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -9,979.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtor expects a decrease in expenses associated with the 1543 Grove Way property, based
                          on the assumption that the property will be administered by the ch. 7 trustee.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                                                                      407
 Fill in this information to identify your case:

 Debtor 1                    Sarah E. Shaffer
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Sarah E. Shaffer                                                      X
              Sarah E. Shaffer                                                          Signature of Debtor 2
              Signature of Debtor 1

              Date       January 19, 2021                                               Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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               Case: 21-40070                  Doc# 1           Filed: 01/20/21 Entered: 01/20/21 14:46:39                          Page 394 of
                                                                              407
 Fill in this information to identify your case:

 Debtor 1                  Sarah E. Shaffer
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                               $0.00         Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
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                                                                              407
 Debtor 1      Sarah E. Shaffer                                                                            Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For last calendar year:                             Wages, commissions,                          Unknown            Wages, commissions,
 (January 1 to December 31, 2020 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                        $40,089.00           Wages, commissions,
 (January 1 to December 31, 2019 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social Security                                             $2,426.70
 the date you filed for bankruptcy:   Benefits

                                                   Unemployment                                        $0.00

 For last calendar year:                           Social Security                              $29,628.00
 (January 1 to December 31, 2020 )                 Benefits

                                                   Unemployment                                 $27,502.00

                                                   Federal Treasury                               $1,200.00
                                                   Stimulus

 For the calendar year before that:                Social Security                              $31,254.00
 (January 1 to December 31, 2019 )                 Benefits

                                                   IRA                                          $18,460.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
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                                                                              407
 Debtor 1      Sarah E. Shaffer                                                                            Case number (if known)




            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Transamerica Retirement Solutions                        10/14/20                      $18,792.72                  $0.00       Mortgage
                                                                $17,489.97                                                            Car
                                                                (Employer's                                                           Credit Card
                                                                annual profit                                                         Loan Repayment
                                                                sharing
                                                                                                                                      Suppliers or vendors
                                                                contribution)
                                                                10/16/20 $216.00                                                      Other For Sarah's
                                                                (employee's                                                         Science 401(k) Profit
                                                                contribution from                                                   Sharing Plan & Trust. Plan
                                                                employee's                                                          has been terminated.
                                                                wages, not
                                                                employer's
                                                                contribution)
                                                                10/30/20 $216.00
                                                                (see above)
                                                                11/13/20 $216.00
                                                                (see above)
                                                                11/27/20 $216.00
                                                                (see above)
                                                                12/11/20 $438.75
                                                                (see above)

       United States Treasury                                   10/5/20 $10,969.00            $26,209.86                  $0.00       Mortgage
                                                                (2019 Federal                                                         Car
                                                                Income Taxes)                                                         Credit Card
                                                                11/19/20                                                              Loan Repayment
                                                                $15,000.00
                                                                                                                                      Suppliers or vendors
                                                                (Estimated 2020
                                                                Federal Income                                                        Other Taxes
                                                                Taxes)
                                                                11/24/20 $240.17
                                                                12/5/20 $.69 (2019
                                                                Federal Income
                                                                Taxes)

       Areli Arenal                                             10/16/20 $969.90                $7,806.40                 $0.00       Mortgage
                                                                10/30/20 $1,299.96                                                    Car
                                                                11/13/20 $1,299.96                                                    Credit Card
                                                                11/13/20 $438.17                                                      Loan Repayment
                                                                11/27/20 $1,299.96
                                                                                                                                      Suppliers or vendors
                                                                12/11/20 $1,299.96
                                                                12/11/20 $698.49                                                      Other Wages owed to
                                                                1/14/21 $500.00                                                     employee.
                                                                (retainer)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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                                                                              407
 Debtor 1      Sarah E. Shaffer                                                                            Case number (if known)



       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Joshua Cohen                                             10/16/20 $1,430.86            $13,619.28                  $0.00       Mortgage
                                                                10/30/20 $1,430.86                                                    Car
                                                                11/13/20 $1,430.86                                                    Credit Card
                                                                11/27/20 $1,430.86                                                    Loan Repayment
                                                                12/11/20 $1,464.98
                                                                                                                                      Suppliers or vendors
                                                                12/11/20 $1,430.86
                                                                12/14/20 $5,000.00                                                    Other Wages owed to
                                                                (retainer)                                                          employee.


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe
       Katherine Regalado                                       1/10/20 $131.54                 $4,868.86                 $0.00     Wages Owed
       133 Chelsea Hills Dr.                                    1/24/20 $131.54
       Benicia, CA 94510                                        3/6/20 $131.56
                                                                3/20/20 $248.90
                                                                10/30/20 $1,508.44
                                                                11/13/20 $1,358.44
                                                                11/27/20 $1,358.44


8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name
       Kathy Regalado                                           1/27/20 $500.00                 $9,500.00          $10,025.32       Payments were made to
       133 Chelsea Hills Dr.                                    2/13/20 $500.00                                                     Patelco on behalf of Kathy
       Benicia, CA 94510                                        2/24/20 $500.00                                                     Regalado, on account of a
                                                                4/5/20 $500.00                                                      loan that Ms. Regalado
                                                                4/27/20 $500.00                                                     obtained from Patelco. The
                                                                6/6/20 $500.00                                                      loan proceeds were in turn
                                                                6/19/20 $500.00                                                     loaned by Ms. Regalado to
                                                                7/18/20 $500.00                                                     Debtor (interest free).
                                                                8/17/20 $500.00
                                                                9/25/20 $3,000.00
                                                                10/29/20 $1,000.00
                                                                11/24/20 $1,000.00


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                         Status of the case
       Case number
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
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                                                                              407
 Debtor 1      Sarah E. Shaffer                                                                            Case number (if known)



       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Lisa Harvie Hellam, et al. v. Sarah                      Complaint for               Alameda County Superior                     Pending
       Shaffer, an individual dba Sarah's                       Damages Based               Court                                       On appeal
       Science, et al.                                          on Conversion,              1225 Fallon St.
                                                                                                                                        Concluded
       RG20080712                                               Breach of                   Oakland, CA 94612-4293
                                                                Contract, and
                                                                Unfair Business
                                                                Practices


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                          Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your          Value of property
       how the loss occurred                                                                                                  loss                               lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.


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                                                                              407
 Debtor 1      Sarah E. Shaffer                                                                            Case number (if known)



 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Gregory S. Hartman, Esq.                                      Retainer                                                 6/5/20                      $6,000.00
       1300 Clay St., Ste. 600
       Oakland, CA 94612
       Gregory@BayAreaRestructure.com


       Meyers Law Group, P.C.                                        Retainer                                                 10/13/20                   $25,000.00
       Attn: Merle C. Meyers, Esq.
       44 Montgomery St., Ste. 1010
       San Francisco, CA 94104
       www.meyerslawgroup.com


       Meyers Law Group, P.C.                                        Retainer                                                 10/26/20                   $25,000.00
       Attn: Merle C. Meyers, Esq.
       44 Montgomery St., Ste. 1010
       San Francisco, CA 94104


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
        No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made
       The Sarah Shaffer Trust dated April 5,                        All real property and personal property interests.                         4/5/18
       2018




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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                                                                              407
 Debtor 1      Sarah E. Shaffer                                                                             Case number (if known)



 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was         Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,        before closing or
       Code)                                                                                                            moved, or                     transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

       DeSilva Properties                                            Sarah Shaffer                          Tools, materials, science kits      No
       2535 W. Winton Ave., #4K                                      c/o Meyers Law Group,                                                      Yes
       Hayward, CA 94545                                             P.C.
                                                                     Attn: Kathy Quon Bryant,
                                                                     Esq.
                                                                     44 Montgomery St., Ste.
                                                                     1010
                                                                     San Francisco, CA 94104

       DeSilva Properties                                            Sarah Shaffer                          Materials, storage shelves,         No
       2535 W. Winton Ave., Unit 5M                                  c/o Meyers Law Group,                  science kits                        Yes
       Hayward, CA 94545                                             P.C.
                                                                     Attn: Kathy Quon Bryant,
                                                                     Esq.
                                                                     44 Montgomery St., Ste.
                                                                     1010
                                                                     San Francisco, CA 94104


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 7
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                                                                              407
 Debtor 1      Sarah E. Shaffer                                                                                 Case number (if known)



 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed




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        Business Name                                           Describe the nature of the business              Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)              Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Sarah's Science                                         Children's Summer Camp and                       EIN:         XX-XXX0014
                                                                Afterschool Program
                                                                                                                 From-To      1993-2020
                                                                Joyce Polokoff Smail, CPA
                                                                1228 Wellington St.
                                                                Oakland, CA 94602

                                                                Kaylyn Hipple - Bookkeeper
                                                                2205 Hilltop Dr., #101
                                                                Redding, CA 96002

        This Land is Your Land Summer                           Children's Summer Day Camp                       EIN:         XX-XXX0014
        Day Camp
                                                                See Above                                        From-To      1993-2020


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        U.S. Small Business                                     Spring 2020 for EIDL loan due to
        Administration                                          COVID-19 pandemic
        10737 Gateway West, #300
        El Paso, TX 79935

        Fremont Bank                                            Spring 2020 for PPP Loan due to
        Attn: CEO                                               COVID-19 pandemic
        37611 Niles Blvd.
        Fremont, CA 94536

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Sarah E. Shaffer
 Sarah E. Shaffer                                                        Signature of Debtor 2
 Signature of Debtor 1

 Date      January 19, 2021                                              Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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                                                                              407
 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Sarah E. Shaffer
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Northern District of California                        2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from a business, profession, or farm $                         Copy here -> $                          $
  6. Net income from rental and other real property
                                                                                      Debtor 1
        Gross receipts (before all deductions)                            $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from rental or other real property            $                Copy here -> $                          $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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 Debtor 1     Sarah E. Shaffer                                                                        Case number (if known)



                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                                $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments made
      under the Federal law relating to the national emergency declared by the President
      under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
      coronavirus disease 2019 (COVID-19); payments received as a victim of a war
      crime, a crime against humanity, or international or domestic terrorism; or
      compensation pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below..
               .                                                                              $                                $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +   $                   =   $

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Sarah E. Shaffer
                Sarah E. Shaffer

Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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 Debtor 1    Sarah E. Shaffer                                                                     Case number (if known)

                Signature of Debtor 1
        Date January 19, 2021
             MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                              page 3
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                                                                              407
 Fill in this information to identify your case:

 Debtor 1            Sarah E. Shaffer

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Northern District of California

 Case number                                                                                      Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                     12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Go to line 3.
                  Yes.   Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                         submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.    Complete Form 122A-1. Do not submit this supplement.
                  Yes.   Check any one of the following categories that applies:
                                                                                            If you checked one of the categories to the left, go to Form
                         I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                         90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                            submit this supplement with the signed Form 122A-1. You
                         I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                         90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                         which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                            homeland defense activity, and for 540 days afterward. 11
                         I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                         I performed a homeland defense activity for at least 90 days,
                         ending on                  , which is fewer than 540 days before I    If your exclusion period ends before your case is closed,
                                                                                               you may have to file an amended form later.
                         file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                 page 1
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